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     Certified Class of Indirect Purchaser Plaintiffs
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                                 UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944 JST
15   ANTITRUST LITIGATION                        MDL No. 1917
16                                               CLASS ACTION
17                                               ADDITIONAL DECLARATION OF ROBERT
     This Document Relates to:                   J. GRALEWSKI, JR. IN SUPPORT OF
18                                               INDIRECT PURCHASER PLAINTIFFS’
     All Indirect Purchaser Actions              MOTION FOR FINAL APPROVAL OF CLASS
19                                               ACTION SETTLEMENTS WITH PHILIPS,
                                                 PANASONIC, HITACHI, TOSHIBA,
20                                               SAMSUNG SDI, THOMSON, AND TDA
                                                 DEFENDANTS
21
                                                 Hearing Date: March 15, 2016
22                                               Time: 2:00 p.m.
                                                 Judge: Honorable Jon S. Tigar
23                                               Court: Courtroom 9, 19th Floor
                                                 Special Master: Martin Quinn, JAMS
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      ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENTS
                                                          Case No. 3:07-cv-5944 JST, MDL No. 1917
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1                I, Robert J. Gralewski, Jr., declare as follows:
2           1.   I am an attorney licensed to practice before all state and federal courts in the state of
3    California, and I am a partner at Kirby McInerney LLP (“KM”). I have personal knowledge of the
4    facts stated in this declaration, and if called as a witness, I could and would testify competently to
5    them. I make this declaration in support of the Indirect Purchaser Plaintiffs’ (“IPPs”) motion for
6    final approval of settlements and, in connection with that motion, to offer facts that refute or
7    undermine certain objections.
8                                   A. The Audit Process and Robert Bonsignore
9           2. At the direction of Lead Counsel, my firm and I audited several firms’ time submissions
10   including Robert Bonsignore’s. By way of background, every firm’s time detail and related
11   documentation was due to Lead Counsel on or before July 27, 2015. Mr. Bonsignore missed this
12   deadline. After I attempted to communicate with him multiple times about providing the requested
13   information, he finally submitted all of his time detail on September 8 and 9, 2015 – more than six
14   weeks late. Once I received his time detail, I objectively reviewed it for any billing inconsistencies
15   or irregularities of which I discovered many. On September 15, 2015, I emailed Mr. Bonsignore to
16   inform him that as a result of the audit process, Lead Counsel was going to reduce his lodestar
17   from $383,485 to approximately $234,265. The next day we spoke on the phone more than once.
18   On the first call, Mr. Bonsignore was conciliatory and suggested a “compromise” and talked about
19   “splitting it.” He ultimately proposed a lodestar of $305,000 to avoid “a round number.” I told
20   him that I would present his proposal to Lead Counsel and get back to him. I spoke with Lead
21   Counsel and then phoned Mr. Bonsignore back to tell him that IPPs could not accept his proposal.
22   Immediately upon hearing this, Mr. Bonsignore became irate and made a number of threats of
23   retaliation against Mario Alioto. To be clear, at no time before I told him that IPPs would not
24   “compromise” on his billing issues did Mr. Bonsignore ever state or even imply that he believed
25   there were any defects with the settlement or that he would file an objection on behalf of his
26   clients.
27   ///
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      ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
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                 B. Objector Gianasca’s Response to Being Served with a Subpoena
       3. I am informed and believe that on the morning of October 19, 2015, Anthony Gianasca
called the Zelle Hofmann Voelbel & Mason LLP Framingham, Massachusetts’ office regarding a
subpoena I caused to be served which directed him to appear at that office on October 30, 2015.
The Zelle Office Administrator spoke with Mr. Gianasca. Mr. Gianasca told her he did not know
anything about the matter and said he would appreciate a call back. He gave her his number.
After receiving the phone call from Mr. Gianasca and speaking to him, the Office Administrator
reached out to me. Before she had a chance to phone Mr. Gianasca back, he called again late in
the afternoon of October 19, 2015. The Office Administrator spoke with him again and told him

she had passed his message along to the attorney who signed the subpoena (me). He asked if the
attorney (me) was located in Massachusetts, and was told no. He asked again if the Office
Administrator knew what the case was about, and she told him that she did not. After finally
speaking with me, the Office Administrator called Mr. Gianasca on the morning of October 21,
2015 and spoke with him. After reminding him who she was, she asked him if he knew Robert
Bonsignore. He said he did. She then told Mr. Gianasca that he would have to speak with Mr.
Bonsignore for further information. He said okay and the call ended.
                 C. Objector Ashkannejhad’s Response to Being Served with a Subpoena
       4. On October 19, 2015, I received a phone call from Mina Ashkannejhad. She said she had
received a subpoena in the CRT matter.          (I had initiated efforts to formally serve Ms.
Ashkannejhad a few days earlier.) Once she identified herself, I immediately asked her if she was
represented by Robert Bonsignore in the matter. Her response was “I think my husband was.” At
no time during the phone call did she ever indicate that she was represented by Mr. Bonsignore
even though Mr. Bonsignore had filed an objection on her behalf at that point. I told Ms.
Ashkannejhad that because she knew of Mr. Bonsignore that she should talk to him.               I
purposefully chose not to discuss her objection or the subpoena with her and the call ended.
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 ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
               PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENTS
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              D. Bonsignore’s Refusal to Cooperate in Connection with Facilitating
                          the Depositions of Objectors Ciccone and Craig
   5. IPPs were not able to locate Objectors Ciccone and Craig in order to serve them with
subpoenas. After receiving their objections, on several occasions I asked Mr. Bonsignore if he
would make these objectors available for deposition, if he would accept service of subpoenas for
their deposition and production of certain documents, or if he would provide their addresses. Each
time I asked these questions Mr. Bonsignore ignored them and then on October 26, 2015 he
specifically declined to accept service of the subpoenas.
                                 E. Darrell Palmer’s $5,000 Offer

   6. On October 12, 2015, I wrote to Darrell Palmer to tell him that IPPs intended to take his
client’s (objector Paul Palmer) deposition. I asked him if he would make his client available.
About 90 minutes later Mr. Palmer responded, “Never going to happen.” Given Mr. Palmer’s
response, I then initiated steps to formally serve Paul Palmer. After taking these steps, I received
an email from Mr. Palmer on October 15, 2015 that stated, “Bob please call me on my cell
6199851099”. I phoned Mr. Palmer, he answered, and we spoke. Among other things, Mr.
Palmer told me his client was his father and said we could “do a deal.” He then told me that in
exchange for a $5,000 payment he would withdraw his father’s objection. Mr. Palmer called his
proposal “the deal of the century.” I told him I would speak with lead counsel about his proposal.
I did and then wrote Mr. Palmer back shortly thereafter that same day. I told him that IPPs
rejected his proposal. I also told him that if he wished to withdraw his client’s objection he was
free to do so but we had no control over that. I did tell him that if he withdrew the objection we
would not depose his client and would take no further action against either of them. After a text
message exchange on October 16, 2015, Mr. Palmer filed a notice seeking to withdraw his father’s
objection.
                                 F. Thompson Represents Johnson
   7. Elizabeth Kimberly Johnson’s objection suggests that she filed her objection in pro per.
Since the filing of her objection, serial objector Charles M. Thompson has been in communication

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 ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
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with IPPs about her objection. He agreed to accept service of a subpoena directed to Ms. Johnson,
and on the morning of Ms. Johnson’s deposition admitted that he does in fact represent her.
                                    G. Evidence of Serial Objections
   8. Attached hereto as Appendices A-N are compilations, collected from numerous public
sources and court filings, of other objections to class action settlements pursued by certain
Objectors’ Counsel and Objectors. These appendices and the outcomes they describe demonstrate
that these “serial” objectors repeatedly file frivolous or canned objections and then often leverage
appeals to obtain a payment from the class without any intent to effectuate change.                             The
appendices attached hereto are as follows:
       Appendix         Objector                                          Title
           A        Christopher Bandas      Examples of Cases in Which Christopher Bandas Filed
                         (Counsel)          Objections and Dismissed, Abandoned, or Withdrawn the
                                            Objections or Appeal Without Attaining Settlement Changes or
                                            Additional Benefits for the Class
           B        Timothy R. Hanigan      Selected Objections to Settlements and Related Appeals Filed by
                        (Counsel)           Timothy R. Hanigan
           C        Jonathan E. Fortman     Selected Objections to Settlements and Related Appeals Filed by
                         (Counsel)          Jonathan E. Fortman
           D           John C. Kress        Objections to Settlements Filed by John C. Kress
                         (Counsel)
           E          Steve A. Miller       Examples of Cases in Which Steve A. Miller Filed Objections and
                         (Counsel)          Dismissed, Abandoned, or Withdrawn the Objections or Appeal
                                            Without Attaining Settlement Changes or Additional Benefits for
                                            the Class
           F       Joseph Darrell Palmer    Examples of Cases in Which Joseph Darrell Palmer Filed
                         (Counsel)          Objections and Dismissed, Abandoned, or Withdrawn the
                                            Objections Without Attaining Settlement Changes or Additional
                                            Benefits for the Class
           G       Charles M. Thompson      Selected Objections to Settlements and Related Appeals Filed by
                         (Counsel)          Charles M. Thompson
           H        George W. Cochran       Objections to Settlements Filed by George W. Cochran
                        (Counsel)
           I           Jan L. Westfall      Objections to Settlements Filed by Jan L. Westfall
                         (Counsel)
           J       Joseph Scott St. John;   Objections to Settlements Filed by Joseph Scott St. John and Anna
                         (Counsel)          St. John
                        Anna St. John
           K             John Finn          Objections to Settlements Filed by John Finn
                         (Objector)
           L      Laura Townsend Fortman    Objections to Settlements Filed by Laura Townsend Fortman
                         (Objector)
          M              Sean Hull          Objections to Settlements Filed by Sean Hull
                         (Objector)
           N         Gordon B. Morgan       Objections to Settlements Filed by Gordon B. Morgan
                         (Objector)

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 ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
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1             H. Appendix Highlighting Deposition Testimony of Objectors Taken in this Case

 2      9. After reviewing the objections filed in this case, IPPs decided to take the depositions of

3    several of the Objectors. Attached hereto as Appendix 0 is a chart that I prepared highlighting

4    certain testimony from the depositions or explaining why IPPs did not depose some Objectors. All

5    testimony summarized and cited in the chart is attached to the chart itself.

 6          I declare under penalty of perjury that the foregoing is true and correct.

 7   day ofNovember, 2015, in San Diego, California.

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      ADDITIONAL DECLARATION OF ROBERT J. GRALEWSKI, JR. IN SUPPORT OF INDIRECT PURCHASER
                    PLAINTIFFS' MOTION FOR FINAL APPROVAL OF SETTLEMENTS
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                APPENDIX A
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                                                                     APPENDIX A

       Examples of Cases in Which Christopher Bandas Has Filed Objections and Dismissed, Abandoned, or Withdrawn the Objections Without
                                         Attaining Settlement Changes or Additional Benefits for the Class

                 Case                   Client(s)            Outcome of Objection                  Appeal       Outcome of Appeal

       Brown, et al. v.             Jill Carson     Relevant excerpts from 10/29/09 “Order Unknown          Unknown
       Wal-Mart Stores, Inc.,                       Denying Objections to the Settlement
       No. 01 L 85 (Ill. Cir. Ct.                   and Fees and the Motion to Intervene and
       Rock Island, Oct. 29,                        for Pro Hac Vice Admission”:
       2009).
                                                    “Christopher Bandas…is a Texas lawyer
                                                    well known for his practice of routinely
                                                    filing objections in class action
                                                    settlements across the country.”

                                                    “The Bandas Objection filed on behalf of
                                                    Ms. Carlson is a generic boilerplate
                                                    objection prepared and filed by attorneys
                                                    working for their own personal benefit
                                                    and not for the benefit of this Class or for
                                                    those lawyers’ client. The record before
                                                    the Court demonstrates that Bandas is a
                                                    professional objector who is improperly
                                                    attempting to ‘hijack’ the settlement of
                                                    this case from deserving class members
                                                    and dedicated, hard working counsel,
                                                    solely to coerce ill-gotten, inappropriate
                                                    and unspecified ‘legal fees.’ Bandas has
                                                    filed virtually identical, frivolous
                                                    objections in South Carolina, Iowa,
                                                    Missouri and Florida in settlements of
                                                    similar wage and hour class actions
                                                    against Wal-Mart.”

                                                    “In Missouri, Bandas’ local counsel
                                                    appeared at the final fairness hearing but
                                                                            i
                                                              Appendix A – Christopher Bandas
	  
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                 Case                Client(s)            Outcome of Objection                 Appeal     Outcome of Appeal

             -continued-                         only to withdraw as counsel due to the
       Brown, et al. v.                          fact that he could not in ‘good
       Wal-Mart Stores, Inc.,                    conscience…continue to work toward
       No. 01 L 85 (Ill. Cir. Ct.                the strategic outlined…by Mr. Bandas.’
       Rock Island, Oct. 29,                     Judge Midkiff entered separate orders
       2009).                                    nullifying the Bandas objection and
                                                 denying his motion for admission pro
                                                 hac vice. … This did not dissuade
                                                 Bandas from filing a Notice of Appeal
                                                 (with new local counsel)…”

                                                 “The Court finds that a lack of
                                                 involvement and participation by Ms.
                                                 Carlson and her counsel, combined with
                                                 their attempt to inject themselves at the
                                                 last minute into this eight year litigation
                                                 constitutes an effort to extort money
                                                 from the Class and/or Class Counsel.
                                                 Though filed by two lawyers, the Bandas
                                                 Objection offers nothing in the way of
                                                 specific criticisms of the proposed
                                                 Settlement. The content of the Bandas
                                                 Objection demonstrates that neither Ms.
                                                 Carlson nor her counsel has ever visited
                                                 the settlement website or read the
                                                 Stipulation of Settlement in this case.”
                                                 (See Dkt. No. 1062-1 (Order entered in
                                                 Brown v. Wal-Mart Stores, Inc.)

                                                 “In In re: Dynamic Random Access
                                                 Memory Antitrust Litigation, filed in the
                                                 Northern District of California, Bandas
                                                 withdrew his objection after ‘further
                                                 investigation,’ which revealed that
                                                 Bandas wholly failed to adhere to his
                                                 Rule 11 obligations to thoroughly

                                                                         ii
                                                           Appendix A – Christopher Bandas
	  
                                     Case 4:07-cv-05944-JST Document 4370-2 Filed 02/04/16 Page 10 of 230

                 Case                  Client(s)               Outcome of Objection                     Appeal               Outcome of Appeal

             -continued-                              investigate his client’s claims.”
       Brown, et al. v.
       Wal-Mart Stores, Inc.,                         “In Miller County, Arkansas, attorney
       No. 01 L 85 (Ill. Cir. Ct.                     Bandas filed a canned objection in
       Rock Island, Oct. 29,                          Lane’s Gifts and Collectibles, LLC v.
       2009).                                         Yahoo! Inc. The court denied the
                                                      objection. Attorney Bandas then
                                                      appealed, but he withdrew the appeal 48
                                                      hours later.”

                                                      “Most recently, in March 2009, Bandas
                                                      withdrew an objection to a proposed
                                                      settlement he filed in a class action
                                                      pending in Oklahoma, Sacket v. Great
                                                      Plains Pipeline Co., et al. The
                                                      withdrawal came only after counsel for
                                                      the class vehemently opposed the
                                                      objection, highlighting Bandas’ history
                                                      of filing canned objections at the last
                                                      moment in an effort to extort attorneys’
                                                      fees.”
       Carter v. Wal-Mart           Tabitha Forward   Relevant excerpts from 6/3/09 “Order        Unknown filing date.   Appeal voluntarily dismissed
       Stores, Inc., No. 06-CP-                       Denying Objections to Settlement                                   on 11/19/09.
       I5-839 (S.C. Ct. Com.                          Between Class Plaintiffs and Wal-Mart”:
       Pl. Colleton Cnty. June
       3, 2009).                                      “The second objection … was
                                                      purportedly filed on behalf of a class
                                                      member by a member of the South
                                                      Carolina Bar and Christopher Bandas, a
                                                      Texas lawyer well known for his practice
                                                      of routinely filing objections in class
                                                      action settlements across the country.
                                                      The Court was informed that Mr. Bandas
                                                      and a Missouri attorney had filed a
                                                      virtually identical objection in Hale v.
                                                      Wal-Mart, pending in Missouri. Bandas’

                                                                              iii
                                                                Appendix A – Christopher Bandas
	  
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                Case                 Client(s)                Outcome of Objection                       Appeal               Outcome of Appeal

                                                     Missouri objection was nullified after his
                                                     local counsel withdrew and no one
                                                     appeared on Bandas’ behalf at the
                                                     Missouri Fairness Hearing.”

                                                     “[I]n spite of the fact that no one
                                                     appeared to offer any evidence or
                                                     testimony in support of the Bandas
                                                     objection, in spite of the fact that the
                                                     Bandas objection fails to meet the
                                                     procedural requirements established by
                                                     this Court, and in spite of the fact that
                                                     Mr. Bandas is a serial professional
                                                     objector, I have reviewed and considered
                                                     the Bandas objection on its merits. The
                                                     Court finds that, for a plethora of
                                                     reasons, the Bandas objection lacks
                                                     substantive merit.”
       In re Cellphone            Sulekha Anand      The 6/10/08 Final Approval Order and         Filed 6/26/08 (Cal.     The California Court of
       Termination Fee Cases,                        Judgment makes no mention of                 App. 1st Dist., No.     Appeal Affirmed the
       No. JCCP 4332J                                objections.                                  A122765).               Judgment. 180 Cal. App. 4th
       (Alameda Super. Ct.                                                                                                1110 (2009), rev. denied,
       June 10, 2009).                                                                                                    2010 Cal. LEXIS 3458 (Apr.
                                                                                                                          14, 2010).
       Checkmate Strategic        Backwater Safari   Other objectors to the settlement            Filed 4/26/07 (9th      Appeal voluntarily dismissed
       Group, Inc. v. Yahoo!      Guide Service;     withdrew their objections prior to the       Cir., No. 07- 55597).   pursuant to stipulation (Dkt.
       Inc., No. CV-05-4588       Larry Ebest;       entry of the 3/26/07 Final Approval                                  8, 7/31/07).
       CAS (FMOx) Final           Ruben Lerma        Order and Judgment (Dkt. 200).
       Order Approving
       Settlement and
       Judgment of Dismissal
       with Prejudice (Dkt. No.
       200) (C.D. Cal. March
       26, 2007).



                                                                            iv
                                                              Appendix A – Christopher Bandas
	  
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                Case                  Client(s)              Outcome of Objection                      Appeal                Outcome of Appeal

       Closson v. Bank of         Doris Saint;      All objections overruled (from the 8/3/09   Filed 9/1/09 (Cal.       Voluntarily dismissed on
       America, No. CGC-          Aaron Petrus;     Order of Final Approval).                   App. 1st Dist., No.      6/23/11.
       436877 (San Francisco      Jan L. Petrus                                                 A125963).
       Super. Ct. Aug. 3,
       2009).
       Conroy v. 3M               Lillian Rogers    The Final Approval Order and Judgment       Bandas Law Firm,         Appeal of Final Approval
       Corporation, No. C 00-                       was issued on 4/21/06.                      P.C. appeal of Final     Order voluntarily dismissed
       2810 CW, 2006 U.S.                                                                       Approval Order filed     on 9/22/06.
       Dist. LEXIS 96169                                                                        5/25/06 (9th Cir., No.
       (N.D. Cal. Aug. 10,                          On 8/10/06, the Court granted plaintiffs’   06- 15980).              Appeal of bond order
       2006).                                       motion requesting Bandas to post an                                  voluntarily dismissed
                                                    appellate cost bond totaling $431,167.      The Bandas Firm          9/19/06.
                                                                                                filed Appeal of the
                                                    “The Court finds that the Bandas Law        Bond Order on
                                                    Firm and Ms. Rogers’ objections to the      8/21/06 (9th Cir., No.
                                                    proposed settlement were unfounded,         06-16627).
                                                    and therefore views their appeals as
                                                    unlikely to succeed. … Ms. Rogers’
                                                    objections were patently frivolous: her
                                                    cookie-cutter written objection bore no
                                                    particular relationship to the
                                                    circumstances of the settlement here, and
                                                    at the hearing, her counsel erroneously
                                                    referred to this case as involving
                                                    ‘defective’ tape.” 2006 U.S. Dist. LEXIS
                                                    96169, at *10-11 (N.D. Cal. Aug. 10,
                                                    2006).

       In re Dynamic Random       Erwin Bruder;     Bruder and Richline’s objections were       Not Filed                Not Applicable
       Access Memory (DRAM)       Michael           filed on 10/3/06 and withdrawn soon
       Antitrust Litig., 536 F.   Richline, d/b/a   thereafter, on 10/31/06.
       Supp. 2d 1129 (N.D.        Richline
       Cal. 2008).                Technical
                                  Services



                                                                           v
                                                             Appendix A – Christopher Bandas
	  
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                 Case                 Client(s)             Outcome of Objection                     Appeal               Outcome of Appeal

       Fleury v. Richemont N.      Mary Meyer      “[T]he Court has considered the            Appeal of Final         The parties stipulated to a
       Am., Inc., No. C-05-                        objections that were made but none         Approval Order was      settlement on 12/4/08 in
       4525 EMC, Order                             persuade the Court that the settlement     filed on 7/23/08 (9th   which plaintiffs and
       Granting Settling                           should be further altered.”                Cir., No. 08-16724).    defendants paid a combined
       Parties' Joint Motion for                                                                                      $55,000 to Meyer’s counsel,
       Final Approval of Class                                                                Appeal of Fee Order     Bandas and Frank Liuzzi.
       Settlement, at 34 (Dkt.                                                                filed 8/13/08 (9th      Just a few days later, both
       No. 278) (N.D. Cal. July                                                               Cir., No. 08-16995).    appeals were voluntarily
       3, 2008).                                                                                                      dismissed on 12/9/08.


       Hale v. Wal-Mart            Debbie Taylor   Having reviewed the objection to the       Filed 7/2/09.           Voluntarily dismissed on
       Stores, Inc., Nos. 01-                      Settlement Agreement, the court granted                            11/10/09.
       CV-218710, 01-CV-                           final approval of the settlement on
       227674, 2009 WL                             5/15/09.
       2206959 (Mo. Cir. Ct.
       Jackson Cnty. May 15,
       2009).


       Lane’s Gifts and            Depo Express;   The Final Approval Order and Judgment      Filed 8/23/06;          Not Applicable
       Collectibles, L.L.C. v.     Christopher     and Order Denying Objectors’ Motion to     withdrawn shortly
       Yahoo! Inc., No. CV-        Bandas;         Intervene were entered on 7/26/06 and      thereafter.
       2005-052-1 (Ark. Cir.       Bandas Law      8/1/06, respectively.
       Ct. Miller Cnty. 2006).     Firm


       In re: Managed Care      Ray G. Hooper,     The Court’s Final Approval Order,          Filed 4/12/06 (11th     Voluntarily dismissed on or
       Litig., No. 00-MD-       M.D.               entered on 3/15/06, states that it gave    Cir., No. 06- 12354-    about 5/9/06.
       01334, Order Approving                      “fair consideration” to all objections     E).
       Settlement and Directing                    before it found “the objections to the
       Final Judgment, at 4                        Settlement and the Settlement
       (Dkt. No. 2876) (S.D.                       Agreement are overruled and denied in
       Fla. filed March 15,                        all respects.” ((Dkt. No. 2876, at 4).
       2006).


                                                                          vi
                                                            Appendix A – Christopher Bandas
	  
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                Case                Client(s)            Outcome of Objection                      Appeal       Outcome of Appeal

       Mussmann v. Wal-Mart      Terry Healy    Relevant excerpts from 10/13/09 “Order       Not Filed      Not Applicable
       Stores, Inc., No. LACV-                  Regarding Terry Healy’s Objection and
       27486 (Iowa Dist. Ct.,                   Motion to Intervene”:
       Clinton Cnty. Oct. 13,
       2009).                                   “Mr. Healy became involved in this
                                                lawsuit after being contacted by attorney
                                                Jim Roth at the request of Texas attorney
                                                Christopher Bandas. Attorney Bandas
                                                has filed objections in other similar
                                                lawsuits filed in other states. Mr. Bandas
                                                is a professional objector counsel.”

                                                “Mr. Healy knew from the first
                                                conversation with Mr. Roth that ‘Mr.
                                                Bandas was behind this,’ and that ‘Mr.
                                                Bandas was doing this all across the
                                                country.’

                                                “Neither attorney Bandas, nor attorney
                                                Roth advised Mr. Healy that attorney
                                                Bandas had been found by a Florida
                                                court in the Ouellette Order to be
                                                engaging in a conspiracy with his clients
                                                and co-counsel to extort money from
                                                class members and class counsel,
                                                through a similar practice of objecting to
                                                the proposed settlement in the Florida
                                                Wal-Mart lawsuit.
                                                “
                                                “Terry Healy’s ‘canned’ objection in this
                                                matter closely resembles the numerous
                                                other objections filed by attorney Bandas
                                                in other jurisdictions where Wal-Mart
                                                settlements have been finally approved,
                                                including South Carolina, Florida and
                                                Missouri. The consistency of attorney

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                Case              Client(s)            Outcome of Objection                Appeal       Outcome of Appeal

             -continued-                       Bandas’ errors and the similarity
       Mussmann v. Wal-Mart                    between attorney Bandas’ objections
       Stores, Inc., No. LACV-                 across different cases demonstrates the
       27486 (Iowa Dist. Ct.,                  canned nature of the objection and
       Clinton Cnty. Oct. 13,                  reveals attorney Bandas’ true motives.”
       2009).

                                               “It is obvious here that the attorneys
                                               initiating Mr. Healy’s objection
                                               expended minimal time and resources,
                                               by filing a ‘canned’ objection to the
                                               proposed settlement and then not
                                               participating or appearing in any formal
                                               sense. In those circumstances, the merits
                                               of the objection appear to be of little
                                               consequence to the professional objector;
                                               causing delay in the settlement process
                                               generates their fees and payments, not
                                               proving to the trial court that the
                                               proposed settlement is inappropriate. …
                                               Upon filing the notice of appeal, the
                                               professional objector simply waits for
                                               class counsel to succumb to the pressure
                                               pay the extorted fees in return for
                                               dismissing the appeal and releasing the
                                               settlement funds.”

                                               “[T]his Court concludes that attorney
                                               Christopher A. Bandas is a professional
                                               objector. The Court is concerned that
                                               attorney Bandas is seeking to wrongfully
                                               use the class action settlement and
                                               objection process for personal gain, and
                                               without any corresponding benefit to any
                                               individual objector or the settlement
                                               class as a whole. Attorney Bandas, acting

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                Case              Client(s)             Outcome of Objection                Appeal      Outcome of Appeal

             -continued-                       through local counsel, Mr. Roth,
       Mussmann v. Wal-Mart                    contacted a class member who did not
       Stores, Inc., No. LACV-                 otherwise display any motivation to
       27486 (Iowa Dist. Ct.,                  object or to intervene in the proposed
       Clinton Cnty. Oct. 13,                  class action settlement.”
       2009).
                                               “One Court describes these efforts by
                                               attorney Bandas and other professional
                                               objectors as ‘extortion.’” (citing
                                               Ouellette).”

                                               Re the deposition of objector Healy:
                                               “Mr. Healy has no doubt in his mind that
                                               the Ouellette Court, when they are
                                               talking about extortion of money by
                                               these attorneys, including the action of
                                               Christopher Bandas. … Mr. Healy then
                                               wanted to stop the deposition, ‘because I
                                               think it is a farce. … [T]he fact is that
                                               neither one of these two attorneys are
                                               willing to intercede on my behalf here,
                                               and there’s something wrong with that.
                                               I’m sorry. So you know, you can bother
                                               someone else. I really don’t care. … I
                                               was of the understanding I wouldn’t have
                                               to give a deposition. That’s a lie right
                                               there. … I’m here and neither one of
                                               these are available to help me out here. I
                                               don’t really need this. So absolutely I
                                               don’t want no more [sic] to [do] with
                                               this.’”




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                 Case                Client(s)            Outcome of Objection                        Appeal              Outcome of Appeal

       Ouellette v. Wal-Mart      Kevin Dimla    Relevant excerpts from 8/21/09 “Order         Filed 9/25/09 (Fla.    Appeal voluntarily dismissed
       Stores, Inc., No. 67-01-                  and Final Judgment Approving                  App., 1st Dist., No.   on 10/29/09.
       CA-326 (Fla. Cir. Ct.,                    Settlement Between Class Plaintiffs and       1D09-4881).
       Washington Cnty.                          Wal-Mart Stores, Inc.”:
       2009).
                                                 “The Court finds that all of the
                                                 objections filed against the settlement of
                                                 this case were all generic boilerplate
                                                 objections prepared and filed by a group
                                                 of attorneys who the Court finds have
                                                 been working through collusion for their
                                                 own personal benefit and not for the
                                                 benefit of this class or their clients. …
                                                 The Court finds that a lack of
                                                 involvement and participation of the
                                                 objectors and their counsel who were not
                                                 present and a lack of involvement and
                                                 participation of the attorneys that were
                                                 present combined with their attempt to
                                                 inject themselves at the last minute into
                                                 this eight year litigation constitutes an
                                                 effort to extort money from the class
                                                 and/or class counsel. The court struck the
                                                 objections … for failure of proof, failure
                                                 to demonstrate participation in the class
                                                 action on behalf of the class, and failure
                                                 to appear at the fairness hearing. Further,
                                                 the Court finds that all of the objections
                                                 … have no substantive merit and the
                                                 court overrules all of the objections on
                                                 that additional ground.” Slip op. at ¶¶19-
                                                 20.




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                Case                 Client(s)             Outcome of Objection                       Appeal               Outcome of Appeal

       Savaglio v. Wal-Mart   Lolita Wells        Final Approval of Settlement granted       Not Filed                 Not Applicable
       Stores, Inc., No. C-                       4/8/10, overruling objections except as to
       835687 (Alameda Super.                     amount of attorneys’ fees. The 9/10/10
       Ct. 2010).                                 Order on Fees states that the Court
                                                  “rejected all objections to the requested
                                                  fee award.”
       In re Smokeless Tobacco Sean Hull          Objection filed 2/4/08 pro se.             Hull filed a Notice of    The appeal was voluntarily
       Cases I, II (San                           Involvement of Bandas was divulged on Appeal on 4/11/08.             dismissed on 2/26/09.
       Francisco Super. Ct.,                      2/20/08 by Dennis Bartlett, a Denver
       JCCP Nos. 4250, 4258,                      attorney who was representing Hull.
       4259, 4262).                               Final Approval was granted and fees
                                                  awarded on 3/12/08.

       In re Wal-Mart Wage &      Jessica Gaona   The Final Approval Order of 11/2/09          Filed 11/23/09 (9th     Dismissed by summary
       Hour Employment                            (Dkt. 491) indicated that the court had      Cir., No. 09- 17648).   affirmance of 11/2/09 Final
       Practices Litig., No. 6-                   considered and rejected the objections.                              Approval Order (Dkt. 47,
       CV-00225, Order                                                                                                 8/10/10).
       Regarding Plaintiffs’                      After various objectors appealed the final
       Final Approval Motion                      approval order, the court granted
       (Dkt. No. 491) (D. Nev.                    plaintiffs’ and defendant’s motions for
       Nov. 2, 2009).                             bond pending appeal, stating: “For the
                                                  reasons articulated at the hearing
                                                  conducted October 19, 2009, and for the
                                                  additional reasons advanced by
                                                  Plaintiff’s co-lead class counsel and
                                                  Defendant Wal-Mart in their respective
                                                  motions for bond pending appeal, the
                                                  Court finds that the objections are not
                                                  supported by law or the facts and are
                                                  indeed meritless.”

                                                  “Objectors’ counsel have a documented
                                                  history of filing notices of appeal from
                                                  orders approving other class action
                                                  settlements, and thereafter dismissing
                                                  said appeals when they and their clients
                                                                         xi
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                Case               Client(s)             Outcome of Objection                Appeal      Outcome of Appeal

             -continued-                        were compensated by the settling class or
       In re Wal-Mart Wage &                    counsel for the settling class.
       Hour Employment
       Practices Litig., No. 6-                 “In sum, this Court finds that the
       CV-00225, Order                          Appeals taken by Objectors Gaona,
       Regarding Plaintiffs’                    Swift, Andrews and Maddox, are
       Final Approval Motion                    frivolous and are tantamount to a stay of
       (Dkt. No. 491) (D. Nev.                  the Judgment entered by this Court on
       Nov. 2, 2009).                           November 2, 2009 approving the
                                                comprehensive class settlement in this
                                                case which provides fair compensation to
                                                millions of class members, as well as
                                                injunctive relief ensuring against further
                                                loss to persons similarly situated. The
                                                Court further finds that the four
                                                Objectors should be required to file an
                                                appeal bond sufficient to secure and
                                                ensure payment of costs on appeals
                                                which in the judgment of this Court are
                                                without merit and will almost certainly
                                                be rejected by the Ninth Circuit Court of
                                                Appeal.” 2010 U.S. Dist. LEXIS 21466
                                                (D. Nev. March 8, 2010), stay denied,
                                                2010 U.S. Dist. LEXIS 52001 (May 25,
                                                2010). The objectors were ordered to pay
                                                an appeal bond of $500,000. 2010 U.S.
                                                Dist. LEXIS 21466, *18-19.

                                                In the subsequent order on objectors’
                                                motion to stay the March 8, 2010 ruling,
                                                Judge Pro stated: “The argument’s [sic]
                                                by Objectors counsel that they
                                                misunderstood the law with regard to
                                                their obligations to either to comply with
                                                this Court’s Order that they post an
                                                appeal bond or otherwise seek relief

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                 Case                 Client(s)              Outcome of Objection                        Appeal                 Outcome of Appeal

             -continued-                            from that Order rings hollow. The
       In re Wal-Mart Wage &                        conduct of Objectors and their counsel is
       Hour Employment                              compounded by their prior demand of
       Practices Litig., No. 6-                     $800,000 to cease their appeals.
       CV-00225, Order
       Regarding Plaintiffs’                        The obligation of Objectors to comply
       Final Approval Motion                        with this Court’s Order that they post an
       (Dkt. No. 491) (D. Nev.                      appeal bond and the justification for their
       Nov. 2, 2009).                               failure to do so falls on the shoulders not
                                                    only of the four objectors individually,
                                                    but on those of their counsel.” 2010 U.S.
                                                    Dist. LEXIS 52001, *15-16.

                                                    On June 3, 2010, the Ninth Circuit stayed
                                                    the May 25, 2010 bond order pending the
                                                    appeal of the final approval order, and on
                                                    August 10, 2010 affirmed the district
                                                    court’s order approving the settlement.

       In re Wal-Mart Stores,      Nicole           Objections filed 9/7/10; withdrawn            Not Filed                 Not Applicable
       Inc. Wage & Hour            Clemente;        11/6/10.
       Litig., 505 F. Supp. 2d     Lolita Wells
       609 (N.D. Cal. 2007).

       Wilson v. Airborne, Inc.,   Kervin M. Walsh Objections overruled in Final Approval         Filed 9/11/08 (9th        Appeal voluntarily dismissed
       2008 U.S. Dist. LEXIS                       and Fee Order (Dkt. 170, 8/13/08).             Cir., No. 08- 56542).     per stipulation (Dkt. 18,
       110411, 2008 WL                                                                                                      2/20/09).
       3854963 (C.D. Cal.
       Aug. 13, 2008).



       Yoo v. Wendy’s Int’l.,      Kervin M. Walsh Settlement approved and fees awarded           Filed 4/8/09 (9th Cir.,   Appeal voluntarily dismissed
       No. CV07-4515 (FMC                          3/9/09 (order revised 3/13/09).                No. 09- 55554).           on 10/26/09.
       (JCx) (C.D. Cal. 2009).


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       In re Hydroxycut Mktg.    Sasha McBean;   Here, Bandas did not file any objection       Joseph Darrell Palmer N/A
       & Sales Practices Litig., Tim Blanchard   on behalf of McBean and Blanchard;            filed objection on
       No. 09CV1088 BTM                          rather, serial objector Joseph Darrell        3/22/13. Palmer was
       KSC, 2013 WL 5275618                      Palmer did in a “broad-brush fashion” on      referred to objectors
       (S.D. Cal. Sept. 17,                      3/22/13 (from the Court’s Order Striking      by Bandas.
       2013).                                    Objections (Dkt. No. 242, at 2)).
                                                                                               “In light of Mr.
                  -                              In the Order Striking Objections, the         Bandas’s scheme, the
                                                 Judge described testimony about a phone       Court finds that Ms.
                                                 call between attorney Christopher             McBean’s objections
                                                 Bandas and attorney David                     were filed for the
                                                 Reid of Newport Trial Group, who              improper purpose of
                                                 represented the defense in the objector       obtaining a cash
                                                 issue.                                        settlement in
                                                                                               exchange for
                                                 The Judge wrote that Bandas said “he          withdrawing the
                                                 was willing to wager that Mr. Reid’s          objections.”
                                                 client would gladly pay him somewhere
                                                 in the neighborhood of $400,000 to make       Both objections were
                                                 his objection go away — otherwise, he         stricken on 9/17/13,
                                                 could hold the settlement process up for      in part to Bandas’
                                                 two to three years through the appeal         “scheme,” and the
                                                 process.” (Dkt. 242, at 8).                   objectors lack of
                                                                                               standing.
                                                 “Mr. Reid asked Mr. Bandas what his
                                                 issues were with the proposed settlement,
                                                 Bandas said that he didn’t care about
                                                 changing one word of the settlement and
                                                 that he filed the objections because it was
                                                 a large settlement and Plaintiff’s counsel
                                                 stood to make millions of dollars.” Id.

                                                 “According to Mr. Reid’s testimony,
                                                 which the Court finds credible, Mr.
                                                 Bandas was attempting to pressure the
                                                 parties to give him $400,000 as payment

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                 Case                 Client(s)            Outcome of Objection                       Appeal         Outcome of Appeal

              -continued-                         to withdraw the objections and go away.
       In re Hydroxycut Mktg.                     Mr. Bandas was using the threat of
       & Sales Practices Litig.,                  questionable litigation to tie up the
       No. 09CV1088 BTM                           settlement unless the payment was
       KSC, 2013 WL 5275618                       made.3 Even though Ms. McBean was
       (S.D. Cal. Sept. 17,                       Mr. Palmer’s client, it is clear that Mr.
       2013).                                     Bandas was authorized to speak for Mr.
                                                  Palmer on Ms. McBean’s behalf.” (Dkt.
                                                  242, at 9).

       In re LivingSocial          Jeremy De La   “…only four formal objections have           Appeal filed on   On 11/19/13, Bandas filed a
       Marketing and Sales         Garza          been filed. The objections to the            4/23/13.          stipulated motion to
       Practices Litig., MDL                      settlement terms are largely meritless.”                       voluntarily dismiss the
       No. 2254, 2013 WL                          (Final Judgment)                                               appeal, and on 12/12/13, the
       1181489 (D.D.C. Mar.                                                                                      Court dismissed the case.
       22, 2013).

       In re Gen. Elec. Co. Sec.   Clarke Hampe   The district court granted class counsel’s                     Hampe moved to voluntarily
       Litig., 998 F. Supp. 2d                    motion for an appeal bond to be posted                         dismiss his appeal on
       145, 156 (S.D.N.Y.                         by Hampe in the amount of $54,700,                             3/11/14.
       2014).                                     reasoning as state below.

                                                  Hampe filed his statement of objection
                                                  pro per via letter in advance of the
                                                  fairness hearing. In its Final Order and
                                                  Judgment, the Court noted that “Hampe
                                                  made three conclusory objections…[a]ll
                                                  three objections are frivolous, and thus
                                                  Hampe’s appeal is also frivolous…
                                                  Moreover, it is totally lacking merit.” In
                                                  re Gen. Elec. Co. Sec. Litig., 998 F.
                                                  Supp. 2d 145, 154 (S.D.N.Y. 2014).




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                 Case               Client(s)             Outcome of Objection                 Appeal     Outcome of Appeal

               -continued-
       In re Gen. Elec. Co. Sec.                 “Moreover, while Hampe is appearing
       Litig., 998 F. Supp. 2d                   pro se before this Court, he admits that
       145, 156 (S.D.N.Y.                        he is ‘represented in this matter’ by
       2014).                                    attorney Christopher A. Bandas
                                                 (“Bandas”), who has been repeatedly
                                                 admonished for pursuing frivolous
                                                 appeals of objections to class action
                                                 settlements. The Honorable Samuel
                                                 Conti of the Northern District of
                                                 California has stated: ‘Bandas routinely
                                                 represents objectors purporting to
                                                 challenge class action settlements, and
                                                 does not do so to effectuate changes to
                                                 settlements, but does so for his own
                                                 personal financial gain; he has been
                                                 excoriated by Courts for this conduct.’ In
                                                 re Cathode Ray Tube (CRT) Antitrust
                                                 Litig., 281 F.R.D. 531, 533
                                                 (N.D.Cal.2012) (citation omitted). Even
                                                 more recently, the Honorable Barry Ted
                                                 Moskowitz of the Southern District of
                                                 California conducted an evidentiary
                                                 hearing regarding Bandas’s practices in
                                                 order to determine whether to strike an
                                                 objection. After hearing testimony from
                                                 Bandas and other witnesses, he struck the
                                                 objection, having determined that ‘Mr.
                                                 Bandas was attempting to pressure the
                                                 parties to give him $400,000 as payment
                                                 to withdraw the objections and go away’
                                                 and that ‘Mr. Bandas was using the
                                                 threat of questionable litigation to tie up
                                                 the settlement unless the payment was
                                                 made.’” (citation omitted) In re Gen.
                                                 Elec. Co. Sec. Litig., 998 F. Supp. 2d at

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                 Case                 Client(s)               Outcome of Objection                       Appeal             Outcome of Appeal

               -continued-                           156.
       In re Gen. Elec. Co. Sec.
       Litig., 998 F. Supp. 2d                       “In judging the legitimacy of Hampe's
       145, 156 (S.D.N.Y.                            motives in filing an appeal, it is also
       2014).                                        helpful to evaluate Hampe's personal
                                                     stake in this class action. It is virtually
                                                     non-existent. He is a member of the class
                                                     because he purchased 0.06 shares of GE
                                                     stock during the class period. Even had
                                                     the settlement amount been
                                                     $40 billion, and no attorney’s fees
                                                     awarded, he would have been entitled to
                                                     less than $1.00, which would not have
                                                     cleared the $10.00 threshold required for
                                                     a claim payout. His legal interest in the
                                                     outcome of this proceeding is
                                                     therefore de minimis.” Id.

       Hamilton v. SunTrust        Amarli Jabrani;   “Although the Objectors list their            The Jabranis filed   Appeal voluntarily dismissed
       Mortgage Inc., No. 13-      Janet Jabrani     counsel on the Objection as Mr. Santiago      their Notice of      on 1/23/15 (Dkt. No. 193).
       60749-CIV, 2014 WL                            Cueto, they admitted in deposition that       Appeal pro se, on
       5419507 (S.D. Fla. Oct.                       they only have an agreement with Mr.          10/28/14. Soon
       24, 2014).                                    Christopher Bandas from Corpus Christi,       thereafter, Mr.
                                                     Texas, who refused to enter his               Bandas made his
                                                     appearance in the District Court because      appearance in the
                                                     he has repeatedly been recognized as a        Eleventh
                                                     “professional objector.”                      Circuit Court of
                                                                                                   Appeal on 11/4/14.
                                                     “Of the just over 63,000 class members
                                                     nationwide to whom notice was issued,
                                                     there was only one objection on behalf of
                                                     one married couple (Amirali and Janet
                                                     Jabrani), which equates to less than
                                                     .003% of the class… Neither the Jabranis
                                                     nor their counsel attended the Final
                                                     Fairness Hearing. Nevertheless, the

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                Case                 Client(s)            Outcome of Objection                        Appeal               Outcome of Appeal

             -continued-                         Court has reviewed all of the arguments
       Hamilton v. SunTrust                      and positions raised by the objectors.
       Mortgage Inc., No. 13-                    Their objections are overruled.”
       60749-CIV, 2014 WL                        Hamilton v. SunTrust Mortgage Inc., No.
       5419507 (S.D. Fla. Oct.                   13-60749-CIV, 2014 WL 5419507, at *4
       24, 2014).                                (S.D. Fla. Oct. 24, 2014).




       Fishbein v. All Market     Timothy        The Court entered its Final Order             Notice of Appeal        Appeal voluntarily dismissed
       Inc., No. 1:11- cv-5580,   Blanchard      Approving Class Action Settlement and         entered on 9/17/12.     on 4/26/13.
       Final Order and                           Dismissing Class Action with Prejudice
       Judgment (Dkt. No. 52)                    on 8/22/12.                                   Blanchard filed his
       (S.D.N.Y. Aug. 22,                                                                      objection pro se, but
       2012).                                                                                  on 10/24/12,
                                                                                               Blanchard notified
                                                                                               the court that he
                                                                                               retained attorney
                                                                                               Christopher Bandas/
                                                                                               Bandas Law Firm,
                                                                                               P.C.



       In re: Discover Payment    Aaron Petrus   5/10/12: Final Order and Judgment             6/15/12: disclosure     Appeal voluntarily dismissed
       Protection Plan            filed pro se   granting final approval to the class action   statement in Appeal     on 7/6/12.
       Marketing and Sales                       settlement; Order awarding attorneys’         No. 12-2366 filed on
       Practices Litigation,                     fees, reimbursement of expenses, and          behalf of Appellant     6/28/12: Plaintiffs’ motioned
       MDL 2217, No. 10-cv-                      service award                                 Petrus by Christopher   for objector Petrus to post
       6994, Final Order and                                                                   Andreas Bandas/         appellate bond of $25,000,
       Judgment (Dkt. No.                                                                      Bandas Law Firm,        but the appeal dismissed
       177) (N.D. Ill. May 10,                                                                 P.C.                    before motion for bond was
       2012).                                                                                                          ruled on.



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       In re AT & T Mobility       Mike Hale;          6/2/2011: Memorandum Opinion and             Filed 7/12/11         Appeal voluntarily dismissed
       Wireless Data Servs.        Summer Hogan;       Order (1) granting final approval of the                           on 12/6/11.
       Sales Tax Litig., 792 F.    Michael Schulz;     class action settlement; and (2) grants in
       Supp. 2d 1028 (N.D. Ill.    Omar Rivero         part and denies in part Class Counsel's
       June 2, 2011).                                  motion for approval of attorneys' fees,
                                                       costs, and expenses, and for approval of
                                                       incentive awards for Class
                                                       Representatives

       In re TFT-LCD (Flat         Ira Conner          7/11/12: Final Judgment of dismissal         9/10/12: notice of    Appeal voluntarily dismissed
       Panel) Antitrust            Erwin;              with prejudice and Order granting Final      appearance in         on 6/11/14.
       Litigation, MDL No.         filed pro se        Approval of combined class, parens           Appeal No. 12-16780
       1827, No. 3:07-md-1827      Luis Mario          patrie, and governmental entity              filed on behalf
       (Order Granting Final       Santana             settlements.                                 of Appellant Ira
       Approval Of Combined        filed pro se;                                                    Erwin by
       Class, Parens Patriae,      Stefan Rest filed                                                Christopher Andreas
       and Governmental            pro se                                                           Bandas/ Bandas
       Entity Settlements; Final                                                                    Law Firm, P.C.
       Judgment of Dismissal
       With Prejudice) (Dkt.
       No. 6130) (N.D. Cal.
       filed July 11, 2012).

       Ko v. Natura Pet            Alfredo Walsh       9/10/2012: Order granting (1) motion for     11/27/12: notice of   Appeal dismissed for failure
       Products, Inc., No. 09-     filed pro se        final approval of the class action           appearance filed on   to prosecute on 4/24/13.
       02619, 2012 WL                                  settlement with Defendant Natura Pet         behalf of Appellant
       3945541 (N.D. Cal.                              Products, Inc.; (2) motion for attorneys’    Alfredo Walsh by
       Sept. 10, 2012).                                fees, costs, and incentive award.2           Christopher Andreas
                                                                                                    Bandas/ Bandas Law
                                                                                                    Firm, P.C.
       In re Google Buzz       Kervin Walsh            5/31/11: Order granting final approval of    07/06/11: notice of   Appeal voluntarily dismissed
       Privacy Litig., No. 10- filed pro se            class action settlement, approval of cy      appearance filed on   on 11/21/11.
       00672, 2011 WL                                  pres awards, and awarding attorney fees.     behalf of Appellant
       7460099 (N.D. Cal. June                                                                      Kervin Walsh by
       02, 2011).                                      6/2/11: Amended Order granting final         Christopher Andreas
                                                       approval of class action settlement,         Bandas
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                 Case                   Client(s)            Outcome of Objection                       Appeal                Outcome of Appeal

              -continued-                           approval of cy pres awards, and
       In re Google Buzz                            awarding attorney fees.
       Privacy Litig., No. 10-
       00672, 2011 WL                                6/17/11: Order granting final application
       7460099 (N.D. Cal. June                      for reimbursement of expenses.
       02, 2011).




       In re Apple iPhone 4         Burt Chapa      8/10/12: Order granting motion for final     09/28/2012: notice of    Appeal voluntarily dismissed
       Products Liability Litig.,   filed pro se    settlement approval and motion for           appearance filed on      1/11/13.
       No. 5:10-md-02188,                           attorneys’ fees and costs.                   behalf of Appellant
       2012 WL 3283432                                                                           Bert Chapa by
       (N.D. Cal. Aug. 10,                                                                       Christopher Andreas
       2012).                                                                                    Bandas/ Bandas Law
                                                                                                 Firm, P.C

       Adams v. AllianceOne         Gordon B.       9/28/2012: Order (1) granting joint          12/04/12: notice of      Appeal voluntarily dismissed
       Receivables                  Morgan          motion for final approval of class action    appearance               on 2/4/13.
       Management, Inc., No.        filed pro se    settlement; (2) granting class counsel’s     filed on behalf
       3:08-cv-c00248(S.D.                          motion for attorneys’ fees, costs, and       of Appellant Morgan
       Cal. Feb. 8, 2008).                          service awards                               by Attorney
                                                                                                 Christopher Andreas
                                                                                                 Bandas/ Bandas
                                                                                                 Law Firm, P.C.

                                                                                                 12/4/2012: notice of
                                                                                                 appearance filed on
                                                                                                 behalf of Appellant
                                                                                                 Morgan in the district
                                                                                                 court by Attorney
                                                                                                 Joseph Darrell Palmer




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                                                             Appendix A – Christopher Bandas
	  
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                 Case                 Client(s)               Outcome of Objection                      Appeal                Outcome of Appeal

       Gallucci v. Boiron, Inc., Israel Elizondo      10/31/2012: Final Judgment and Order                                Appeal dismissed on 6/3/13
       No. 11CV2039 JAH          filed pro se         granting Motion for approval of Class                               for failure to prosecute.
       NLS, 2012 WL 5359485                           Action Settlement, awarding Class
       (S.D. Cal. Oct. 31, 2012)                      Counsel Fees and Expenses, awarding
       aff'd sub nom. Gallucci                        Class Representatives incentives,
       v. Gonzales, 603 F.                            permanently enjoining parallel
       App'x 533 (9th Cir.                            proceedings, and dismissing action with
       2015).                                         prejudice.


       In re Classmates.com        Michael J Schulz 06/15/2012: Order granting (1) motion        Notice of appeal filed   Appeal voluntarily dismissed
       Consol. Litig., No. 2:09-   filed pro se     for final approval of class action           pro se                   on 8/27/12.
       cv-00045, 2012 WL                            settlement; (2) motion for attorney fees,
       3854501 (W.D. Wash.                          costs, and participation awards to class     On 8/14/12,
       June 15, 2012).                              representatives; and (3) Order certifying    Christopher A.
                                                    settlement class; and (4) Judgment           Bandas filed a notice
                                                    dismissing the case and entering the two     of appearance to
                                                    year injunction                              serve as counsel on
                                                                                                 behalf of Objector-
                                                                                                 Appellant Schulz

       Dennings v. Clearwire       Gordon Morgan;     12/20/12: Settlement Order and Final       Bandas filed an          (Second Appeal)
       Corp., No. 10-cv-1859,      Jeremy De La       Judgment granting motion for final         appeal of the            On 6/3/13, Bandas appealed
       2013 WL 1858797             Garza              approval of class action settlement.       Settlement Order on      the Order granting plaintiffs’
       (Order Granting Motion                                                                    1/18/13.                 motion for attorneys’ fees.
       For Attorney's Fees And                        5/3/13: Order granting motion for
       Expenses) (W.D. Wash.                          attorneys’ fees and expenses.              (First Appeal)           Plaintiffs filed a similar
       May 03, 2013).                                                                            2/20/2013: Plaintiffs    motion requesting that the
                                                                                                 filed a motion           Court order objectors to post
                                                                                                 requesting that the      an appellate cost bond of
                                                                                                 Court order              $41,150, with respect to
                                                                                                 Objectors, jointly and   Bandas’ second appeal on
                                                                                                 severally, to post an    6/3/13, and on 7/9/13,
                                                                                                 appellate cost bond of   finding that the same
                                                                                                 $41,150.                 arguments applied and the
                                                                                                                          requested cost bond was

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                                                               Appendix A – Christopher Bandas
	  
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                Case              Client(s)           Outcome of Objection                     Appeal                 Outcome of Appeal

             -continued-                                                                On 3/11/2013, the         appropriate, the Court
       Dennings v. Clearwire                                                            Court ordered             ordered objectors Morgan
       Corp., No. 10-cv-1859,                                                           Objectors Morgan          and De La Garza to either
       2013 WL 1858797                                                                  and De La Garza to        post the bond or withdraw
       (Order Granting Motion                                                           either post a bond in     their objections within 5 days
       For Attorney's Fees And                                                          the amount of             of the date of the Order.
       Expenses) (W.D. Wash.                                                            $41,150 or dismiss
       May 03, 2013).                                                                   their notice of appeal.   4/22/13: Judgment of the
                                                                                        The Court reasoned        district court affirmed per
                                                                                        that (1) the              summary order.
                                                                                        “objectors’
                                                                                        underlying objections
                                                                                        were without merit;
                                                                                        (2) there was a “risk
                                                                                        of non-payment of
                                                                                        appeal costs given
                                                                                        that both objectors
                                                                                        live in Texas, and it
                                                                                        may therefore be
                                                                                        difficult to enforce a
                                                                                        cost order imposed
                                                                                        upon them”; (3) the
                                                                                        objectors appeared to
                                                                                        have the ability to pay
                                                                                        an appeal bond; and
                                                                                        (4) there was
                                                                                        evidence presented
                                                                                        that the objectors
                                                                                        “had vexatious intent
                                                                                        in filing their notice
                                                                                        of appeal . . .” Bond
                                                                                        Order (Doc. #117)
                                                                                        (filed Mar. 11, 2013).




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                 Case             Client(s)               Outcome of Objection                      Appeal                Outcome of Appeal

       Herfert v. Crayola, LLC, Amber Pederson   4/27/12: Final Order granting joint         On 5/24/12, Class        Appeal voluntarily dismissed
       No. 2:11- cv-01301       filed pro se     motion for Final Approval of Clasa          Counsel was              on 9/26/12.
       (W.D. Wash. Aug. 5,                       Action Settlement and Motion for            informed that
       2011).                                    Attorney Fees, Expenses and                 Objector-Appellant       6/21/12: Class Plaintiffs and
                                                 Representative Plaintiff Award              Pederson would be        Defendants filed a joint
                                                                                             represented by           motion requesting that
                                                                                             Christopher Bandas/      Objector Pederson and her
                                                                                             Bandas Law Firm,         counsel, Mr. Bandas, be
                                                                                             P.C                      jointly and severally liable to
                                                                                                                      post an appeal bond of
                                                                                             On 7/5/12, Attorney      $20,000
                                                                                             Darrell Palmer/Law
                                                                                             Offices of Darrell       7/31/12: Following oral
                                                                                             Palmer (Solano           argument at which neither
                                                                                             Beach CA) filed          Objector-Appellant nor her
                                                                                             Objector-Appellant’s     counsel appeared, Court
                                                                                             Response to the          granted the parties’ joint
                                                                                             Parties’ Motion for an   motion and ordered
                                                                                             appeal bond, and filed   Appellant Pederson and her
                                                                                             an application to        attorney Christopher Bandas
                                                                                             appear pro hac vice      to file an appeal bond of
                                                                                             on behalf of Objector-   $20,000.
                                                                                             Appellant Amber
                                                                                             Pederson.
                                                                                             Mr. Palmer’s
                                                                                             application was
                                                                                             denied on 8/17/12

       In re Netflix Privacy   Bradley Schultz   Schultz filed his objection on 11/16/12.    Bandas and Timothy       On 11/25/13, the Court
       Litig., No. 5:11-CV-                      The Final Judgment and Order of             R. Hanigan filed an      granted Plaintiffs’ Motion
       00379, 2013 WL                            dismissal with prejudice granting: (1)      appeal on behalf of      for Bond and extension of
       1120801 (N.D. Cal.                        motion for final approval of class action   Schultz on 4/16/13.      time to complete discovery.
       March 18, 2013).                          settlement; and (2) motion for attorneys’
       	                                        fees, expenses and incentive award, was                              Appellants moved to dismiss
                                                 entered on 3/18/2013.                                                their consolidated appeals on
                                                                                                                      9/4/14.

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                                                          Appendix A – Christopher Bandas
	  
                                                                                                                                                                                                                                                    Case 4:07-cv-05944-JST Document 4370-2 Filed 02/04/16 Page 31 of 230

                                                                                                  Case                                                                                                                                               Client(s)            Outcome of Objection                      Appeal               Outcome of Appeal

                   Montanez v. Gerber                                                                                                                                                                                                      Gabi Canales           Gabi Canales Morgan was the only            Timothy R. Hanigan     Pursuant to stipulation, the
                   Childrenswear, No 09-                                                                                                                                                                                                   Morgani                purported class member to object to the     filed a Notice of      appeal was voluntarily
                   cv-07420 (C.D. Cal.                                                                                                                                                                                                                            settlement. Morgan submitted her            Appeal on 11/22/13     dismissed on 6/4/14, the
                   Oct. 23, 2013).                                                                                                                                                                                                                                objection letter dated 9/12/13, which was   and on 12/16/13 -      same day the appellate brief
                                                                                                                                                                                                                                                                  filed 10/16/13.                             Bandas filed his       was due.
                                                                                                                                                                                                                                                                                                              Notice of Appearance
                                                                                                                                                                                                                                                                  On 10/23/13, the Court granted              as Lead Counsel for
                                                                                                                                                                                                                                                                  Plaintiffs’ Motion for Final Approval of    Appellant Morgan.
                                                                                                                                                                                                                                                                  Class Action Settlement and overruled
                                                                                                                                                                                                                                                                  Morgan’s objection.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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       Gabi Canales Morgan is the wife of serial objector, Gordon Morgan – an objector in the instant action represented by Bandas and Hanigan.




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                                                                                                                                                                                                                                                                           Appendix A – Christopher Bandas
	  
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                 APPENDIX B
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                                                       APPENDIX B
                      Selected Objections to Settlements and Related Appeals Filed by Timothy R. Hanigan
Case                          Client(s)                Notes
In re: Netflix Privacy        Bradley Schultz          Schultz filed his objection on 11/16/12. The Final Judgment and Order of
Litig., No. 5:11-cv-00379,                             dismissal with prejudice granting: (1) motion for final approval of class
2013 WL 1120801 (N.D.                                  action settlement; and (2) motion for attorneys’ fees, expenses and incentive
Cal. March 18, 2013).                                  award, was entered on 3/18/13.

                                                       Bandas and Timothy R. Hanigan filed an appeal on 4/16/13. Appellants later
                                                       moved to dismiss their appeal on 9/14/14, after posting bond per court order.
In re Bank of Am. Credit      Beau Lochridge           On 1/16/13, the Court granted the Motion for Final Approval of Class Action
Protection Mktg. & Sales                               Settlement; and (2) Motion for Attorney Fees, Reimbursement of Expenses,
Practices Litig., No. 3:11-                            and Service Awards. Hanigan was identified as counsel for Appellant
md-2269, 2013 WL                                       Lochridge on Notice of Appeal, filed 1/24/13. Shortly thereafter on 1/31/13,
174056 (N.D. Cal.                                      a Notice of Appearance by Christopher Bandas, substituting Hanigan, as
January 16, 2013).                                     counsel for Lochridge was filed.

                                                       This appeal was voluntarily dismissed on 4/10/13.
Malta v. The Federal          Gordon Morgan            Hanigan filed an objection on behalf of Gordon Morgan on 6/5/13. With
Home Loan Mortgage                                     little reference to objections, the Court issued its Final Judgment and Order
Corp., No. 10-cv-01290,                                of Dismissal with Prejudice on 6/21/13.
2013 WL5467425 (Final
Judgment and Order of                                  A Notice of Appeal was filed on 7/18/13 and the appeal voluntarily
Dismissal with Prejudice)                              dismissed on 9/10/13.
(Dkt. No. 60 (S.D. Cal.
filed June 21, 2013).

Franklin v. Wells Fargo       C. Jeffrey Thut          Pending
Bank, No. 14-cv-02349
(Motion for Final
Approval of Class Action)
(Dkt. No. 37) (S.D. Cal.
filed July 20, 2015).


                                                              i
                                                Appendix B – Timothy R. Hanigan
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Case                          Client(s)             Notes
Kacsuta v. Lenovo (United Douglass Quinn            Objection filed 11/20/14.
States) Inc., 2014 U.S.
Dist. LEXIS 174510 (C.D.                            In its Final Approval Order for Class Settlement, dated 12/16/14, the Court
Cal. Dec. 16, 2014).                                noted that it received only two objections from class members, thus the “vast
                                                    majority of class members who responded favor the settlement, and the two
                                                    objectors make up less than 1% of the class members who have
                                                    responded…After reviewing the objections submitted, the Court concludes
                                                    that they do not pose a barrier to final approval of the settlement.” (Order
                                                    Granting in Part Plaintiffs’ Motion for Final Approval of Class Action
                                                    Settlement and Request for Attorney Fees, Dkt. No. 91, at 9 of 27).
Roberts et al v. Electrolux   Daniel Hall           Hanigan filed an objection on behalf of Daniel Hall on 7/31/14
Home Products, Inc., No.
12-cv-01644, 2014 WL                                Soon after on 8/16/14, a stipulation of withdrawal of Hall’s objection and of
8097368 (Final Judgment)                            the sanctions requested by plaintiffs was entered. Nonetheless, in its Order
(Dkt. No. 64) (C.D. Cal.                            granting Final Approval of Class Settlement and granting Attorneys’ Fees,
filed Sep. 15, 2014).                               Costs, and Incentive Awards, the Court states that “[d]espite the withdrawal
                                                    of this objection, the Court notes that the objection would have been
                                                    overruled in its entirety. It is unclear whether Mr. Hall even had standing to
                                                    object to the Settlement. The rest of Mr. Hall’s objections misunderstand or
                                                    misread the Settlement Agreement, or provide no evidence or support
                                                    (besides attorney argument) to advance his objection. For example, the Court
                                                    overrules Mr. Hall’s characterization of the Settlement as providing only
                                                    ‘illusory value’ to the Class—as stated herein—the benefits to the Class are
                                                    substantial. Mr. Hall also misinterprets the Settlement Agreement concerning
                                                    his objections related to the Fire Subclasses—no Class member is required to
                                                    release his or her personal injury or property damage claims under the
                                                    Settlement. Finally, no conflicts exist between Class Counsel, the Class
                                                    Representatives, and the Class. As explained herein, Class Counsel’s
                                                    attorneys’ fees request is reasonable and the Class Representatives’
                                                    settlement of their individual claims does not render them inadequate.” (Dkt.
                                                    No. 64, p. 20 of 36, n.4).

                                                    “The objections submitted by these professional objectors do not seek to
                                                    benefit the Class and appear to be made for the improper purpose of delaying
                                                    the Settlement to extract a fee.” (Dkt. No. 64, p. 20 of 36).
                                                           ii
                                             Appendix B – Timothy R. Hanigan
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Case                        Client(s)                Notes
Montanez v. Gerber         Gabi Canales Morgani      Gabi Canales Morgan was the only purported class member to object to the
Childrenswear, No 09-      Pro se                    settlement. Morgan submitted her objection letter dated 9/12/13, which was
cv-07420 (Order Granting                             filed 10/16/13.
Motion for Final Approval
of Class Action                                      On 10/23/13, the Court granted Plaintiffs’ Motion for Final Approval of
Settlement) (Dkt. No.                                Class Action Settlement and overruled Morgan’s objection. Hanigan filed a
280) (C.D. Cal. filed Oct.                           Notice of Appeal on 11/22/13 and on 12/16/13, Christopher Bandas filed his
23, 2013).                                           Notice of Appearance as Lead Counsel for Appellant Morgan.

                                                     Pursuant to stipulation, the appeal was voluntarily dismissed on 6/4/14, the
                                                     same date on which the appellate brief was due.


Adams v. AllianceOne        Gordon Blaine Morgan     9/28/2012: Order (1) granting joint motion for final approval of class action
Receivables                 Pro se                   settlement; (2) granting class counsel’s motion for attorneys’ fees, costs, and
Management, Inc., No.                                service awards
3:08-cv-00248 (Order
Granting Joint Motion for                            Chris Bandas and Darrell both filed a Notice of Appearance on behalf of
Final Approval of Class                              Appellant Morgan on 12/4/12. Hanigan filed a Notice of Appearance on
Action Settlement;                                   12/21/12.
Granting Class Counsel's
Motion for Attorneys'                                Class Counsel sought an appeal bond of $64,536.69 but Morgan voluntarily
Fees, Costs, and                                     withdrew his appeal before the Court could rule
Service Awards) (Dkt.
No. 137) (S.D. Cal. filed
Sept. 28, 2012).


In re Dynamic Random        Sean Hull                Hanigan filed a Statement of Representation of Hull on Appeal on 7/7/14,
Access Memory                                        and Notice of Appeal on 7/18/14. -Pending
(DRAM) Antitrust Litig.,
536 F. Supp. 2d 1129
(N.D. Cal. 2008).



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                                              Appendix B – Timothy R. Hanigan
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            Case                                          Client(s)                                       Notes
            In re Toyota Motor Corp. Robert Bandas                                                        Of the 77 objections filed in this case, only 20 relate to the proposed fee
            Unintended Acceleration      Victor Serafino                                                  award. Two of these fee related objections were filed by Hanigan, yet at the
            Marketing, Sales                                                                              fairness hearing on 6/14/13, none of the objectors who appeared addressed
            Practices, and Products                                                                       the Motion for an Award of Attorneys’ Fees, Reimbursement of Expenses,
            Liability Litig., No. 10-ml-                                                                  and Compensation to Named Plaintiffs. The Court carefully considered all
            02151 (Order Granting                                                                         objections and found they lacked merit.
            Motion for Final Approval
            of Proposed Class Action                                                                      7/24/13 Final Approval of Class Settlement.
            Settlement, and Granting
            Motion for Attorneys’
            Fees, Reimbursement of
            Expenses, and
            Compensation to Named
            Plaintiffs) (Dkt. No. 3933)
            (C.D. Cal. filed July 24,
            2013).
            In re Smokeless Tobacco      Sean Hull                                                        Objection filed 2/4/08 pro se. Involvement of Bandas was divulged on
            Cases I, II, JCCP Nos.                                                                        2/20/08 by Dennis Bartlett, a Denver attorney who was representing Hull.
            4250, 4258, 4259, 4262                                                                        Final Approval was granted and fees awarded on 3/12/08. Hull appealed on
            (San Francisco Super.                                                                         4/11/08 and the appeal was voluntarily dismissed on 2/26/09.
            Ct.).




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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        Gabi Canales Morgan is married to serial objector, Gordon Morgan – an objector in the instant action, represented by Bandas and Hanigan.

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                 APPENDIX C
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                                                                APPENDIX C
                             Selected Objections to Settlements and Related Appeals Filed by Jonathan E. Fortman

       Case                             Client(s)                Notes
        In re Checking Account           Todd M. Spann            Objection filed 10/3/11 as part of group including clients of Kessinger and
        Overdraft Litig., 830                                     Kress. In the order granting final approval of the settlement and awarding
        F.Supp.2d 1330 (S.D. Fla.                                 attorneys’ fees, the court stated:
        2011).
                                                                  “As Plaintiffs noted both in their pleadings, see Plaintiffs’ Response to
                                                                  Objections to Motion for Final Approval of Settlement and Class
                                                                  Counsel’s Application for Service Awards and Attorneys’ Fees [DE #
                                                                  2030] at 20–22, and at the Final Approval Hearing, most if not all of the
                                                                  Objections are motivated by things other than a concern for the welfare
                                                                  of the Settlement Class. Instead, they have been brought by professional
                                                                  objectors and others whose sole purpose is to obtain a fee by objecting
                                                                  to whatever aspects of the Settlement they can latch onto. The Court
                                                                  agrees with the court in Barnes v. Fleet Boston Fin. Corp., 2006 U.S.
                                                                  Dist. LEXIS 71072, at *3–4 (D. Mass. Aug. 22, 2006), that,
                                                                  ‘[P]rofessional objectors can levy what is effectively a tax on class action
                                                                  settlements, a tax that has no benefit to anyone other than to the objectors.
                                                                  Literally nothing is gained from the cost: Settlements are not restructured
                                                                  and the class, on whose benefit the appeal is purportedly raised, gains
                                                                  nothing.’ … The Court has nonetheless considered their objections on
                                                                  the merits, and rejects them for the reasons set forth herein. Should these
                                                                  or any other Objectors choose to persist in their objections in order to tie
                                                                  up the execution of this Settlement and further delay payment to the
                                                                  members of the Settlement Class, the Court will consider additional
                                                                  measures to make sure that the members of the Settlement Class are not
                                                                  further harmed as a result. See Supplemental Decl. of Prof. Brian T.
                                                                  Fitzpatrick [DE # 1885–7], ¶¶ 11–13 (discussing ‘objector blackmail’ and
                                                                  observing that courts have fought back by sanctioning professional
                                                                  objectors and requiring hefty appeal bonds).” In re Checking Account
                                                                  Overdraft Litig., 830 F. Supp. 2d 1330, 1361 n. 30 (S.D. Fla. 2011)
                                                                  (emphasis added).



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                                                         Appendix C – Jonathan E. Fortman
	  
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       Case                                Client(s)               Notes
                 -continued-                                        Notice of Appeal was filed on 12/21/11. On 2/14/12, the court granted
        In re Checking Account                                      Plaintiffs’ Motion to Require Posting of Appeal Bonds by certain Objector-
        Overdraft Litig., 830                                       Appellants, including Todd M. Spann. On 7/3/2012, the Court granted
        F.Supp.2d 1330 (S.D. Fla.                                   Appellant’s motion to voluntarily dismiss his appeal.
        2011).

       Fogel v. Farmers Group,              Pro se Objection        Objection dated 8/17/11. Settlement approved and fees awarded on
       Inc., No. BC300142 (Cal.                                     12/21/11. Fortman did not appeal.
       Super. Ct. Los Angeles
       Cnty. 2011).


       In re Lawnmower Engine               Kent Stephens;          Objection and motion to intervene filed 6/7/10. Final approval granted and
       Horsepower Mktg. & Sales             Douglas Hilbert;        fees awarded 8/16/10 (733 F. Supp. 2d 997). Attorneys Fortman, Kress
       Practices Litig., 733 F. Supp. 2d    Kelly Marie Spann       and Kessinger filed notice of appeal 9/14/10; appeal voluntarily dismissed
       997 (E.D. Wis. 2010).                                        on 2/10/11.


       In re Enron Corp. Sec.,              George S. Bishop;       Objection filed in 2008. Fortman, Pentz and Kessinger together filed this
       Derivative & ERISA Litig., 586       Jill R. Bishop;         objection. On 9/8/08, all objections were overruled or found to be without
       F. Supp. 2d 732 (S.D. Tex.           Lon Wilkens;            merit in the order awarding fees (586 F. Supp. 2d 732) and the plan of
       2008).                               Betty Wilkens           allocation of the settlement proceeds (2008 U.S. Dist. LEXIS 84656).
                                                                    Notice of appeal filed 10/3/08. Stipulated dismissal filed 9/10/09.

       In re TFT-LCD (Flat Panel)          Shannon Cashion;        Final Judgment was entered on 4/1/13 and an Amended Order Granting
       Antitrust Litig., MDL 1827,         W. Christopher          Final Approval on 4/3/13. Fortman filed this objection with serial objectors
       3:07-md-1827, 2013 WL               McDonough;              John Kress, Steve Miller and J. Scott Kessinger on 4/13/12. Kress, Miller
       1365900 ( N.D. Cal., April          Kelly Kress;            and Kessinger filed an appeal on 4/29/13 and on 6/10/14 moved to
       03, 2013).                          Mark Schulte            voluntarily dismiss their appeal.


       Wilkins v. HSBC Bank Nevada,        Laura Fortman           Fortman, Kress and Miller filed an objection on behalf of Laura Fortman on
       N.A., No. 14 C 190, 2015 WL                                 10/6/14. The Final Order of Dismissal and Final Judgment was entered on
       890566 (N.D. Ill. Feb. 27, 2015).                           3/17/15. The Court found that none of the objections were well founded and
                                                                   overruled each.

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                                                           Appendix C – Jonathan E. Fortman
	  
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       Case                                 Client(s)                  Notes
       Gehrich v. Chase Bank, No. 12-       Steve Purgahn              Objection filed 2/9/15. The Final Approval Hearing was held on 10/22/15.
       cv-05510 (N.D. Ill. filed July 12,                              The deadline for Class Counsel to file a supplemental brief regarding
       2012).                                                          attorneys’ fees is 11/5/15. The deadline for any objector to file a
                                                                       supplemental brief regarding attorneys’ fees is 11/17/15.

       In re Pre-Filled Propane Tank        Patrick Giratos            Objection filed 9/15/10. Final approval was entered on 10/4/10, in which
       Mktg. & Sales Practices Litig.,                                 Judge Fenner writes, “the Court gives weight to the Class’s reaction to the
       2010 U.S. Dist. LEXIS 106888                                    Settlement. A significant number of individuals have participated in the
       (W.D. Mo. Oct. 4, 2010).                                        claims process. The opt-out rate is low. As to the objections received, the
                                                                       Court has reviewed and heard the objections to this Settlement, and they are
                                                                       hereby overruled.” In re Pre-Filled Propane Tank Mktg. & Sales Practices
                                                                       Litig., 2010 U.S. Dist. LEXIS 106888, *13 (W.D. Mo. Oct. 4, 2010).

                                                                       Notice of Appeal was entered on 11/10/10 and the appeal was voluntarily
                                                                       dismissed on 2/22/11.

       In re: Pre Filled Propane Tank       Patrick Giratos;           Objection filed 1/10/12. The Final Order of Judgment and Dismissal with
       Marketing and Sales Prac. Litig.     John Mihs;                 Prejudice and Order Granting Final Approval of Class Settlement, Approval
       (Ferrellgas Settlement), MDL         John C. Kress              of Attorney’s Fees and Setting Bond was entered on 5/31/12.
       No. 2086 (Order Granting                                        Kress et al appealed to the Eighth Circuit Court of Appeal on 6/28/12. All
       Motion for Final Approval of                                    parties in the consolidated appeal moved to dismiss their appeal and on
       Class Settlement and Plaintiffs’                                11/23/12, the Court granted Appellants’ motion to voluntarily dismiss.
       Motion for Approval of
       Attorneys’ Fees) (Dkt. No. 530)
       (W.D. Mo. filed May 31, 2012).


       Allen v. JP Morgan Chase, No.       Enzo Anthony Sberna         Objection filed 9/4/15; All objections overruled and final approval granted
       13-cv-08285 (Minute Entry                                       on 10/21/15.
       Regarding Granting of Plaintiffs’
       Motion for Final Approval)
       (Dkt. No. 91) (N.D. Ill. filed Oct.
       21, 2015).



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                                                               Appendix C – Jonathan E. Fortman
	  
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       Case                              Client(s)               Notes
       Roberts et al v. Electrolux       Kristina Newman;        Final approval granted 9/15/2014; Fortman et al appealed on 10/9/14 and
       Home Products, Inc., No. 12-cv-   Joyce Miller            voluntarily dismissed appeal on 10/15/14.
       01644, 2014 WL 8097368 (Final
       Judgment) (Dkt. No. 64) (C.D.
       Cal. filed Sep. 15, 2014).


       In re Sw. Airlines Voucher Litig., Jonathan E. Fortman    Objection filed 4/1/13
       No. 11 C 8176, 2013 WL              (as Objector)
       4510197 (N.D. Ill. Aug. 26,                               Final approval granted 8/26/13. Fortman et al did not file appeal.
       2013).


       In re: Polyurethane Foam          Kelly Marie Spann       Jonathan E. Fortman filed a notice of appearance on behalf of Objector
       Antitrust Litig., No. 10-md-                              Kelly Marie Spann on 11/12/15.
       02196-JZ (Notice of Appearance
       of Counsel) (Dkt. No. 1962)
       (N.D. Oh. filed Nov. 12, 2015).




                                                                          	  
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                                                         Appendix C – Jonathan E. Fortman
	  
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                                                       APPENDIX D
                                       Objections to Settlements Filed by John C. Kress

Case                             Client(s)               Notes
In re Checking Account           Daniel G. Repa          The objection was filed 10/3/11 as part of group including clients of Fortman
Overdraft Litig., 694 F. Supp.                           and Kessinger. (See notes re Jonathan E. Fortman, supra.)
2d 1302 (S.D. Fla. 2010).

Hale v. Wal-Mart Stores, Inc.,   Brenda Crittendon;      After Kress’ clients failed to attend their scheduled May 11, 2009 depositions,
2009 WL 2206961 (Mo. Cir.        Marcella Hodgins;       the Court granted Plaintiffs’ and Class Counsel’s request for sanctions against
Ct. June 17, 2009).              Linda Garrett           these objectors and their counsel, Kress and J. Scott Kessinger, in the amount of
                                                         $11,319.70, entered June 17, 2009.
In re Lawnmower Engine           David Borgmeyer;        Kress filed a Motion to Intervene and Objections to Class Action Settlement and
Horsepower Mktg. & Sales         Jarvis Gutridge;        Request for Attorney’s Fees on 6/7/10. On 8/16/10, the Court denied Kress’
Practices Litig., 733 F. Supp.   Earl Hortiz             Motion to Intervene as moot and entered separate Orders and Final Judgments
2d 997 (E.D. Wis. Aug. 16,                               Approving Settlements. Objectors filed their appeal on 9/14/10, which was
2010).                                                   voluntarily dismissed on 2/10/11.

In re TFT-LCD (Flat Panel)       Kelly Kress;            Final Judgment was entered on 4/1/13 and an Amended Order Granting Final
Antitrust Litig., MDL 1827,      Channon Cashion;        Approval on 4/3/13. Kress filed this objection with serial objectors Jonathan E.
3:07-md-1827, 2013 WL            W. Christopher          Fortman, Steve Miller and J. Scott Kessinger on 4/13/12. Kress, Fortman,
1365900 ( N.D. Cal. April 03,    McDonough;              Miller, and Kessinger filed an appeal on 4/29/13 and on 6/10/14 moved to
2013).                           Mark Schulte            voluntarily dismiss their appeal.

In re: Pre Filled Propane Tank John C. Kress             Objection filed 1/10/12. The Final Order of Judgment and Dismissal with
Marketing and Sales Prac.       pro se                   Prejudice and Order Granting Final Approval of Class Settlement, Approval of
Litig. (Ferrellgas Settlement),                          Attorney’s Fees and Setting Bond was entered on 5/31/12.
MDL No. 2086 (Order                                      Kress et al appealed to the Eighth Circuit Court of Appeal on 6/28/12. All
Granting Motion for Final                                parties in the consolidated appeal moved to dismiss their appeal and on 11/23/12,
Approval of Class Settlement                             the Court granted Appellants’ motion to voluntarily dismiss.
and Plaintiffs’ Motion for
Approval of Attorneys’ Fees)
(Dkt. No. 530) (W.D. Mo. filed
May 31, 2012).
                                                                  i	  
                                                      Appendix D – John C. Kress
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Case                         Client(s)                  Notes
Wilkins v. HSBC Bank Nevada, Laura Fortman              Kress, Fortman, and Miller filed an objection on behalf of Laura Fortman on
N.A., No. 14 C 190, 2015 WL                             10/6/14. The Final Order of Dismissal and Final Judgment was entered on
890566 (N.D. Ill. Feb. 27,                              3/17/15. The Court found that none of the objections were well founded and
2015).                                                  overruled each.

Gehrich v. Chase Bank, No.     Steve Purgahn            Objection filed 2/9/15. The Final Approval Hearing was held on 10/22/15. The
12-cv-05510 (N.D. Ill. filed                            deadline for Class Counsel to file a supplemental brief regarding attorneys’ fees
July 12, 2012).                                         is 11/5/15. The deadline for any objector to file a supplemental brief regarding
                                                        attorneys’ fees is 11/17/15.

Roberts et al v. Electrolux      Kristina Newman;       Final approval granted 9/15/14. Fortman et al appealed on 10/9/14 and
Home Products, Inc., No. 12- Joyce Miller               voluntarily dismissed their appeal less than one week later on 10/15/14.
cv-01644, 2014 WL 8097368
(Final Judgment) (Dkt. No. 64)
(C.D. Cal. filed Sep. 15, 2014).

In re Sw. Airlines Voucher     Jonathan E. Fortman      Objection filed 4/1/13; Final approval granted 8/26/13. Fortman et al did not
Litig., No. 11 C 8176, 2013                             appeal.
WL 4510197 (N.D. Ill. Aug.
26, 2013).

Allen v. JP Morgan Chase, No. Enzo Anthony Sberna       Objection filed 9/4/15. All objections were overruled and final approval granted
13-cv-08285 (Minute Entry                               on 10/21/15.
Regarding Granting of
Plaintiffs’ Motion for Final
Approval) (Dkt. No. 91) (N.D.
Ill. filed Oct. 21, 2015).




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                                                     Appendix D – John C. Kress
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                 APPENDIX E
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                                                          APPENDIX E
Examples of Cases in Which Steve A. Miller Has Filed Objections and Dismissed, Abandoned or Withdrawn the Objections Without
                               Attaining Settlement Changes or Additional Benefits for the Class

Case                           Client(s)                  Objections                           Outcome of Objections and/or Appeals
In re Am. Int’l Grp., Inc.     Steve A. Miller, P.C.      Objection filed 1/6/12. Final        Miller filed a notice of appeal on 2/17/12.
Secs. Litig., 916 F. Supp.     Profit Sharing Plan,       approval granted and fees awarded    The appeal was voluntarily dismissed on
2d 454 (S.D.N.Y. 2013).        Trustee                    2/2/12 (2012 WL 345509).             10/1/12.

Nakash v. NVIDIA Corp.      Chase A. Thompsoni           Objection filed 11/2/10 (by Charles Miller/Thompson filed notice of appeal
No. 08-cv-04312-JW (Order                                M. Thompson as counsel for his son). 1/19/11 (several other objectors also appealed,
Granting Plaintiffs’ Motion                              Final approval granted and fees      and the appeals were consolidated). Appeals
for Final Approval) (Dkt.                                awarded 12/20/10.                    were voluntarily dismissed on 3/28/12.
No. 319) (N.D. Cal. filed
Dec. 20, 2010).                                                                               Judgment affirmed 9/4/13, No. 11-15186 (9th
                                                                                              Cir. Sep 04, 2013)
Blessing v. Sirius XM Radio Jeannine Miller               Objection dated 6/20/11. Final       Miller filed a notice of appeal 9/29/11.
Inc., 2011 U.S. Dist. LEXIS                               approval granted and fees           The District Court’s Judgment was affirmed
94723, 2011-2 Trade Cas.                                  awarded on 8/24/11.                 by summary order on 3/13/13.
(CCH) P77,579, 2011 WL
3739024 (S.D.N.Y. Aug. 24,
2011).
White v. Cellco                Ann Talley;                Objection filed 10/17/08. Final      Miller filed a notice of appeal 1/5/09.
Partnership d/b/a Verizon      John Talley                approval granted and fees            Judgment in White and related case
Wireless, No.                                             awarded on 11/6/08.                  affirmed by Cellphone Fee Termination
RG04137699 (Cal. Sup.                                                                          Cases, 186 Cal.App.4th 1380 (2010).
Ct. filed Nov. 6, 2008).
Cassese v. Washington Mut., John Henry Williams           Objection filed 9/8/11.              Miller filed a notice of appeal 10/19/11.
Inc., 711 F. Supp. 2d 261                                                                      The District Court’s Judgment was affirmed
(E.D.N.Y. 2010).                                                                               by Summary Order on 11/20/12.




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                                                       Appendix E – Steve A. Miller
                               Case 4:07-cv-05944-JST Document 4370-2 Filed 02/04/16 Page 47 of 230

       Case                         Client(s)                 Objections                   Outcome of Objections and/or Appeals
       In re New Motor Vehicles     Joey Hutto;               Filed 1/31/11.               From “Decision and Order on Proposed
       Canadian Exp. Antitrust      Jeanne Finn;                                           Settlements and Plan of Allocation”:
       Litig., No. MDL 1532, 2011   Channing Carder;
       WL 1398485, at *1 (D. Me.    Deborah Colburn;                                       “Joey Hutto, Jeanne Finn, Channing
       Apr. 13, 2011)               Wayne                                                  Carder, Deborah Colburn, Nancy Carder
       supplemented, 800 F. Supp.   Phillips/American                                      and Wayne Phillips d/b/a/ American
       2d 328 (D. Me. 2011) and     Electric Moto Service                                  Electric Motor Service, object in part
       aff'd, No. 2:03-MD-1532-                                                            because I am asked to award attorney fees
       DBH, 2012 WL 379947 (D.                                                             before determining the value of benefits
       Me. Feb. 3, 2012).                                                                  actually received by the class members,
                                                                                           and because claim forms must be
                                                                                           submitted before the settlement is finally
                                                                                           approved. Objection to Proposed
                                                                                           Settlement (internal citations omitted).
                                                                                           This is a specious argument. It is because
                                                                                           the claims have already been submitted
                                                                                           that I can determine the actual value of
                                                                                           benefits the class will receive, and
                                                                                           obviously any subtraction for attorney fees
                                                                                           must be made before checks can be
                                                                                           distributed to class members. The benefits
                                                                                           will be received by all who have filed
                                                                                           claims (except those who fail to cash the
                                                                                           claim check). Moreover, the class
                                                                                           members had both notice and a reasonable
                                                                                           amount of time to file claims.” 2011 WL
                                                                                           1398485, at *3 n.22 (emphasis added).

                                                                                           “The Hutto, et al. objection, asserted on
                                                                                           behalf of multiple clients residing in
                                                                                           different states, is confusing. Objection
                                                                                           (internal citations omitted). The objection
                                                                                           asserts that the settlement is unfair to
                                                                                           Alabama, but does not assert why. The
                                                                                           objection goes on to complain that some
	  
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                                                            Appendix E - Steve A. Miller
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       Case                          Client(s)                  Objections                              Outcome of Objections and/or Appeals
               -continued-                                                                              Toyota purchasers are not eligible to get a
       In re New Motor Vehicles                                                                         cash payment even though Toyota was the
       Canadian Exp. Antitrust                                                                          defendant who settled. I have previously
       Litig., No. MDL 1532, 2011                                                                       considered and rejected the possibility that
       WL 1398485 (D. Me. Apr.                                                                          only Toyota purchasers should recover
       13, 2011).                                                                                       because the claims asserted are based on a
       In re: Lawnmower Engine Jeannine Miller                  Filed 6/4/10.                           conspiracy  among
                                                                                                        Final approval      all the
                                                                                                                        granted  anddefendants.”
                                                                                                                                     fees awardedId.
       Horsepower Mktg. & Sales                                                                         at *8 n.56.
                                                                                                        8/16/10  (733 F. Supp. 2d 997). Miller
       Practices Litig., 733 F.                                                                         filed notice of appeal 9/14/10 and
       Supp. 2d 997 (E.D. Wis.                                                                          voluntarily dismissed 2/16/11.
       2010).

       Credit/Debit Card Tying       John Finn                  Filed 5/20/10.                          Settlement approved and fees awarded on
       Cases (San Francisco                                                                             8/23/10; several appeals filed but none by
       Super. Ct., J.C.C.P. No.                                                                         Miller.
       4335).
       In re Mattel, Inc. Toy Lead   Chase A. Thompson         Filed 2/19/10                           Miller/Thompson filed a notice of appeal,
       Paint Products Liability                                th
                                                               Judge Fischer of the Central District   followed by an amended version of same
       Litig., No. 07-01897 (Final                             California
                                                               rejected objectors’ claims that the     on 5/18/10.
       (C.D.  fs of Dismissal
       Judgment                                                deal amounted to a “coupon”
        Cal. Mar.
       With        15, 201
             Prejudice)  (Dkt. No.                             settlement which
                                                                          in     the class members     A stipulated motion to dismiss
       250) (C.D. Cal. Mar. 26,                                can only benefit if they purchase       the four appeals related to the Mattel MDL
       2010).                                                  Mattel Products. (Dkt. No. 250).
                                                               Mattel’s                                was filed on 11/10/10 and granted 11/19/10.



       In re Yahoo! Litig., No.      LightTheNations.com;       Dated 12/11/09 (not docketed):          Final judgment entered 1/15/10, approving
       CV 06-2737 CAS                ChaseandSam.com (Chase     Class members who are not “out of       settlement and awarding fees of $4.3
       (FMOx) (Final                 Thompson);                 business” receive no monetary           million (no mention of objections) (Dkt.
       Judgment and Order of         Digital Playroom, Inc.;    compensation; settlement creates        No. 226). Miller filed notice of appeal on
       Dismissal) (Dkt. No.          James Owens;               subclasses and therefore a conflict     2/11/10; order re voluntary dismissal of
       226) (C.D. Cal. filed         Randal S. Ford             of interest for class counsel;          Miller’s appeal and two others entered
       Jan. 15, 2010).                                          excessive attorneys’ fees and           9/23/10.
                                                                incentive awards.

	  
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                                                               Appendix E - Steve A. Miller
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       Case                         Client(s)                       Objections                              Outcome of Objections and/or Appeals
       In re Initial Pub. Offering  Steve A. Miller, P.C. Profit    Filed 8/10/09 (letter to Court)         Final approval granted and fees awarded
       Sec. Litig., 671 F. Supp. 2d Sharing Plan                                                            on 10/5/09. Various appeals of that order
       467, 2009 U.S. Dist. LEXIS                                                                           filed in early November, including one by
       93162, Fed. Sec. L. Rep.                                                                             Miller on 11/3/09.
       (CCH) P95,369 (S.D.N.Y.
       2009).                                                                                               In the underlying matter, Judge Shira
                                                                                                            Scheindlin ruled on 6/17/10 that objectors
                                                                                                            must post a $25,000 bond (between them)
                                                                                                            (721 F. Supp. 2d 210; amended 7/20/10
                                                                                                            (728 F. Supp. 2d 289)). Miller is identified
                                                                                                            therein not as counsel but as an objector
                                                                                                            (along with his profit-sharing plan)
                                                                                                            represented by Jeffrey L. Weinstein.
       CLRB Hanson Inds., LLC       Randy R. Lyon;                  Objection filed 7/10/09.                Settlement approved and fees awarded on
       v. Google, Inc., No. C 05-   Chase Thompson                 After the fairness hearing, the district 9/14/09.
       03649 JW PVT (Final                                         court issued its Final Judgment
       Judgment and Attorney’s                                     approving the settlement, finding “that Miller did not file an appeal.
       Fees Orders) (Dkt. Nos.                                     said settlement is, in all respects, fair,
       346, 347) (N.D. Cal. filed                                  just, reasonable and adequate to the
       Sep. 14, 2009).                                             Class, and in the best interests of the
                                                                   Class.” (Dkt. 367, p. 2 of 12).

       Milliron v. T-Mobile USA, Thomas A. Carder;                  Objection filed 7/2/09.                Settlement approved and fees awarded on
       Inc., 2009 U.S. Dist. LEXIS Kimberley Lyons;                                                        9/10/09, with all objections overruled.
       101201, 2009 WL 3345762 Aaron Miller                        In its Opinion and Order, the Court
       (D.N.J. Sept. 10, 2009).                                    writes, “only five Class Members       Various objectors appealed, including
                                                                   lodged objections to the amount of     S t e v e Miller, on 10/7/09.
                                                                   attorneys’ fees requested, and none of
                                                                   those objections state a substantive   A stipulation for dismissal was filed on
                                                                   ground to warrant denying the          3/23/11.	  
                                                                   request.” (2009 U.S. Dist. LEXIS
                                                                   101201, *30, 2009 WL 3345762
                                                                   (D.N.J. Sept. 10, 2009)).


	  
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Case                        Client(s)                      Objections                               Outcome of Objections and/or Appeals
In re TFT-LCD (Flat Panel) Shannon Cashion;               Settlement #2: Settling Plaintiffs        Miller filed appeal on 4/29/13, although
Antitrust Litig., 2013 U.S. W. Christopher McDonough;     (Indirect Purchaser Plaintiffs and 8      John C. Kress was listed as counsel for
Dist. LEXIS 49885, 2013-1 Kelly Kress;                    Settling States) jointly agree to final   objector Kelly Kress on appeal.
Trade Cas. (CCH) P78,318, Mark Schulte                    settlement with Settling Defendants
2013 WL 1365900 (N.D.                                     (remaining 3 of the 10 original           Appeal voluntarily dismissed on 6/10/14.
Cal. Apr. 1, 2013)                                        named defendants)

                                                          3/29/13: Order Granting Final
                                                          Approval Of Combined Class,
                                                          Parens Patriae, And Governmental
                                                          Entity Settlements With AUO, LG
                                                          Display, And Toshiba Defendants;
                                                          Final Judgment of Dismissal With
                                                          Prejudice; Award of Attorneys
                                                          Fees, Expenses, and Incentive
                                                          Awards. An Amended Order was
                                                          issued on 4/1/13 and a Second
                                                          Amended Order on 4/3/2013 (2013
                                                          U.S. Dist. LEXIS 49885, 2013-1
                                                          Trade Cas. (CCH) P78,318, 2013 WL
                                                          1365900).
In re Trans Union Corp.    Christi M. Copeland            Filed approximately 8/22/08.      Final approval order of 9/17/08 overruled
Privacy Litig., No. 00 C                                                                    all objections. Miller appealed on
4729 (Final Settlement                                                                      10/15/08. The objectors subsequently
Approval Order) (Dkt. No                                                                    reached a settlement with counsel and, on
515) (N.D. Ill. Sep. 17,                                                                    7/30/09, a motion for voluntary dismissal
2008).                                                                                      was filed, which the 7th Circuit granted
                                                                                            the next day.




                                                                     v
                                                        Appendix E – Steve A. Miller
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       Case                          Client(s)                 Objections                               Outcome of Objections and/or Appeals
       Pecover v. Electronic Arts, Aaron Miller               5/30/13: Final Judgment and              Appeal filed on 6/28/13 and voluntarily
       Inc., No. 4:08-cv-2820 (Final                          Order of dismissal granting final        dismissed on 8/16/13.
       Judgment and Order of                                  approval of class action settlement.
       Dismissal with Prejudice)
       (Dkt. No. 465) (N.D. Cal.                              6/19/13: Order awarding attorneys’
       May 30, 2013).                                         fees (Dkt. No. 467).

       In re: Bextra and Celebrex Janice Johnson;             9/28/2009: Order and Final            Appeal filed 10/27/09, voluntarily dismissed
       Marketing Sales Practices Wilma Thompson               Judgment granting motions for (1)     11/12/09.
       and Product Liability Litig.,                          final approval of the purchase claims
       MDL No. 1699, No. 3:05-                                class action settlement, and (2)
       md-01699(Second Revised                                attorney fees, reimbursement of
       Order and Final Judgment                               expenses and compensation to named
       Approving Settlement and                               plaintiffs. (Dkt. No. 3206)
       Awarding Attorneys’ Fees)
       (Dkt. No. 3222) (N.D. Cal.                             10/09/2009: Second Revised Order
       filed Oct. 9, 2009).                                   and Final Judgment approving the
                                                              settlement between purchase claims
                                                              classes and Defendant Pfizer, Inc. and
                                                              awarding of attorneys’ fees.

       In re: Netflix Privacy        Stephen C. Grifffis;     3/18/2013: Final Judgment and           Miller appealed on 4/15/2013 and on
       Litigation, No. 5:11-cv-      Hugh Ramsey              Order of dismissal with prejudice       7/22/2013, John Pentz entered a Notice of
       00379, cite (N.D. Cal. Jan.                            granting: (1) motion for final approval Appearance for Appellants Griffis and
       26, 2011).                                             of class action settlement; and (2)     Ramsey;
                                                              motion for attorneys’ fees, expenses
                                                              and incentive award                     On 11/25/13, the district court granted
                                                                                                      Plaintiffs’ motion for Appeal Bonds and
                                                                                                      additional discovery. Each objector was
                                                                                                      ordered to post either $21,519 bond or file a
                                                                                                      notice of dismissal, on or before 12/20/13.

                                                                                                       Appeal voluntarily dismissed on 12/6/13.




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                                                             Appendix E - Steve A. Miller
	  
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       Case                         Client(s)                                                                                                                                                                                                                                Objections                            Outcome of Objections and/or Appeals
       In re Bank of America       Michael Washenik;                                                                                                                                                                                                                        4/8/2013: Order awarding attorneys’ Appeal filed 5/7/2013
       Corporation Securities,     Laurel Washenik                                                                                                                                                                                                                          fees and expenses to co-lead counsel
       Derivative, and Employee                                                                                                                                                                                                                                             and awards to lead plaintiffs in the  The Court of Appeal for the Second Circuit
       Retirement Income Security                                                                                                                                                                                                                                           Consolidated Securities Actions.      considered all of objector-appellants’
       Act (ERISA) Litig., No.                                                                                                                                                                                                                                                                                    arguments and concluded they were without
       1:09-md-2058 cite (S.D.N.Y.                                                                                                                                                                                                                                          4/9/2013: (1) Judgment granting final merit. Judgment of district court, affirmed.
       June 11, 2009).                                                                                                                                                                                                                                                      approval to the Class Action
                                                                                                                                                                                                                                                                            Settlement of the Consolidated
                                                                                                                                                                                                                                                                            Securities Actions; and (2) Order
                                                                                                                                                                                                                                                                            approving Plan of Allocation of the
                                                                                                                                                                                                                                                                            Net Settlement Funds.

       In Re: Hyundai and Kia Fuel Antonio (Enzo) Sberna                                                                                                                                                                                                                    Objection filed 3/5/15 by Miller,   Notice of Appeal was filed
       Economy Litigation, MDL                                                                                                                                                                                                                                              Jonathan E. Fortman and John Kress. on 7/1/15 , and on 9/3/15, an amended
       No. 2:13-ml-2424, cite (C.D.
       Cal. date).                                                                                                                                                                                                                                                                                                Notice of Appeal filed by Miller on 9/3/15.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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	   Steve Miller has represented fellow objector Charles M. Thompson’s son, Chase Thompson in filing various objections, including in In re Mattel, Inc. Toy Lead Paint Products
Liability Litig., MDL No. 1897 (Final Judgment of Dismissal with Prejudice) (Dkt. No. 250) (C.D. Cal. March 26, 2010); In re Yahoo! Litig., No. CV 06-2737 CAS (FMOx) (Final
Judgment and Order of Dismissal) (Dkt. No. 226) (C.D. Cal. Jan. 15, 2010); and Nakash v. NVIDIA Corp., No. 08-cv-04312-JW(Order Granting Plaintiffs’ Motion for Final
Approval) (Dkt. No. 319) (N.D. Cal. Dec. 20, 2010).
	  
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                 APPENDIX F
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                                                             APPENDIX F
 Examples of Cases in Which Joseph Darrell Palmer Filed Objections and Dismissed, Abandoned, or Withdrawn the Objections or Appeal
                              Without Attaining Settlement Changes or Additional Benefits for the Class

 Case                       Client(s)               Outcome of Objection                    Appeal                 Outcome of Appeal

Berger v. Property I.D.     Joseph Palmer           Award of fees, to which Palmer had      Not filed.             Not applicable.
Corp., No. CV 05-5373       (actually Darrell       objected, granted 1/28/09 (Dkt. 899);
GHK (CWx)) (Order           Palmer, appearing       final approval granted in separate
Granting Award of           pro per, under his      order of that date (Dkt. 900).
Attorney Fees) (C.D. Cal.   first name)             Objections not mentioned in either
Jan. 28, 2009).                                     order.

In re Broadcom              Smokestack              Overruled and $10,000 appeal            Filed 9/10/10 (9th     Voluntarily
Corporation Class Action    Lightening Ltd.         bond required (Dkt. 356; 8/11/10).      Cir., No. 10-56435).   dismissed (Dkt.
Litig., No. 06-cv-5036-R    “Marisco”                                                                              No. 8, 11/4/10).
(CWx)) (Final Order and
Judgment as to Broadcom
Defendants) (Dkt. No.
357) (C.D. Cal. Aug. 11,
2010).

Browning v. Yahoo! Inc.,    Norman Palmer           Overruled (2007 U.S. Dist.              Filed 12/14/07 (9th    Voluntarily
2007 U.S. Dist. LEXIS       (Darrell Palmer’s       LEXIS 86266; 11/16/07).                 Cir., No. 07-17326).   dismissed (Dkt.
86266, 2007 WL              brother), Richard                                                                      No. 12, 5/2/08).
4105971 (N.D. Cal. Nov.     Oster; Jeff Heinrichs
16, 2007).

In re Cellphone             Carol Barrett;          Final approval granted and fees         Filed 9/17/10 (Cal.    Voluntarily
Termination Fee Cases,      Robert R. Oubre,        awarded 7/21/10 in separate orders.     App. 1st Dist., No.    dismissed o n
No. JCCP 4332) (Cal.        Sr.                     Objections not mentioned in either      A129887).              3/10/11.
Super. Ct. Alameda Cnty.                            of the orders.
July 21, 2010).




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Case                       Client(s)             Outcome of Objection                       Appeal                  Outcome of Appeal

In re Chiron Shareholder   Carrie B.             Final approval granted and fees            Filed 9/6/06 (Cal.      Abandonment of
Deal Litig., No.           Savage                awarded 7/25/06 in separate orders.        App. 1st Dist., No.     appeal filed
RG05230567 (Cal. Super.                          Objections not mentioned in either         A115432).               10/18/06.
Ct. Alameda Cnty. July                           of the orders.
25, 2006).
Collins v. American        Elizabeth Blanks;     Final approval granted and fees            Blanks/Cummins          Blanks/Cummins
Honda Motor Co., No.       Ancle                 awarded 12/28/06. The order states         appeal filed 2/22/07    and Bergrin
RG03099677 (Cal. Super.    W. Cummins, Jr.;      that the objections were considered        (Cal. App. 1st Dist.,   appeals
Ct. Alameda Cnty. Dec.     Irving S. Bergrin     but does not otherwise mention them.       No. A117120);           voluntarily
28, 2006).                                                                                  Bergrin appeal filed    dismissed
                                                                                            2/26/07 (Cal. App.      6/15/07.
                                                                                            1st Dist., No.
                                                                                            A117125).
In re: Countrywide         Winfield C.           Memorandum Opinion on final                Filed 9/22/10 (6th      Voluntarily dismissed
Financial Corp.            Scott                 approval and fees found objections         Cir., No. 10-6194).     (Doc. No.
Customer Data Security                           to be without merit (Dkt. No. 297,                                 006110805529,
Breach Litig., No. 08-                           8/23/10).                                                          12/2/10).
MD-01998 (Opinion on
Final Approval and Fees)
(Dkt. No. 297)(W.D. Ky.
Aug. 23, 2010).
In re Currency             Richard Melton        Final approval granted and fees            Not filed.              Not applicable.
Conversion Fee Antitrust   Construction, Inc.;   awarded on 10/22/09 (263 F.R.D.
Litig., 263 F.R.D. 110,    Dirk F. Sutro         110). There were 76 objectors to the
2009 U.S. Dist. LEXIS                            settlement. For each of their points,
98291, 2009-2 Trade Cas.                         the court said the objections were
(CCH) P76, 787                                   either without merit or moot.
(S.D.N.Y. 2009).
                                                 Certain objectors sought fees. “The
                                                 objectors in this case did little to aid
                                                 this Court. While there were
                                                 modifications to the notice program,
                                                 these modifications were entirely on
                                                 the Court’s initiative and devised by
                                                 the Special Master and the parties. As
                                                                      ii	  
                                                    Appendix F – Joseph Darrell Palmer
                                Case 4:07-cv-05944-JST Document 4370-2 Filed 02/04/16 Page 56 of 230

 Case                        Client(s)            Outcome of Objection                      Appeal                 Outcome of Appeal

        -continued-                               for fees, the objections were so
In re Currency                                    general and repetitive that they were
Conversion Fee Antitrust                          of no assistance to an area with which
Litig., 263 F.R.D. 110,                           this Court is intimately familiar.” Id.
2009 U.S. Dist. LEXIS                             at 132 (emphasis added).
98291, 2009-2 Trade Cas.
(CCH) P76, 787
(S.D.N.Y. 2009).


Dervaes v. California        Alison H. Paul       Final approval granted and fees           Filed 6/1/10 (Cal.     Abandonment of
Physicians’ Service d/b/a                         awarded 4/2/10. Objections not            App. 1st Dist., No.    appeal filed 6/4/10.
Blue Shield of California,                        mentioned in order and                    A128696).
No.                                               judgment.
RG06262733 (Cal. Super
Ct. Alameda Cnty. April
2, 2010).


Elihu v. Toshiba America     David Schaefer       Judgment entered 5/31/07.                 Filed 7/27/07 (Cal.    Voluntarily
Information Systems, No.                                                                    App. 2nd Dist., No.    dismissed
BC328556 (Cal. Super.                                                                       B201331).              4/24/08.
Ct. Los Angeles Cnty.
May 31, 2007).


Newby v. Enron Corp. (In Larry Fenstad;           On 9/8/08, all objections were            Filed 10/3/08 (5th     Stipulated dismissal
re Enron Corp. Sec.), 586 Dorothy Lancaster       overruled or found to be without          Cir., No. 08-20648).   filed 9/10/09 (Doc.
F. Supp. 2d 732, 2008     McCoppin                merit in the order awarding fees (586                            No. 0051920399).
U.S. Dist. LEXIS 84708                            F. Supp. 2d 732) and the plan of
(S.D. Tex. 2008).                                 allocation of the settlement proceeds
                                                  (2008 U.S. Dist. LEXIS 84656).



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                                                     Appendix F – Joseph Darrell Palmer
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 Case                       Client(s)              Outcome of Objection                      Appeal                 Outcome of Appeal

In re: Epson Ink            Elaine Savage;         Judgment entered 10/23/06.                Filed 12/18/06 (Cal.   Voluntarily
Cartridges, No. JCCP        Edward Siegel;                                                   App. 2nd Dist., No.    dismissed (1/29/07 –
4347 (Cal. Super. Ct. Los   Andy Lui; Albert                                                 B195818).              Savage, Andy Lui
Angeles Cnty. Oct. 23,      Lui                                                                                     and Albert Lui;
2006).                                                                                                              3/13/07 – Siegel).


In re: Ford Explorer        JWC                    Objections overruled in 6/27/08           Filed 9/26/08 (Cal.    Abandonment of
Cases, JCCP Nos. 4266       Construction, Inc.;    fee order and 7/30/08 judgment.           App. 3rd Dist., No.    appeal filed
and 4270 (Cal. Super Ct.    Misty Carter                                                     C060067).              11/21/08.
Sacramento Cnty. 2008).

Friedman v. 24 Hour         Toni Ozen              Overruled 7/12/10.                        Filed 8/11/10 (9th     Stipulated dismissal
Fitness USA, Inc., 2010                                                                      Cir., No. 10-56289).   (Dkt. No. 3, 8/20/10).
U.S. Dist. LEXIS
143816 (C.D. Cal. July
12, 2010).


Gemelas v. Dannon Co.,      Steven P. Cope         Judgment, Final Order and Decree          Not filed.             Not applicable.
No. 08- CV-236 (Final                              (Dkt. 71, 6/24/10) indicates
Order and Decree) (Dkt.                            objections were considered.
No. 71) (N.D. Ohio June
24, 2010).                                        In his Order on Plaintiff’s Motion for a
                                                  Bond to Secure Payment of Costs and
                                                  Attorneys’ Fees on Appeal, Judge Dan
                                                  Aaron Polster stated, “The only
                                                  objections to the settlement were lodged
                                                  by what now appear to be ‘serial
                                                  objectors.’” Gemelas v. Dannon Co.,
                                                  2010 U.S. Dist. LEXIS 99503, 2010 WL
                                                  3703811 (N.D. Ohio Aug. 31, 2010)
                                                  (emphasis added).


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 Case                        Client(s)            Outcome of Objection                     Appeal                 Outcome of Appeal

In re General Motors         Jonathan L.          Overruled in 10/23/08 final              Not filed.             Not applicable.
Dex-Cool Gasket Cases,       Booze                approval and fee order.
JCCP No. 4495 (Final
Approval and Fee Order)                           On 12/5/08, all of the objectors filed
(Alameda Super. Ct. Oct.                          a joint notice of withdrawal of their
23, 2008).                                        objections.


Hoffman v. Citibank          Joseph Balla;        Fees awarded (12/17/10 and               Filed 1/18/11 (9th     Voluntarily
(South Dakota) N.A., No.     Andrew J. Cesare;    12/22/10) and settlement approved        Cir., No. 11-55106).   dismissed (Dkt.
CV-06-00571 (C.D. Cal.       Todd Bates           (12/22/10) in separate orders.                                  7, 3/23/11).
Dec. 22, 2010).                                   Objections not mentioned in the
                                                  orders.

Koller v. Int’l. Rectifier   Cascia II, LLC       Objection filed 1/25/10;                 Not filed.             Not applicable.
Corp., No. CV-07-02544                            withdrawn 2/1/10.
(Final Judgment and                               Final Approval granted on 2/8/10.
Order of Dismissal with
Prejudice) (Dkt. No. 314)
(C.D. Cal. Feb. 8, 2010).


In re LifeLock, Inc.         Billy Daniels        The final approval and fee order of      Filed 9/30/10 (9th     Voluntarily
Marketing and Sales                               8/31/10 (Dkt. 218) states: “[T]he        Cir., No. 10-17177).   dismissed (Dkt.
Practices Litig., No.                             Parties demonstrated in their                                   No. 16, 1/5/11).
MDL 08-1977, 2010                                 Response to Objections that none of
WL 3715138 (D. Ariz.                              the asserted bases for objection is
Aug. 31, 2010).                                   valid.” Slip op. at 9.

In re Mercury Interactive                         Objection filed 1/13/11;                 Not filed.             Not applicable.
Corp. Securities Litig.,                          withdrawn 2/25/11.
No. 5:05–cv– 03395–JF
(N.D. Cal. 2011).


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 Case                        Client(s)            Outcome of Objection                     Appeal                    Outcome of Appeal

Papadakis v.                 Marci R. Frenkel;    Objection filed 12/4/08. Final           Filed 4/2/09 (Cal. App.   Voluntarily
Northwestern Mutual Life     Eric Zeigenhorn;     approval order and judgment entered      2nd Dist., No.            dismissed
Ins. Co., No. BC322788       Norma Hoffman;       2/20/09.                                 B214789).                 (8/24/10).
(Cal. Super. Ct. Los         Stuart Mintz; Kirk
Angeles Cnty. Feb. 20,       Stewart; Steven
2009).                       Sindell; Paul M.
                             Kaufman

Salcido v. Iovate Health     Cassie Griffin       Objection filed 8/28/09;                 Not filed.                Not applicable.
Sciences USA, Inc., No.                           withdrawn 9/24/09.
BC387942 (Cal. Super.
Ct. Los Angeles Cnty.
2009).


Savaglio v. Wal-Mart         Joseph D. Wilkins;   Final approval of settlement granted     Not filed.                Not applicable.
Stores, Inc., No. C-         Evelyn Zientek       4/8/10, overruling objections except
835687 (Cal. Super. Ct.                           as to amount of attorneys’ fees. The
Los Angeles Cnty. 2010).                          9/10/10 order on fees indicated that
                                                  the court had “rejected all objections
                                                  to the requested fee award.”

In re Smokeless Tobacco      Norman D.            At the 3/12/08 final approval hearing,   Not filed.                Not applicable.
Cases I, II (San Francisco   Palmer               Judge Richard A. Kramer questioned
Super. Ct., JCCP Nos.                             Darrell Palmer at length about
4250, 4258, 4259, 4262).                          Norman; the same day, the objection
                                                  was withdrawn.

Troyk v. Farmers Group,      Arthur Carapia       Judgment entered 11/23/10.               Filed 1/15/10 (Cal.       Abandonment of
Inc., No.                                                                                  App. 4th Dist., Div. 1,   appeal filed
GIC836844 (Cal. Super.                                                                     No.                       (3/4/10).
Ct. San Diego Cnty. Nov.                                                                   D056803).
23, 2010).


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 Case                       Client(s)              Outcome of Objection                         Appeal                     Outcome of Appeal

In re Vitamins Antitrust    Neil Freedman; Teri    Objections found to be without merit         Filed 7/23/10 (D.C.        Stipulated dismissal
Litig., MDL No. 1285        Cunningham             in final approval order (Dkt. No.            Cir., No. 10-7096).        entered 9/2/10 (Doc.
(Final Approval Order)                             4888, 6/25/10).                                                         No. 1263938).
(Dkt. No. 4888) (D.D.C.
filed June 25, 2010).


In re Wal-Mart Stores,      Joseph D. Wilkins;     Objections filed 9/7/10;                     Not filed.                 Not applicable.
Inc. Wage & Hour            Nicole Clemente;       withdrawn 11/6/10.
Litig., 505 F. Supp. 2d     Lolita Wells
609 (N.D. Cal. 2007).

Wilson v. Airborne, Inc.,   Denise Fairbank;       Objections overruled in final                Filed 11/4/08 (9th         Voluntarily
2008 U.S. Dist. LEXIS       Falicia Estep          approval and fee order (Dkt. 170,            Cir., No. 08-56819).       dismissed (Dkt.
110411, 2008 WL                                    8/13/08).                                                               10, 2/20/09).
3854963 (C.D. Cal.
Aug. 13, 2008).

Yeagley v. Wells Fargo      Rose A. Munoz          Objection filed 6/8/07; withdrawn as         Not filed.                 Not applicable.
& Co., No. C-05-3403-                              indicated in 10/18/07 order stating
CRB (Memorandum and                                that plaintiffs’ counsel had agreed to
Order) (Dkt. No. 169)                              pay the objectors’ attorneys fees.
(N.D. Cal. filed Jan. 18,
2008).


In re: AT&T Mobility      Margaret                6/2/11: Memorandum Opinion and               10/11/11: disclosure        12/6/11: Appeal No.
Wireless Data Services    Strohlein               Order (1) granting final approval of the     statement in Appeal No.     11- 2522—voluntarily
Tax Litigation, MDL       filed pro se            class action settlement; and (2) grants in   11-2522 filed on behalf     dismissed
2147, No. 1:10-cv-02278                           part and denies in part Class Counsel's      of Appellant Strohlein by
(N.D. Ill. Apr. 7, 2010).                         motion for approval of attorneys' fees,      Joseph Darrell Palmer       7/22/11: Class
                                                  costs, and expenses, and for approval of                                 Representatives moved
                                                  incentive awards for Class                                               court to order all six
                                                  Representatives.                                                         appellants to post
                                                                                                                           appellate cost bond of
                                                                      vii	  
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 Case                        Client(s)            Outcome of Objection                       Appeal                   Outcome of Appeal

        -continued-                                                                                                  $4,500 each.
In re: AT&T Mobility
Wireless Data Services                                                                                               7/28/11: Court ordered
Tax Litigation, MDL                                                                                                  Objectors to post a
2147, No. 1:10-cv-02278                                                                                              bond of $4,500 each by
(N.D. Ill. Apr. 7, 2010).                                                                                            8/11/11



In re Lawnmower Engine      Rosalie Borgarts;    See also the five individual Orders and     Appeal filed 8/23/10    Appeal 2/16/11
Horsepower Mktg. &          Paul Palmer;         Judgments filed on 8/16/10 approving                                voluntarily dismissed
Sales Practices Litig.,     Irving S. Bergrin;   five settlement agreements between the
733 F. Supp. 2d 997         Cory A. Buye;        plaintiff class and all defendants and
(E.D. Wis. Aug. 16,         Jill Cannata;        awarding attorneys' fees and costs to
2010).                      Robert Falkner;      class counsel, thereby resolving all
                            Thomas Basie         actions that were transferred and
                                                 consolidated for pretrial purposes by the
                                                 Panel on Multidistrict Litigation into
                                                 MDL 1999.


Stern v. Singular Wireless Gene Hopkins          11/22/10: Order granting (1) final          Appealed 12/9/12        6/19/2012: Appeal No.
Service, No. 8:09-cv-      Marc Gambello         approval to the UCC settlement and                                  10- 56929—Judgment
01112 (C.D. Cal. Dec. 15,                        entering final judgment; and (2)                                    of the district court
2009).                                           application for award of attorneys' fees                            affirmed per
                                                 and reimbursement of expenses to class                              unpublished opinion
                                                 counsel, and incentive awards for class
                                                 representatives.
Batmanghelich v. Sirius     Michelle Melton      9/15/11: Final Order and Judgment           Appealed on 10/13/11:    11/9/11: Appeal No.
XM Radio, Inc., 2011        Edmund F. Bandas     granting (1) Plaintiff’s motion for final                            11-56776—voluntarily
U.S. Dist. LEXIS                                 approval of class action settlement; and                             dismissed
155710 (C.D. Cal. Sept.                          (2) Plaintiff’s unopposed application for
15, 2011).                                       attorneys’ fees and costs, class
                                                 representative’s service payment, and
                                                 settlement administration expenses
                                                                      viii	  
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       Case                                                                                                                                                                                                     Client(s)                            Outcome of Objection                       Appeal                    Outcome of Appeal

Milgram v. Chase Bank                                                                                                                                                                                          Andrew Cesare                        11/22/11: Final Approval Order granting Appeal filed 12/22/11         1/31/12: Appeal No.
USA, N.A., No. 2:10-cv-                                                                                                                                                                                                                             final approval to the class action                                    12-55002—voluntarily
00336 (C.D. Cal. Jan. 15,                                                                                                                                                                                                                           settlement, and awarding attorneys’                                   dismissed
2010).                                                                                                                                                                                                                                              fees, costs, and class representative’s
                                                                                                                                                                                                                                                    service award1

In re TFT-LCD (Flat       Johnny Kessel                                                                                                                                                                                                             7/11/12: Final Judgment of dismissal       Appeal filed 6/6/12       5/23/14: Appeal
Panel) Antitrust          Alison Paul1                                                                                                                                                                                                              with prejudice and Order granting final                              voluntarily dismissed
Litigation, MDL No.       Leveta Chesser                                                                                                                                                                                                            approval of combined class, parens
1827, No. 3:07-md-1827                                                                                                                                                                                                                              patrie, and governmental entity
(Order Granting Final                                                                                                                                                                                                                               settlements
Approval Of Combined
Class, Parens Patriae,
and Governmental
Entity Settlements; Final
Judgment of Dismissal
With Prejudice) (Dkt.
No. 6130) (N.D. Cal.
filed July 11, 2012).


Nakash v. NVIDIA          Frank Barbara                                                                                                                                                                                                             12/20/10: Final Judgment granting (1)      Appeal filed 1/18/11 by   Judgment of district
Corp., No. 08-cv-                                                                                                                                                                                                                                   settlement class plaintiffs/owners of      Law Office of Darrell     court affirmed on 9/4/13
04312-JW (Order                                                                                                                                                                                                                                     class computers motions for final          Palmer.
Granting Plaintiffs’                                                                                                                                                                                                                                approval of class action settlement with
Motions for Final                                                                                                                                                                                                                                   Nvidia Corp., and (2) motion for
Approval) (Dkt. No 319)                                                                                                                                                                                                                             attorney fees, expenses and
(N.D. Cal. filed Dec. 20,                                                                                                                                                                                                                           reimbursements for plaintiffs.
2010).




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
        Objector Alison Paul is married to Joseph Darrell Palmer.
                                                                                                                                                                                                                                                                        ix	  
                                                                                                                                                                                                                                                        Appendix F – Joseph Darrell Palmer
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 Case                      Client(s)                Outcome of Objection                        Appeal                      Outcome of Appeal

In re Wachovia Corp.      Robert E Flores,         5/17/11: Order and Judgment granting        Appeal filed 6/15/11        Voluntarily dismissed
“Pick–A–Payment”          Sharon L Flores, James   settlement class Plaintiffs’ (1) motion                                 7/21/11
Mortgage Mktg. & Sales Rudolph Donald Smith        for final approval of class action
Practices Litig., 2011 WL                          settlement with Defendant Wachovia
1877630 (N.D. Cal. May                             Corporation; and (2) motion for
17, 2011).                                         attorneys’ fees and costs and service
                                                   payments to class representatives




Fiori v. Dell, Inc., No.   Margaret Munoz          4/1/11: Final Judgment and Order            Appeal filed 4/26/11        Appeal voluntarily
5:09-cv- 01518 (Final      Cery Perle              granting final approval of class action                                 dismissed on 9/7/11
Judgment and Order                                 settlement                                  8/5/11: appeal amended
Granting Final Approval                                                                        to add the 07/06/11 Order
of Class Action                                    7/6/11: Order granting motion for           granting class counsel’s
Settlement) (Dkt. No.                              attorney fees, costs, and incentive         motion for attorney fees
216) (N.D. Cal. Apr. 7,                            awards
2009).

In re: Online DVD Rental Maria Cope                3/29/12: Order and Final Judgment           Appeal filed 4/27/12        Appeal No. 12-15996—
Antitrust Litigation, No.                          granting: (1) motion for final approval                                 pending
4:09-md-02029 (N.D.                                of class action settlement between
Cal. Apr. 13, 2009).                               settlement class Plaintiffs and Wal-Mart
                                                   Stores, Inc. and Walmart.com USA
                                                   LLC; and (2) class counsel’s motion for
                                                   attorneys’ fees, reimbursement of
                                                   expenses, and payments to class
                                                   representatives

Yingling v. eBay, Inc., Joseph Balla               3/31/11: Final Order and Judgment           Appeal filed 4/4/11         Appeal voluntarily
No. 5:09-1733, 2011 WL                             granting (1) Plaintiffs’ motion for final                               dismissed on 8/12/11
2790181 (N.D. Cal. July                            approval of class action settlement with    7/5/11: court orders
5, 2011).                                          Defendant eBay; and (2) motion for          Objector Balla to post an
                                                   attorney fees and expenses and class        appeal bond in the
                                                                         x	  
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       Case               Client(s)            Outcome of Objection                       Appeal                      Outcome of Appeal

       -continued-                            representative incentive compensation      amount of $5,000 on or
Yingling v. eBay, Inc.,                       awards                                     before July 25, 2011
No. 5:09-1733, 2011 WL
2790181 (N.D. Cal. July                                                                  8/5/11: Palmer filed an
5, 2011).                                                                                amended notice of appeal
                                                                                         to appeal from the courts’
                                                                                         July 5, 2011 Order
                                                                                         requiring Objector Balla
                                                                                         to post an appeal bond.
Embry v. ACER America Christopher Bandas      2/14/12: Order granting settlement class   Appeal No. 12-15555          7/11/12: After the
Corp., No. 5:09-cv-01808                      plaintiffs (1) motion for final approval   was dismissed on             Ninth Circuit reinstated
(Order Granting                               of the class action settlement; and (2)    04/18/2012 for failure to    Bandas’ appeal on June
Plaintiffs’ Motion for                        motion for attorneys fees, costs and       pay fees, and reinstated     25, 2012, Plaintiffs
Final Approval of Class                       incentive to named plaintiff.              on 6/25/12 after Objector    filed a motion for
Settlement and Attorney’s                                                                Bandas’ payment of fees.     reconsideration
Fees, Costs, and Incentive                                                                                            requesting that the
to Named Plaintiff) (Dkt.                                                                Notice of Appeal             Court’s June 5, 2012
No. 218) (N.D. Cal. filed                                                                amended on 8/6/2012 (to      Order to post a $70,650
Apr. 24, 2009).                                                                          include July 31, 2012        appellate bond be
                                                                                         Bond Order) & 9/6/2012       applied, jointly and
                                                                                         (to include Aug. 31, 2012    severally, to Bandas
                                                                                         Contempt Order)              and his attorney Darrell
                                                                                                                      Palmer.

                                                                                                                      7/31/12: court ordered
                                                                                                                      Objector Bandas to post
                                                                                                                      an appellate bond of
                                                                                                                      $70,650 by Aug. 6,
                                                                                                                      2012, or file a notice of
                                                                                                                      dismissal of his appeal

	  



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                 APPENDIX G
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                                                       APPENDIX G
                                   Objections to Settlements Filed by Charles M. Thompson
Case                             Client(s)                            Notes
Nakash v. NVIDIA Corp. No.       Chase Thompson                       Objection filed 11/2/10 (by Charles M. Thompson as counsel for
08-cv-04312-JW (Order                                                 his son). Final approval granted and fees awarded 12/20/10.
Granting Plaintiffs’ Motion                                           Miller/Thompson filed notice of appeal on 1/19/11 (several other
for Final Approval) (Dkt. No.                                         objectors also appealed, and the appeals were consolidated).
319) (N.D. Cal. filed Dec. 20,                                        Appeals were voluntarily dismissed on 3/28/12.
2010).
Checkmate Strategic Group,       ChaseAndSam.com                      Objection filed 10/16/06. Chase Thompson objected under the
Inc. v. Yahoo! Inc., No. CV-     (Chase Thompson)                     guise of his Web site, ChaseAndSam.com, and was represented
05-4588 CAS (FMOx) (Final                                             by his father, a Birmingham, AL attorney who has filed
Order Approving Settlement                                            objections to a number of settlements. Final Approval Order and
and Judgment of Dismissal                                             Judgment entered on 3/26/07.
with Prejudice) (Dkt. No.
200) (C.D. Cal. March 26,
2007).

Blessing v. Sirius XM Radio      Tom Cader                            Final approval was granted on 8/24/11. Thompson filed a notice
Inc., No. 09 cv 10035, 2011                                           of appeal on 9/23/11. Judgment of the district court was
WL 3739024 (S.D.N.Y. Aug.                                             affirmed by summary order on 3/13/13.
24, 2011).

Shaw v. Toshiba Am. Info.        JT Karney;                           Finding that Thompson’s objections were “obviously ‘canned’
Sys., Inc., 91 F. Supp. 2d 942   Southern Network Services,           objections filed by professional objectors who seek out class
(E.D. Tex. 2000).                Inc.                                 actions to simply extract a fee by lodging generic, unhelpful
                                                                      protests. Shaw v. Toshiba Am. Info. Sys., Inc., 91 F. Supp. 2d
                                                                      942, 973-74, n.18 (E.D. Tex. 2000).

                                                                      “Take, for example, the Consolidated Objection, Memorandum
                                                                      and Motion for Limited and Expedited Discovery [162] filed by
                                                                      the Thompson-Hutsler law firm on behalf of J.T. Karney,
                                                                      Southern Network Services, Inc. In a paragraph complaining
                                                                      about coupons, this objector argues: ‘it is abundantly clear that
                                                                      Sears will enjoy increased floor traffic in its stores from those
                                                                      class members who actually use the coupon thereby benefitting
                                                                      Sears even further.’ Id. at P 7.b (emphasis added). Well, ‘Sears’
                                                              i	  
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Case                              Client(s)                              Notes
          -continued-                                                    has nothing to do with this particular lawsuit. Moreover, there is
Shaw v. Toshiba Am. Info.                                                no evidence--nor did this objector offer any evidence--that there
Sys., Inc., 91 F. Supp. 2d 942                                           are Toshiba ‘stores’ that would enjoy ‘increased floor traffic’
(E.D. Tex. 2000).                                                        from class members using their coupons (or Toshiba Bucks).
                                                                         Frankly, there is nothing ‘abundantly clear’ about this
                                                                         proposition as it relates to this case involving Toshiba--a
                                                                         manufacturer of the allegedly defective FDC’s at issue in the
                                                                         proposed Settlement Agreement. This Court would venture to
                                                                         say this particular language has previously been filed in another
                                                                         class-action lawsuit involving ‘Sears.’ Perhaps that’s where it
                                                                         should have stayed.” Shaw v. Toshiba Am. Info. Sys., 91 F.
                                                                         Supp. 2d 942, 973, n.18, 2000 U.S. Dist. LEXIS 2887, *97
                                                                         (E.D. Tex. 2000).

In re Warfarin Sodium             Jean Bradley                           “The court finds unpersuasive the objections lodged to the
Antitrust Litig., 212 F.R.D.                                             attorneys’ fees themselves. The court determines a reasonable
231 (D. Del. 2002), aff’d, 391                                           award to the class counsel in the aggregate, and the counsel then
F.3d 516 (3d Cir. 2004).                                                 determine how to allocate the award among themselves.
                                                                         Counsel asserts that there is no preexisting agreement as to the
                                                                         distribution of the fee award, but that the shared understanding
                                                                         is that it will be based on lodestar amounts as well as other
                                                                         factors. This is a private matter for the attorneys to resolve.” In
                                                                         re Warfarin Sodium Antitrust Litig., 212 F.R.D. 231, 262 (D.
                                                                         Del. 2002).


Thompson v. Metro. Life Ins.       Violett Martin                        “[Thompson’s clients] present nothing, besides conclusory
Co., 216 F.R.D. 55, 70                                                   allegations, that their interests were not adequately protected.”
(S.D.N.Y. 2003).                                                         (Motion to intervene)


In re Relafen Antitrust Litig.,    Pamela Taylor                          Overruling all objections and granting Final Approval of
231 F.R.D. 52 (D. Mass.                                                   Proposed Settlement, Attorneys’ Fees and Expenses, and
2005).                                                                    Named Plaintiffs’ Incentive Awards




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Case                               Client(s)                          Notes
In re Universal Serv. Fund          Pam Hattaway;                     The Hattaways filed their objections to settlement on 1/22/08.
Tel. Billing Practices Litig.,      George Hattaway                   Soon after, on 2/20/08, Thompson submitted a motion for
No. 02MD1468, 2008 WL                                                 protective order and motion to quash the objectors' depositions.
2604266 (D. Kan. Feb. 20,                                             The following day the Court issued its Order finding the motion
2008).                                                                for protective order and to quash depositions moot since the
                                                                      objectors represented that they wanted to withdraw their
                                                                      objections, which they did on 3/3/08. (Order Granting Motion to
                                                                      Withdraw Objections by Objectors Pam Hattaway, George
                                                                      Hattaway (Dkt. No. 858).
In re Diet Drugs Prod. Liab.       Betty Jo Benson                    Withdrew objection on 5/15/00.
Litig., 553 F. Supp. 2d 442,
448 (E.D. Pa. 2008).

Faught v. Am. Home Shield          Pro se                             Overruling all objections to the Settlement on 4/27/10.
Corp., No. 2:07-cv-1928-
RDP, 2010 WL 10959223
(N.D. Ala. Apr. 27, 2010).

Lerma v. Schiff Nutrition Int’l,   Pro se                             Thompson filed his objection on 9/28/15. On 10/29/15,
Inc., No. 11-cv-1056-MDD                                              Thompson submitted his Hearing Brief. The Court rejected the
(Final Approval Order) (Dkt.                                          Hearing Brief of Pro Se Objector Thompson due to its
No. 171) (S.D. Cal. Nov. 3,                                           untimeliness, noting also that the issues raised in the document
2015).                                                                had already been raised by timely objectors. (See Notice of
                                                                      Document Discrepancy) (Dkt. No. 170).

                                                                      The Court granted Final Approval of Class Settlement and
                                                                      entered judgment on 11/2/15.
Nwabueze v. AT&T Inc., No.         Pro se                             Thompson filed objection on 9/3/13, despite the fact that he
C 09-01529 SI, 2013 WL                                                clearly lacked standing to object to the proposed settlement.
6199596 (N.D. Cal. Nov. 27,                                           The Court quickly disposed of Thompson's objection finding
2013).                                                                that he did not incur any third-party charges during the class
                                                                      period, and therefore was not a member of the Settlement Class
                                                                      2013 U.S. Dist. LEXIS 169270, *18-19, 2013 WL 6199596
                                                                      (N.D. Cal. Nov. 27, 2013).

                                                                      All other objections were found to be without merit and
                                                                      overruled. Final approval was granted on 11/27/13.

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                                                Appendix G – Charles M. Thompson
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Case                          Client(s)                            Notes
Talalai et al. v. Cooper Tire  Ben Hutsler                         Objection filed on 1/15/02.   Final Order and Judgment was
& Rubber Co., No. L-008830-                                        entered on 9/13/02.
00-MT (Final Order and
Judgment) (Sep. 13, 2002,
N.J. Super. Ct. Middlesex
Cnty.).


In re Currency                  Thomas Cader;                      The Order of Final Approval and Judgment was entered on
Conversion Fee Antitrust        Judy Sargeant;                     11/4/09. Thompson and R. Stephen Griffin appealed on
Litig., 263 F.R.D. 110          Dylan L. Whisehunt;                11/18/09.
(S.D.N.Y. 2009).                Gloria E. Wisehunt


Browning v. Yahoo! Inc., No.    Aaron Noelle Griffis               Notice of Appeal was entered on 12/17/07. On 5/5/08, the
C04—1463 HRL, 2007 WL                                              Court dismissed the appeal by summary order (Dkt. No. 212).
4105971 (N.D. Cal. Nov. 16,
2007).


Azizian v. Federated Dept.      Patricia Corbin                    Final Approval granted on 3/30/05 (Dkt. No. 447).
Stores, Inc., 2006 WL           (Coordinated Objectors)
4037549 (N.D. Cal. Sept. 29,
2006).


Cooper v. Pac. Life Ins. Co.,   Ruth Jones;                        Final Approval granted on 10/2/07.
No. 2:03-cv-00131-AAA-          Cynthia Widener
JEG, 2007 WL 4604954 (S.D.
Ga. Sept. 4, 2007).




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                                              Appendix G – Charles M. Thompson
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Case                             Client(s)                         Notes
Spahn v. Edward D. Jones &        Herbert Wayne Laye;              Objections filed with respect to Proposed Class Settlement were
Co. L.P., No. 404CV00086,         Louise Gilford Laye;             overruled on 10/25/07 (Dkt. No. 232).
2007 WL 5281756 (E.D. Mo.         David Stokes;
June 11, 2007).                   Sandra Stokes

Nieme v. Columbia House          Noelle Griffis                    Mr. Thompson also represented Objector Noelle Griffis in
Co., No. A099606 No.             (Aaron Noelle Griffis)            Browning v. Yahoo! Inc., No. C04—1463 HRL, 2007 WL
A0996062002, WL 32363789                                           4105971 (N.D. Cal. Nov. 16, 2007).
(Cal. Ct. App. Oct. 22, 2002).




                                                           v	  
                                               Appendix G – Charles M. Thompson
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                                                            APPENDIX H
                                          Objections to Settlements Filed by George W. Cochran

Case                           Client(s)                 Notes
In re Diet Drugs               Kim Heaton;               Cochran moved to intervene in the litigation on 3/28/00, almost a month after
(Phentermine/                  Carl Wolf;                the deadline for filing objections. Class Counsel opposed George Cochran’s
Fenfluramine/Dexfenflurami     Frances Rammage;          late-filed motion and Chief Judge Bechtle denied the motion. Edward W.
ne) Prods. Liab. Litig., MDL   Lynn Reed;                Cochran, a Cleveland-area attorney with a long history of filing objections to
1203, PTO No. 1295 (E.D.       Pam Butler;               class action settlements, and brother of George W. Cochran, also filed an
Pa. May 8, 2000).              Phyllis M. Rodriguez;     objection in this matter, representing other objectors.
                               Sherri D. Wieneke;
                               Sherrie Brichetto;
                               Ted Doak

Schmidt v. AT&T, No. CV-       Adam Faulkner             George W. Cochran and Edward W. Cochran both appeared (representing
09- 688788) (Cuyahoga                                    different objectors).
Cnty. (Oh.) Ct. Com. Pleas).
In re TFT-LCD (Flat Panel)     Geri Maxwell;            On 3/29/13, the Court issued its Order Granting Final Approval Of Combined
Antitrust Litig., MDL 1827,    Maria Marshall;          Class, Parens Patriae, And Governmental Entity Settlements With AUO, LG
3:07-md-1827, 2013 WL          Wayne Marshall;          Display, and Toshiba Defendants, and Final Judgment of Dismissal With
1319653 (N.D. Cal. March       Gerri Marshall           Prejudice; Award of Attorney Fees, Expenses, and Incentive Awards. In re
29, 2013).                                              TFT-LCD (Flat Panel) Antitrust Litig., MDL 1827, 3:07-md-1827, 2013 WL
                                                        1319653 (N.D. Cal. March 29, 2013).

                                                         Cochran joined Pentz in the appeal filed on 4/29/13, representing their
                                                         respective clients.

                                                         * John J. Pentz filed objections on behalf of Barbara Cochran and Kevin
                                                         Luke. * The appeal for Barbara Cochran et al was voluntarily dismissed on
                                                         6/13/14.

                                                         *Pentz, George W. Cochran, and Edward W. Cochran all joined in filing
                                                         objection in In re Hyundai Fuel Economy Litigation (See infra).




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                                                  Appendix H – George W. Cochran
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       Case                           Client(s)             Notes
       In re National Football        Curtis L. Anderson    Objection filed 10/16/14. Co-Lead Counsel moved to strike Anderson’s late
       League Players’ Concussion                           objection and it was granted on 11/17/14. Final approval granted on 5/8/15
       Injury Litig., No. 12-md-                            and an amended order clarifying its 5/8/15 Order was entered on 5/11/15.
       02323 (Amended Final Order                           Cochran appealed to the Third Circuit on 5/15/2015. Appeal pending.-
       and Judgment) (Dkt. No.
       6535) (E.D. Pa. May 11,
       2015).                                               *Note-Attorneys Edward W. Cochran and John J. Pentz, associates of George
                                                            W. Cochran, also filed objections in this case.* On 10/21/15, one of Pentz/E.
                                                            Cochran’s clients, Robert Jackson, voluntarily dismissed his appeal).




       Pappas v. Naked Juice       Bradley Henry;              Objections filed pro se 11/11/13. Final approval granted 1/22/14 and Cochran
       Company of Glendora Inc, et Sarah Henry                 filed a Notice of Appearance as counsel for the Henrys on 3/4/14. On 4/21/14,
       al, No. 11-cv-08276 (C.D.                               Cochran moved to dismiss the appeal.
       Cal. Jan. 1, 2014).
       Hyundai and Kia Fuel          Caitlin Ahearn;           Objection was filed by George W. Cochran, Edward W. Cochran, and John
       Economy Litig., No. 2:13-ml- Andrew York                Pentz on 3/5/15.
       02424 (Order Granting Final
       Approval of Settlement) (C.D.                           Notice of appeal filed 6/20/15, and amended notice of appeal filed 9/11/15.
       Cal. June 11, 2015).                                    Appeal pending-

       Golloher v. Todd Christopher Jennifer Lynn Cochran      Objection filed by pro se on 2/4/14. The Court considered all objections and
       International, No. 12-cv-                               found that “none of them raise issues that would warrant rejection of the
       06002 (N.D. Cal. April 25,                              settlement.” (Final Order and Judgment Approving Class Settlement) (Dkt.
       2014).                                                  No. 79). Jennifer Cochran filed her Notice of Appeal on 5/21/14, and on
                                                               7/16/14, George W. Cochran filed his Notice of Appearance on behalf of
                                                               Appellant Jennifer Cochran with the Ninth Circuit Court of Appeal (Notice of
                                                               Appearance of Counsel) (Dkt. No. 2-1). Cochran’s appeal was voluntarily
                                                               dismissed on 9/16/14.



	  


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                                                        Appendix H – George W. Cochran
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                  APPENDIX I
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                                                                APPENDIX I
                                                 Objections to Settlements Filed by Jan L. Westfall

       Case                            Client(s)           Notes
       Hoffman v. Bank of America,     Susan House         House objected to class action settlement on 8/21/14 and on 9/8/14, House
       No. 12-cv-00539 (Final                              lodged her objection to Plaintiffs’ Motion for Final Approval and Attorneys’
       Order Approving Class                               Fees.
       Action Settlement) (Dkt. No.
       67) (S.D. Cal. Nov. 6, 2014).                       Here, Darrell Palmer is listed as counsel for objector Susan House. In his
                                                           Declaration, Palmer states that he spent a total of 22 hours on this case, whereas
                                                           his Associate Attorney, Jan Westfall, spent 28 hours (See Declaration of Darrell
                                                           Palmer in Support of Plaintiff Schuyler Hoffman’s Reply to Objector Susan
                                                           House’s Opposition to Plaintiff’s Motion for Final Approval and Attorney’s
                                                           Fees) (Dkt. No. 63).

                                                          Following receipt of House’s objection on 8/21/14, class counsel met with
                                                          Palmer, after which they agreed to extend the claims period to 10/21/14, pending
                                                          court approval. House withdrew her objection on 10/1/14 after securing an
                                                          extension of the claims period, a fee award of $35,000 for Palmer and $500 of
                                                          incentive awards for herself. (See Declaration Of Abbas Kazerounian in Support
                                                          of Plaintiff’s Reply to Objector Susan House’s Opposition to Plaintiff’s Motion
                                                          for Final Approval and Motion for Attorneys’ Fees, Dkt. No. 62).

       Steinfeld v. Discover Fin.      Dave Carothers;     Objections on behalf of Carothers and Palmer were filed on 1/13/14. Shortly
       Servs., No. C 12-01118 JSW,     Deliris Palmer      thereafter, Westfall filed a Notice of Withdrawal of Palmer’s objection on
       2014 WL 1309692 (N.D. Cal.                          1/31/14, and the Court granted Palmer’s request for withdrawal on 2/3/14. All
       Mar. 31, 2014).                                     other objections were overruled on 3/31/14 (Order Granting Motion for
                                                           Attorney’s Fees, Costs, and Service Award) (Dkt. No. 64).




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                                                          Appendix I - Jan L. Westfall
	  
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                  APPENDIX J
                                                                                                                                                                                                                                                    Case 4:07-cv-05944-JST Document 4370-2 Filed 02/04/16 Page 77 of 230

                                                                                                                                                                                                                                                                                   APPENDIX J
                                                                                                                                                                                                                                                    Objections to Settlements Filed by Joseph Scott St. John and Anna St. John

                                            Case                             Client(s)                                                                                                                                                                                                Notes
                                            In re Cathode Ray Tube (CRT) Douglas W. St. John                                                                                                                                                                                          Joseph Scott St. John appears on behalf of his father, Douglas W. St. John in his
                                            Antitrust Litig., No. 07-cv-                                                                                                                                                                                                              present objection to the CRT Settlement (Ex. A, St. John Dep. 5:16-23).
                                            09544 (Amended Order
                                            Granting Preliminary Approval
                                            of Class Action Settlements)
                                            (Dkt. No. 3906) (N.D. Cal. filed
                                            July 9, 2015).




                                            In re Colgate-Palmolive                                                                                                                                                                                        Anna St. John              This objection was filed on 8/10/15, by Joseph Scott St. John’s wife1, Anna St.
                                            Softsoap Antibacterial Hand                                                                                                                                                                                    filed pro se               John, pro se. The Final Approval Hearing was held on 9/28/15, and the Court
                                            Soap Marketing and Sales                                                                                                                                                                                                                  has yet to issue an order.
                                            Practices Litig., No. 12-md-
                                            02320 (Order Granting Motion                                                                                                                                                                                                              Joseph Scott St. John’s wife, Anna Wagner St. John, is an attorney employed
                                            for Certification of Settlement                                                                                                                                                                                                           with the Center for Class Action Fairness (CCAF). CCAF is an organization
                                            Class and Preliminary                                                                                                                                                                                                                     with a history of making baseless objections to good settlements in an effort to
                                            Approval of Proposed Class                                                                                                                                                                                                                further their crusade against class actions. See, e.g., Lonardo v. Travelers
                                            Settlement) (Dkt. No. 93)                                                                                                                                                                                                                 Indem. Co., 706 F. Supp. 2d 766, 785 (N.D. Ohio 2010) (rejecting CCAF brief
                                            (D.N.H. filed June 5, 2015).                                                                                                                                                                                                              accused of being “long on ideology and short on law”).

                                                                                                                                                                                                                                                                                      Anna St. John began working with CCAF in March of 20152, yet since then, she
                                                                                                                                                                                                                                                                                      has filed at least four objections to class action settlements and/or attorneys’
                                                                                                                                                                                                                                                                                      fees, representing other CCAF attorneys and even a colleague’s spouse as
                                                                                                                                                                                                                                                                                      objectors. See In re Transpacific Passenger Air Transportation Antitrust Litig.,
                                                                                                                                                                                                                                                                                      supra; see also In re Motor Fuel Temp. Sales Prac. Litig., supra.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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         See Allen Johnson, Anna Wagner and Scott St. John, N.Y. Times, Jan. 22, 2009, http://www.nytimes.com/2006/01/22/fashion/weddings/22vows.html?pagewanted=all&_r=0.
2
         See COMPETITIVE ENTER. INST., https://cei.org/content/anna-st-john (last visited Nov. 19, 2015).
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                                                                                                                                                                                                                                                                     Appendix J – Joseph Scott St. John and Anna St. John
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Case                            Client(s)               Notes
In re Transpacific Passenger    Amy Yang                Anna St. John represented Amy Yang, the sole objector in a class of hundreds of
Air Transportation Antitrust                            thousands, and the wife of another attorney at the Center for Class Action
Litig., (Order Granting Motion (Represented by Anna St. Fairness (See Plaintiffs’ Motion for Final Approval at 1) (Dkt. No. 999).
for Final Approval and Granting John and Theodore H.    Importantly, Ms. Yang agrees that CCAF is “in the business of objecting to
Motion for Fees) (Dkt. No.      Frank)                  settlements” (See Yang Tr. at 22:12-15).
1009) (N.D. Cal. May 26,
2015).


In re Motor Fuel Temp. Sales   Theodore (Ted) H. Frank; Here, Anna St. John represented fellow professional objectors and her colleagues
Prac. Litig., No. 07-1840-KHV, Melissa Holyoak;         from CCAF, Ted Frank and Adam Schulman as well as Ms. Holyoak.
2012 WL 1415508 (D. Kan.       Adam Schulman
April 24, 2012).
                               (Represented by Anna St.
                               John)

In re Polyurethane Foam           John Tabin;                Objection filed on November 11, 2015.
Antitrust Litg., No. 10-md-2196   Melissa Holyoak
(Objection of Melissa Holyoak
and John Tabin) (Dkt. No.         (Represented by Anna St.
1960) (N.D. Cal. filed Nov.12,    John)
2015).




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                                            Appendix J – Joseph Scott St. John and Anna St. John
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Case                            Client(s)               Notes
In re Transpacific Passenger    Amy Yang                Anna St. John represented Amy Yang, the sole objector in a class of hundreds of
Air Transportation Antitrust                            thousands, and the wife of another attorney at the Center for Class Action
Litig., (Order Granting Motion (Represented by Anna St. Fairness (See Plaintiffs’ Motion for Final Approval at 1) (Dkt. No. 999).
for Final Approval and Granting John and Theodore H.    Importantly, Ms. Yang agrees that CCAF is “in the business of objecting to
Motion for Fees) (Dkt. No.      Frank)                  settlements” (See Yang Tr. at 22:12-15).
1009) (N.D. Cal. May 26,
2015).


In re Motor Fuel Temp. Sales   Theodore (Ted) H. Frank; Here, Anna St. John represented fellow professional objectors and her colleagues
Prac. Litig., No. 07-1840-KHV, Melissa Holyoak;         from CCAF, Ted Frank and Adam Schulman as well as Ms. Holyoak.
2012 WL 1415508 (D. Kan.       Adam Schulman
April 24, 2012).
                               (Represented by Anna St.
                               John)

In re Polyurethane Foam           John Tabin;                Objection filed on November 11, 2015.
Antitrust Litg., No. 10-md-2196   Melissa Holyoak
(Objection of Melissa Holyoak
and John Tabin) (Dkt. No.         (Represented by Anna St.
1960) (N.D. Cal. filed Nov.12,    John)
2015).




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                                            Appendix J – Joseph Scott St. John and Anna St. John
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                 APPENDIX K
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                                                        APPENDIX K
                                         Objections to Settlements Filed by John Finn

Case                             Attorney(s)                 Notes
In re Checking Account           Although no counsel is      On 11/22/11, the Court entered its Order of Final Approval of Settlement,
Overdraft Litig., 694 F. Supp.   listed in Finn’s objection, Authorizing Service Awards, Granting Application for Attorneys’ Fees, and
2d 1302 (S.D. Fla. 2010).        it was filed by Serial      Overruling Objections to Settlement (Dkt. No. 2150). On the same date, the
                                 Objector, Steve A. Miller Court entered its Final Judgment dismissing the Action with Prejudice (Dkt. No.
                                                             2151).

                                                           Finn filed his notice of appeal in December 2011 and on 2/14/12, the Court
                                                           granted Plaintiffs’ motion to Require Posting of an Appeal Bond by Finn and
                                                           other objectors. (Dkt. No. 2473) (S.D. Fl. filed Feb. 14, 2014). Here, the Court
                                                           ordered Objector/Appellants to post a bond in the amount of $616, 338,
                                                           representing two years of compounded interest on the $280 million Settlement,
                                                           minus attorneys’ fees and in addition to the $5,000 cost bond - to be posted
                                                           within 15 days of the Order. (Dkt. No. 2473, at 6). Finn subsequently moved to
                                                           voluntarily dismiss his appeal. (Dkt. No. 2797) (filed June 28, 2012).
Credit/Debit Card Tying Cases Steve A. Miller              Objection filed on 5/20/10. The Court granted Final Approval of Settlement and
JCCP No. 4335(San Francisco                                Award of Attorneys’ Fees on 8/23/10.
Super. Ct. 2010).
Demmick v. Cellco Partnership Pro se                     Finn’s objection was entered with the Court on 4/2/15 and overruled in the
d/b/a Verizon Wireless, No. 06-                          Court’s 5/1/15 Opinion, granting final approval of class settlement/final
2163 (D.N.J. 2015).             Appeal – Steve A. Miller judgment, granting Plaintiffs’ motion for incentive awards to class plaintiffs,
                                                         approving plan of allocation and distribution of settlement funds, and granting
                                                         class counsel’s motion for attorneys’ fees (Opinion) (Dkt. No. 181) (D.N.J. filed
                                                         May 1, 2015). The Court considered every relevant objection in turn and found
                                                         each without merit (Dkt. No. 181, at 16 of 46).

                                                           Steve Miller is representing Finn on appeal (Ex. A, Finn Dep. 47:22-48:16).




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                                                         Appendix K – John Finn
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                 APPENDIX L
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                                                     APPENDIX L
                             Objections to Settlements Filed by Laura Townsend Fortman

Case                         Attorney(s)               Notes
Wilkins v. HSBC Bank Nevada, Jonathan E. Fortman       Kress, Fortman, and Miller filed an objection on behalf of Laura Fortman on
N.A., No. 14 C 190, 2015 WL John C. Kress              10/6/14. The Final Order of Dismissal and Final Judgment was entered on
890566 (N.D. Ill. Feb. 27,   Steve A. Miller           3/17/15. The Court found that none of the objections were well founded and
2015).                                                 overruled each. Specifically, in its Memorandum Opinion and Order for final
                                                       approval of settlement and attorneys’ fees, the Court takes issue with Mrs.
                                                       Fortman’s argument that the release contemplated by the Settlement was
                                                       overbroad because it prohibited class members from making any claim based on
                                                       the unlawful collection of debts owed by class members. (Dkt. No. 72, at 9-11).

                                                       “Fortman’s assertion is incorrect and falls apart upon a more exacting review of
                                                       the full release, rather than the abridged version Fortman quoted in her objection.
                                                       As Class Counsel noted in their response to Fortman’s objection, the release is
                                                       expressly limited to claims “that arise out of” HSBC’s “use of an ‘automatic
                                                       telephone dialing system’ or an ‘artificial or prerecorded voice,’” to make the
                                                       calls at issue in this case. (Dkt. No. 82 at 31 (citing Settlement Agreement §
                                                       III.R.).) Accordingly, the Settlement Agreement does not, as Fortman argues,
                                                       release claims against HSBC (or Capital One) for unlawful collection efforts
                                                       arising from different or additional factual circumstances.” (Memorandum
                                                       Opinion and Order) (Dkt. No. 117) (filed Feb. 27, 2015).
Kardonick et al. v. JP Morgan Matt Weinstein           Objection filed 8/19/11. The Court overruled Fortman’s objections and issued
Chase & Co & Chase Bank       Paul M. Kade             its Final Judgment and Order of Dismissal on 9/16/11 (Dkt. No. 384). Notice of
USA, N.A., No. 10-cv-23235                             appeal was filed on 10/14/11. Fortman subsequently moved to voluntarily
(Final Judgment and Order of                           dismiss her appeal pursuant to a settlement agreement reached between the
Dismissal) (Dkt. No. 384)                              parties. (Order of Dismissal by USCA Pursuant to Appellant’s Motion to
(S.D. Fl. Sep. 16, 2011).                              Voluntarily Dismiss their Respective Appeals) (Dkt. No. 450) (filed May 10,
                                                       2012).




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                                               Appendix L – Laura Townsend Fortman
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                APPENDIX M
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                                                          APPENDIX M
                                         Objections to Settlements Filed by Sean Hull

             Case                     Attorney(s)           Notes
In re: Groupon, Inc.,          Objection filed pro se       Attorney Timothy R. Hanigan appeared on behalf of Hull on appeal.
Marketing and Sales Practices
Litigation, No. 3:11- md-02238
(S.D. Cal. June 2, 2011).

In re Smokeless Tobacco Cases Objection filed pro se        Objection filed 2/4/08 pro se. Final Approval was granted and fees awarded on
I, II, JCCP Nos. 4250, 4258,                                3/12/08. Hull appealed on 4/11/08 and the appeal was voluntarily dismissed on
4259, 4262 (San Francisco     Appeal - Timothy R.           2/26/09.
Super. Ct. 2008).             Hanigan;
                              Arthur Carvalho, Jr.;
                              Christopher Bandas

In re Dynamic Random             Objection filed pro se     Pro se objection filed on 5/5/14. The Court overruled all objections and granted
Access Memory (DRAM)                                        Final Approval of Settlement and Attorneys’ Fees on 6/27/14.
Antitrust Litig., 536 F. Supp.   Appeal – Timothy R.
2d 1129 (N.D. Cal. 2008).        Hanigan                    Hanigan filed notice of appearance on behalf of Appellant Hull on 7/7/14.




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                                                          Appendix M – Sean Hull
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              Case                  Attorney(s)     Notes
In re Cathode Ray Tube (CRT)                        Sean Hull filed his original objection as a pro se objector from Denver, Colorado
Antitrust Litig., 281 F.R.D. 531                    where he lives and works, although Indirect Purchaser Plaintiffs submitted
(N.D. Cal. April 16, 2012)                          evidence that his objection letter was postmarked in Corpus Christi, Texas and
(Amended Order Granting                             mailed by attorney Christopher Bandas. See Decl. of Mario N. Alioto (Dkt. No.
Indirect Purchaser Plaintiffs’                      1062-1, Ex. 1) (filed Mar. 1, 2012). In addition to finding that his objection was
Motion to Compel Discovery                          without merit, Judge Samuel Conti overruled Mr. Hall’s objection “on the
from Objector Hull) (Dkt. No.                       grounds that the objector has failed to submit proof or otherwise establish that he
1155).                                              is a member of the Class, and therefore lacks standing to challenge the
                                                    Settlement.” See Order Granting Final Approval of Settlement with Chunghwa
                                                    Picture Tubes, Ltd. (Dkt. No. 1105) (filed Mar. 22, 2012).

                                                    Judge Conti granted the Indirect Purchaser Plaintiffs’ motion to compel
                                                    discovery and ordered objector Hull to appear for a deposition and produce
                                                    requested documents by May 11, 2012. See Order Granting Indirect Purchaser
                                                    Plaintiffs’ Motion to Compel Discovery From Objector (Dkt. No. 1155) (filed
                                                    Apr. 16, 2012). Judge Conti concluded that because the requests for documents
                                                    and information sought by the Indirect Purchaser Plaintiffs focused “solely on
                                                    the objector’s standing, the bases for his current objections, his role in objecting
                                                    to this and other class settlements, and his relationships with the counsel that are
                                                    believed to be behind the scenes manipulating him,” the requested information
                                                    and documents are relevant, needed and reasonably narrowly tailored. Id. In
                                                    response to Objector Hull’s refusal to appear for a deposition or produce
                                                    documents by the Court’s May 11, 2012 deadline and failure to provide any
                                                    valid reason or justification for not doing so, Indirect Purchaser Plaintiffs filed a
                                                    motion requesting the Court to order Hull to show cause why he should not be
                                                    found in civil contempt and sanctioned in the amount of $5,000 in attorney’s fees
                                                    and $1,166.95 in costs for his failure to comply with the Court’s direct order.
                                                    (Dkt. No. 1199) (filed May 18, 2012).




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                                                  Appendix M – Sean Hull
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              Case                  Attorney(s)     Notes
          -continued-                               On May 25, 2012, Special Master Legge granted the Indirect Purchaser
In re Cathode Ray Tube (CRT)                        Plaintiffs’ motion and ordered Objector Hull to show cause why he should not be
Antitrust Litig., 281 F.R.D. 531                    held in contempt for violating the Court’s order compelling his deposition and
(N.D. Cal. April 16, 2012)                          response to discovery documents (Dkt. No. 1210) (filed May 25, 2012).
(Amended Order Granting
Indirect Purchaser Plaintiffs’                      Joseph Darrell Palmer entered his appearance as counsel on behalf of Objector
Motion to Compel Discovery                          Hull on June 1, 2012 (Dkt. No. 1222) (filed June 1, 2012), and filed a Response
from Objector Hull) (Dkt. No.                       to Plaintiffs motion for contempt arguing that plaintiffs’ motion should be
1155).                                              denied, the order for a deposition should be vacated as without jurisdiction and
                                                    moot, and sanctions should be denied in their entirety. (Dkt. No. 1223) (filed
                                                    June 1, 2012).

                                                    On June 20, 2012, Special Master Legge filed his Proposed Order Finding
                                                    Objector Sean Hull in Civil Contempt and Awarding Sanctions to Indirect
                                                    Purchaser Plaintiffs. (Dkt. No. 1234) (filed June 20, 2012). Before Judge Conti
                                                    either adopted or rejected Special Master Legge’s Proposed Order, Hull
                                                    voluntarily dismissed his appeal pursuant to FRAP 42(b) on August 9, 2012.




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                                                  Appendix M – Sean Hull
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                 APPENDIX N
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                                                     APPENDIX N
                                 Objections to Settlements Filed by Gordon B. Morgan

Case                          Attorney(s)               Notes
Adams v. AllianceOne          Objection pro se
Receivables Management, Inc.,                           Morgan filed his objection and appeal pro se, but on12/04/12, Attorney
No. 3:08-cv-00248(S.D. Cal.   Appeal – Christopher      Christopher Andreas Bandas filed a notice of appearance on behalf of
Feb. 8, 2008).                Bandas                    Appellant Gordon Morgan. This appeal was voluntarily dismissed on 2/4/13.

                                                        Class Plaintiffs moved for a motion to strike the objection and appeal,
                                                        purportedly signed by Gordon Morgan. (Dkt. No. 167-1), on the basis that
                                                        Morgan did not sign these documents despite the fact that he represented to the
                                                        Court that he did and these documents were filed pro se. Morgan was deposed
                                                        in another matter on December 17, 2012, during which Morgan was asked
                                                        questions regarding the AllianceOne settlement and objection. See Bobowski
                                                        v. Clearwire Corporation, C-10-1586 JLR (W.D. Wash.) (See Dennings v.
                                                        Clearwire, supra) During the deposition, Morgan was unable to answer a
                                                        question regarding what the AllianceOne objection was about and did not even
                                                        believe he filed an objection in the matter. Further, Morgan admitted he did
                                                        not draft, nor sign his objection, but instead, gave Attorney Christopher Bandas
                                                        permission to sign for him. (Class Plaintiffs’ Points and Authorities in Support
                                                        of Motion to Strike Objection and Notice of Appeal by Gordon B. Morgan)
                                                        (Dkt. No. 167-1) (S.D. Cal. filed Feb. 4, 2013).




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                                                 Appendix N – Gordon B. Morgan
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Case                         Attorney(s)                 Notes
Dennings v. Clearwire Corp., Christopher Bandas          Finding that Morgan's objections to the settlement were “without merit” and
928 F. Supp. 2d 1270, 1271                               requiring him to post an appeal bond of $41,150 based on “vexatious intent in
(W.D. Wash. March 11, 2013).                             filing [his] notice of appeal”); Dennings v. Clearwire Corp., Case No. C10-
                                                         1859 JLR, 2013 WL 3870799 at *2-3 (W.D. Wash. July 13, 2013) (“Objectors
                                                         directly disobeyed a court order. They were ordered to either post a bond
                                                         within five days or else withdraw their appeal. They did neither . . . . Objectors'
                                                         decision to ignore the court's appeal bond order is only the most recent episode
                                                         in Objectors’ ongoing procedural machinations before this court and the Ninth
                                                         Circuit. Objectors’ strategy this time around is consistent with their behavior in
                                                         these proceedings: they appear to believe that they do not need to follow court
                                                         orders until they are threatened with sanctions for failing to do so . . . . This is
                                                         not acceptable conduct for attorneys appearing before this court.”).

                                                         On July 19, 2013, the District Court issued an order for Objectors’ counsel to
                                                         appear on August 1 and show cause why they and their clients should not be
                                                         sanctioned for failing to comply with a court order to post the $41,150 appeal
                                                         bond. (Doc. #154)(filed July 19, 2013). On July 23, 2013, Objectors posted the
                                                         appeal bond in full in the requested amount of $41,150 with the Court and Mr.
                                                         Bandas requested that the Court vacate the order to appear and show cause
                                                         arguing that sanctions are now unnecessary. (Doc. # 155) (filed July 25, 2013).
                                                         On July 26, 2013, Judge Robart denied Objectors’ motion to vacate the show
                                                         cause order finding that the “fact that Objectors posted bond after being
                                                         ordered to appear and face sanctions does not exonerate Objectors any more
                                                         than it would exonerate a criminal defendant to return stolen property after
                                                         being charged with theft. The punishable conduct has already occurred and
                                                         cannot be taken back. Accordingly Objectors’ counsel have been ordered to
                                                         appear in court, explain their actions, and face sanctions should the court
                                                         decide to impose them.” (Doc. # 156) (filed July 26, 2013).

                                                         Following the show cause hearing held on Aug. 20, 2013, the court heard from
                                                         counsel regarding sanctions and concluded that the “appropriate sanction is to
                                                         revoke Mr. Bandas’ authorization to practice in the Western District of
                                                         Washington.” (Doc. #166) (Minute Entry for proceedings held on Aug. 20,
                                                         2013).


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Case                           Attorney(s)                 Notes
Malta v. The Federal Home      Timothy R. Hanigan          All objections were overruled on 6/21/13, and Morgan (through Attorney
Loan Mortgage Corp., No. 10-                               Hanigan) appealed Final Judgment on 7/18/13 (Notice of Appeal) (Dkt. No.
cv-01290, 2013                                             104) (S.D. Cal. filed July 18. 2013).
WL5467425 (Final Judgment
and Order of Dismissal with                                On 7/23/13, Plaintiffs moved the Court to order Morgan to post an appeal bond
Prejudice) (Dkt. No. 91) (S.D.                             but before the Court could rule on Plaintiffs’ motion, Morgan voluntarily
Cal. filed June 21, 2013).                                 dismissed his appeal on 9/10/13 (Order of USCA as to Notice of Appeal to the
                                                           Ninth Circuit filed by Gordon Morgan) (Dkt. No. 124).

Nwabueze v. AT&T Inc., No. C Christopher Bandas            Morgan filed his objection to the proposed class settlement on 9/3/13 (Dkt. No.
09-01529 SI, 2013 U.S. Dist.                               214). In its Final Approval Order, dated 11/27/13, the Court states that “[h]is
LEXIS 169270 (N.D. Cal.                                    objections are largely conclusory and fail to provide legal support or evidence.
Nov. 27, 2013).                                            Mr. Gordon has acted as an objector in at least two other cases within this
                                                           Circuit… The Court finds that Mr. Morgan’s objection is without merit and his
                                                           objection is OVERRULED.” 2013 U.S. Dist. LEXIS 169270, *29 (N.D. Cal.
                                                           Nov. 27, 2013).




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              EXHIBIT O
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                                                            APPENDIX O
                                          Objector Deposition Testimony Highlights

         OBJECTOR                   COUNSEL                                              TESTIMONY
    1. Paul Palmer               Darrell Palmer             •   Objector is counsel’s father (Additional Declaration of Robert J.
                                                                Gralewski, Jr. in Support of Indirect Purchaser Plaintiffs’ Motion for
                                                                Final Approval of Class Action Settlements with Philips, Panasonic,
                                                                Hitachi, Toshiba, Samsung SDI, Thomson, and TDA Defendants
                                                                (“Gralewski Settl. Decl.”) at 3)
                                                            •   Once IPPs sought to serve deposition subpoena, Palmer offered to
                                                                withdraw his father’s objection for a $5,000 payment (Id.)
                                                            •   After IPPs rejected that offer, Palmer filed a Notice of Withdrawal of
                                                                his father’s objection to avoid the deposition (Id. at 3-4; Dkt. No.
                                                                4130)

    2. Gordon Morgan             Christopher Bandas         •   Objector admitted he objected because he seeks “a check” from his
                                 Tim Hanigan                    lawyer, Bandas, after they “settle out” the objection, just as they have
                                                                done in numerous prior cases (37:9-38:10; 39:20-40:12)1
                                                            •   Objector also admitted he planned to settle the objection in exchange
                                                                for monetary payment—even “knowing that no other class member
                                                                would benefit” (100:10-101:5; 101:16-21)
                                                            •   Bandas limits his objectors’ recovery “to a $5,000 check,” and does
                                                                not permit the objector to know or approve of the amount of
                                                                “attorney’s fees” taken by Bandas in “settling” the objection (41:8-
                                                                42:15; 46:12-49:7)
                                                            •   Objector testified that Hanigan does not represent him, was not
                                                                known or disclosed to him, and does not know how Hanigan is being
                                                                paid (21:22-25; 23:6-24:2; 49:22-51:16; 52:25-54:6)
                                                            •   After Objector made these and other damning admissions, Hanigan
                                                                filed a “Notice of Withdrawal” of Objector’s objection however

1
 All citations herein (except to the Gralewski Settl. Decl. and docket entries) are to the deposition transcripts (and/or deposition
exhibits) taken of each objector and are attached to this summary chart as one compendium called Exhibit A.
                                                                    i
                                     Appendix O – Objection Deposition Testimony Highlights
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     OBJECTOR            COUNSEL                                         TESTIMONY
      -continued-                                Bandas and Hanigan continue to pursue the same objection on behalf
    Gordon Morgan                                of Objector Sean Hull (Dkt. No. 4165)
                                             •   Objector is a former lawyer who voluntarily surrendered his law
                                                 license after being accused of professional misconduct (84:24-85:12)




3. Sean Hull          Christopher Bandas     •   Objector is a serial objector who admittedly only objects through
                      Tim Hanigan                Bandas (37:20-38:5; 43:1-12)
                                             •   Objector admitted that his objections in other cases were “settled” by
                                                 Bandas, that no changes were made to the class action settlements in
                                                 such cases, and that Bandas “gifted” him a watch in connection with
                                                 resolving his objection in the Smokeless Tobacco case (20:14-22;
                                                 21:23-23:6; 25:10-14; 38:12-20)
                                             •   Objector admitted he is comfortable with Bandas settling or
                                                 dismissing his objections in exchange for nothing but monetary
                                                 payment to the lawyers and has no problem with the plans of
                                                 Objector Morgan and Bandas to settle objections in this case in
                                                 exchange for money (57:7-59:7; 104:5-105:14; 106:2-15)
                                             •   Objector relies on Bandas to settle his objections, is never informed
                                                 of the terms of the resolution, does not know how much his lawyers
                                                 take in “fees,” but is not bothered if it is 100% of any recovery
                                                 (48:15-49:16; 64:1-66:22; 67:17-68:18)
                                             •   Objector does not know the specific terms of the class settlement he
                                                 objects to in this case (defers to Bandas), but admits that multiple
                                                 arguments in the written objection filed on his behalf do not even
                                                 “apply” to him (26:18-24; 27:9-24; 28:20-29:22; 81:22-85:18)




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      OBJECTOR              COUNSEL                                       TESTIMONY
4. Laura Townsend       Jonathan Fortman       •   Objector is counsel’s wife (5:14-18)
   Fortman              Steve Miller           •   Objector’s husband has filed objections for her in the past to other
                        John Kress                 settlements (13:25-14:24);
                                               •   Objector did not see her CRT objection before her husband filed it on
                                                   her behalf (15:4-15)
                                               •   Objector did not know Steve Miller and John Kress represented her
                                                   (7:4-9; 17:11-18) and Objector testified that she has had dinner with
                                                   them and her husband in the past (15:24-17:7)
5. John Finn            Jonathan Fortman       •   Objector testified that he has objected to three class action
                        Steve Miller               settlements (20:13-18 and Depo. Exs. 2 and 3
                        John Kress             •   Objector’s attorney (Steve Miller) is Objector’s wife’s cousin (12:19-
                                                   13:1)
                                               •   Miller represented Finn in an appeal from his objection in a class
                                                   action against Verizon (48:14-19; 50:19-51:24)
                                               •   Objector admitted that he would consider dismissing his objection or
                                                   appeal for a monetary payment (46:14-18)
                                               •   Objector has no retainer agreement (21:25-22:5)

6. Douglas St. John     Joseph Scott St.       •   Objector is Joseph Scott St. John’s father (5:16-23)
                        John                   •   Objector admitted that other than the size of the fee, he has no
                        Andrea Valdez              objection to the settlement (101:9-14)
                                               •   Objector believes the IPPs’ attorneys should not receive more than
                                                   10% of the fund (47:1-9; 64:12-65:6)
                                               •   Objector does not want his objection to be a vehicle to undermine the
                                                   settlement or the ability of consumers to recover or make claims
                                                   (101:15-102:9)
7. Dan L. Williams &    Paul Justi             •   Objector first heard about the CRT lawsuit in early October from an
   Co.                                             attorney who recommended that objector contact Justi (but Justi
                                                   would not allow objector to identify the referring attorney during the
                                                   deposition) (18:7-22:2)
                                               •   Objector did not know Justi at the time of his retention (28:18-24)


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     OBJECTOR                COUNSEL                                         TESTIMONY
8. Rockhurst University   Theresa Moore          •   The University of Santa Clara contacted Rockhurst University about
                                                     the settlement and suggested that Rockhurst contact Ms. Moore
                                                     (which was after the audit of Ms. Moore’s time) (16:12-19:12;
                                                     Declaration of Mario N. Alioto in Support of Indirect Purchaser
                                                     Plaintiffs’ Motion for Final Approval of Class Action Settlements
                                                     with Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson,
                                                     and TDA Defendants (“Alioto Settl. Decl. II”))
                                                 •   Ms. Moore would not allow the email communication between Santa
                                                     Clara (located in California) and Rockhurst University (located in
                                                     Missouri) to be produced on privilege grounds (34:16-37:19)
                                                 •   Ms. Moore prepared Rockhurst’s Declaration (29:6-23)
                                                 •   Rockhurst’s representative testified that its only objection is that
                                                     Missouri is “excluded” from the settlement (25:8-15)




9. Garry Talewsky         Theresa Moore          •   Objector had no knowledge of the CRT case before September 2015
                                                     (and thus learned about it after the audit of Ms. Moore’s time) (24:2-
                                                     4; Alioto Settl. Decl. II)
                                                 •   Objector does not object to fees or the overall recovery (38:21-39:7)
                                                 •   Objector had a partner in his travel agency (on whose behalf he filed
                                                     his objection) but the partner is not listed as an objector (12:5-25)
                                                 •   Objector served as a plaintiff in an airlines merger case prosecuted by
                                                     Moore’s firm (4:11-5:22)




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      OBJECTOR                COUNSEL                                            TESTIMONY
10. Harry Garavanian       Theresa Moore            •   Objector said he became involved in the CRT case in October, or
                                                        possibly the end of September 2015 (which was after the audit of Ms.
                                                        Moore’s time) (17:16-18:11; Alioto Settl. Decl. II)
                                                    •   Objector testified that the case was about faulty CRT monitors and
                                                        stated he wanted his money back from monitors that did not work
                                                        properly and the fact that companies did not stand behind their
                                                        products (25:11-30:15)
                                                    •   Objector is serving as a plaintiff in an airlines merger action being
                                                        litigated by Moore’s firm (31:9-32:25) and served as a plaintiff in a
                                                        previous airlines merger case prosecuted by Moore’s firm (Id., 7:6-
                                                        8:1)
11. Donnie Clifton         Jan Westfall             •   Objector’s main concern is limited to the amount of fees (43:1-44:3)
                                                    •   Objector is unaware that Westfall previously represented Darrell
                                                        Palmer’s sister-in-law in her objection to a class action settlement
                                                        and then quickly dismissed that objection (54:2-16)

12. Mina Ashkannejhad      Robert Bonsignore        • Objector never personally purchased a CRT product (so she lacks
                                                      standing) (19:7-18)
                                                  • Objector is not the executor of her late husband’s estate (contrary to
                                                      what her objection states) (30:11-12)
                                                  • Objector testified that her husband purchased a CRT television and
                                                      monitor but she has no idea what brand they were (17:22-25; 18:1-6;
                                                      18:12-15) or the date of purchase (17:20-21)
                                                  • Upon being served with the subpoena directed to her in this matter
                                                      (after an objection was filed on her behalf), objector called the
                                                      attorney who signed the subpoena instead of Bonsignore (Gralewski
                                                      Settl. Decl. at 2); when asked if Bonsignore represented her, objector
                                                      replied that she thought Bonsignore represented her late husband
                                                      (Id.); and on that phone call – which was after her objection was filed
                                                      but before her deposition -she never indicated she was represented by
                                                      Bonsignore (Id.)
                                                  • Objector could not testify that she reviewed the objection before it
                                                      was filed (21:6-20)
                                                           v
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      OBJECTOR                COUNSEL                                         TESTIMONY
13. Anthony Gianasca       Robert Bonsignore      •   Objector and Bonsignore have been friends for 25 years (26:11-17)
                                                  •   Bonsignore has also represented objector in an antitrust class action
                                                      against Honeywell (27:14-16)
                                                  •   Upon receiving the subpoena directed to him in this matter (after an
                                                      objection was filed on his behalf), objector called Zelle Hofmann
                                                      (where the deposition was noticed to take place) on October 19, 2015
                                                      and told the Office Administrator that he knew nothing about the
                                                      matter and would appreciate a call back. Objector then called again
                                                      and asked the Office Administrator if she knew what the case was
                                                      about. (Gralewski Settl. Decl. at 2)

14. Rosemary Ciccone       Robert Bonsignore      •   IPPs were unable to conduct a deposition of Objector because
                                                      Bonsignore would not accept service of subpoena or provide address
                                                      (Id. at 3)

15. Jeff Craig             Robert Bonsignore      •   IPPs were unable to conduct a deposition of Objector because
                                                      Bonsignore would not accept service of subpoena or provide address
                                                      (Id.)

16. Jeff Speaect           Robert Bonsignore      •   IPPs chose not to conduct the deposition of Objector, an appointed
                                                      class representative, who did not have any issue with the settlement
                                                      until Bonsignore learned the results of an audit of his time (Alioto
                                                      Settl. Decl. II)

17. Gloria Comeaux         Robert Bonsignore      •   IPPs chose not to conduct the deposition of Objector, an appointed
                                                      class representative, who did not have any issue with the settlement
                                                      until Bonsignore learned the results of an audit of his time (Id.)




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           OBJECTOR                 COUNSEL                                              TESTIMONY
    18. Josie Saik2              George Cochran             •   Papers filed “pro se” but Objector is actually represented by Cochran,
                                                                a serial objector
                                                            •   Objector is counsel’s sister’s “best friend”
                                                            •   Objector testified that she was motivated to object, in part, to make
                                                                more money than an individual class member will receive

    19. Elizabeth Kimberly       Charles M.                 •   Objector provided an improper address in her objection (filed in pro
        Johnson3                 Thompson                       per) that seriously delayed the service of the subpoena directed to
                                                                Objector
                                                            •   Objector’s deposition will not be taken until November 19, 2015
                                                                because Objector claims, through Thompson, to be unavailable until
                                                                then
                                                            •   Serial objector Thompson is engaged to be married to the Objector,
                                                                assisted her with her papers, accepted service of the subpoena on her
                                                                behalf, and, on the morning of Ms. Johnson’s deposition, admitted
                                                                that he represents her




2
  The final transcript of Ms. Saik’s deposition is not available at the present time. IPPs will supplement this chart with cites to Ms.
Saik’s transcript when it becomes available.
3
  The final transcript of Ms. Johnson’s deposition is not available at the present time. IPPs will supplement this chart with cites to Ms.
Johnson’s transcript when it becomes available.
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                                                                   Page 1

1                     UNITED STATES DISTRICT COURT
                                FOR THE
2                    NORTHERN DISTRICT OF CALIFORNIA
3
        IN RE: CATHODE RAY TUBE         *    CIVIL ACTION NO:
4       (CRT) ANTITRUST                 *    07-CV-05944-SC;
        LITIGATION                      *    MDL NO. 1917
5                                       *
                                        *
6
        *****************************************************
7
                             ORAL DEPOSITION OF
8                              GORDON MORGAN
                              OCTOBER 30, 2015
9
        *****************************************************
10
                 ORAL DEPOSITION of GORDON MORGAN, produced as a
11      witness at the instance of the Defendant, and duly
        sworn, was taken in the above-styled and numbered cause
12      on the 30th day of October, 2015, between the hours of
        12:56 p.m. and 3:21 p.m., before JULIE WINSTON, CSR, in
13      and for the State of Texas, reported by machine
        shorthand, at Embassy Suites by Hilton, 4337 S. Padre
14      Island Drive, Corpus Christi, Texas, in accordance with
        the Texas Rules of Federal Procedure and the provisions
15      stated on the record or attached hereto.
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25

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1            A.     Yes.

2            Q.     And do you know when that was?

3            A.     I don't remember the date.

4            Q.     Do you remember the date that you first talked

5       to Chris?     Mr. Bandas?

6            A.     No, I don't remember.        I don't remember the

7       date.

8            Q.     But it's your testimony that that -- that you

9       talked to him after receiving notice of the settlement?

10           A.     Yes.

11           Q.     Okay.   And you called him?

12           A.     Yes.

13           Q.     Okay.   Did anyone contact you with respect to

14      the settlement in this case?

15           A.     No, not that I'm aware of.

16           Q.     Okay.   So you haven't -- other than your

17      lawyers, you haven't discussed -- and when I say your

18      lawyers, I mean Mr. Howard and Mr. Bandas at this point.

19      You didn't discuss objecting to the settlement with

20      anybody else?

21           A.     No.

22           Q.     And are you represented by anyone else other

23      than Mr. Bandas and Mr. Howard in connection with this

24      settlement?

25           A.     No.

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1       representing you at this deposition here today?

2                          MR. HOWARD:    I'm going to instruct you not

3       to answer.        The only way you can know that is by

4       Mr. Bandas telling him.

5                          MR. BUETZOW:    Okay.

6            Q.     (BY MR. BUETZOW) Do you know anyone by the name

7       of Tim Hanigan?

8            A.     I don't.

9            Q.     You don't.     Would it surprise you to learn that

10      Mr. Hanigan purports to represent you in this case?

11           A.     Unless he's a member of some sort of team with

12      Chris Bandas and Mr. Howard, I don't know him.

13           Q.     You don't know him?

14           A.     No.

15           Q.     Has he ever represented you before?

16           A.     No.

17           Q.     So it would surprise you to learn that

18      Mr. Hanigan is the one that actually filed your

19      objection and signed it as the lawyer representing you

20      in this case?

21           A.     It wouldn't surprise me if Chris authorized him

22      to do that.

23           Q.     But you've never met Mr. Hanigan before?

24           A.     No.

25           Q.     And it's your testimony Mr. Hanigan, to your

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1       knowledge, has never represented you before in any case?

2            A.     Not to my knowledge.

3            Q.     Okay.   And can you list the cases that

4       Mr. Bandas has represented you before?

5            A.     I can't list them, but I think that it was

6       provided to you.

7            Q.     Okay.

8            A.     The list.

9            Q.     We'll get to that document.                But just off the

10      top of your head, could you estimate how many cases

11      Mr. Bandas has represented you in connection with class

12      action settlements?

13           A.     I think four maybe.

14           Q.     Four?   Okay.     And you couldn't name them off

15      the top of your head?

16           A.     No.

17           Q.     Okay.   We can go over that document.

18                  Have you ever objected to a class action

19      settlement and been represented by anyone other than

20      Mr. Bandas?

21           A.     No.

22           Q.     Do you know Sean Hull?

23           A.     I don't.

24           Q.     You've never met him?

25           A.     No.

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1            Q.     You would like -- well, put it this way.         You

2       would like a new settlement to be made that comports

3       with what you believe is a fair settlement; is that

4       correct?

5            A.     Yes.

6            Q.     Okay.   And has that ever happened in any case

7       in which you have filed an objection?

8            A.     I have no idea.

9            Q.     No idea.   Do you hope to receive any --

10      anything as a result of your objection?

11           A.     I hope to receive something.

12           Q.     And who would that be from?

13           A.     Eventually the settlement or whatever check I

14      get comes from Chris Bandas.          But I don't -- I imagine

15      it comes through the defendants pulling their money to

16      settle out the class members.

17           Q.     And how many instances have you received checks

18      from Chris Bandas?

19           A.     I want to say four.

20           Q.     And what is your understanding of what that

21      money is for?

22           A.     My -- my personal settlement of the objection

23      on that class case.

24           Q.     So it's your settlement of the objection?

25           A.     Of my objection, yes.

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1              Q.    And when that happens, you aren't aware of any
2       changes being made to the settlement, correct?
3              A.    No, I'm not.
4              Q.    And you say that the checks that you receive
5       are directly from Mr. Bandas?
6              A.    Correct.
7              Q.    And this is what you hope to achieve in this
8       case; is that correct?         To receive a check from
9       Mr. Bandas?
10             A.    To -- right.    To settle out my objection.
11             Q.    Okay.   And it doesn't concern you one way or
12      the other whether a change is made to the settlement or
13      a new settlement is made as a result of your objection
14      for the settlement thereof?
15             A.    I don't -- I don't understand exactly what it
16      is that you're saying, but I don't know that it's
17      something that I need to be concerned with.
18             Q.    Okay.   Let me put it this way.         If you receive
19      a check from Mr. Bandas and no changes are made to the
20      class action settlement, that is perfectly okay with
21      you?
22             A.    Once again, I don't understand what you're --
23      I've never been involved in that side of these class
24      cases.      So when you say change to the settlement, I
25      don't understand if that's a positive change; that

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1       there's something positive going on; that they're

2       restructuring the settlement to pay people that they

3       weren't going to pay.

4                   Or is that a negative thing that the settlement

5       itself is no longer in existence or the class is -- I

6       don't know what it is that you're saying.

7            Q.     Well, whether it's a positive or a negative, I

8       don't know that that's really relevant.             But I guess

9       what I'm trying to get at, Mr. Morgan, is that you --

10      you've received monetary payment from Mr. Bandas in each

11      case in which you've objected; is that correct?

12           A.     That's not correct.

13           Q.     That is not correct?

14           A.     No, not -- not each case.

15           Q.     Okay.   And --

16           A.     This one right here was dismissed.

17           Q.     Okay.   And you did not receive a payment in

18      that case?

19           A.     No.

20           Q.     But in your other cases in which you've

21      objected, you've received a monetary settlement?

22           A.     Yes.

23           Q.     In the form of a check from Mr. Bandas?

24           A.     That's correct.

25           Q.     And you have no knowledge of whether or not a

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1       change was made to the settlement?
2            A.     I do -- I don't.
3            Q.     And do you care?
4            A.     It's not a matter of caring.           I mean, I don't
5       know that there's something to care about is what I'm
6       trying to say.
7            Q.     Okay.
8            A.     I don't know what it means.
9            Q.     But it's your hope in this case that you
10      receive a check from Mr. Bandas as a result of your
11      objection?
12           A.     Yes.
13           Q.     Did you authorize your lawyers to file the
14      written objection on your behalf in this case?
15           A.     Yes.
16           Q.     And do you recall when that was?
17           A.     I would think it's in the last three weeks it
18      seems.
19           Q.     And have you reviewed the objection that was
20      filed in your name?
21           A.     Yes.
22           Q.     When was the first time you reviewed that?
23           A.     Probably about just before it was filed.
24           Q.     Do you remember the date?
25           A.     No.

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1            Q.     And as we sit here today, do you still object
2       to the settlement in this case?
3            A.     Yes.
4            Q.     And I believe the -- strike that.
5                   So could we just talk about again in your own
6       words what your objection is to the settlement in this
7       case?
8            A.     I don't believe that it's fair that this case
9       is basically settling out.            I was a consumer, I was a
10      part of this class, but yet I received nothing from the
11      settlement.
12           Q.     Okay.     Anything else?
13           A.     No.
14                         MR. BUETZOW:      This would be a good time to
15      take a break.        Can we go off the record?
16                              (Short break taken)
17                         MR. BUETZOW:      Back on the record.
18           Q.     (BY MR. BUETZOW) Mr. Morgan, if your objection
19      is dismissed in this case in exchange for monetary
20      settlement, you would receive a portion of that
21      settlement, correct?
22           A.     Yeah.     I think so, if I understand your
23      question.
24           Q.     What about my question don't you understand?
25           A.     If -- if my objection is dismissed based on a

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1       monetary settlement, I would get a portion of the

2       settlement.

3                   Are you talking about if Mr. Bandas resolved

4       the objection, and he would pay me a portion of the

5       resolution?        Or...

6            Q.     Yes.     I'm asking you if that's how it works?

7            A.     As far as I understand.

8            Q.     Okay.     And do you know of the overall sum that

9       is paid, what portion do you expect to receive?

10           A.     Oh, I don't -- I don't have any idea.

11           Q.     You don't know?       So if you -- if your objection

12      is settled or dismissed in this case in exchange for a

13      payment, you don't know what portion you would expect to

14      receive?

15           A.     No, I don't.

16           Q.     You were previously referred to a retainer

17      agreement that was produced.            This one is between you

18      and Mr. Bandas.

19                         MR. BUETZOW:    I'd like to mark it as the

20      next exhibit, Exhibit 3.

21                            (Exhibit No. 3 marked)

22           Q.     Mr. Morgan, have you seen this document before?

23           A.     Yes, I have.

24           Q.     And is that your signature on the fourth page?

25           A.     Yes.

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1       know when you're finished.

2            A.     Yes.

3            Q.     Okay.   So that section provides that no

4       settlement or resolution will be made of your objection

5       or any appeal therefrom without your prior approval.

6       That's correct?

7            A.     That's what it -- yes, that's what it reads.

8            Q.     So does your approval right include the right

9       to approve the amount of attorneys' fees that Mr. Bandas

10      would take from a settlement of your objection?

11           A.     I don't know that.

12           Q.     Under your understanding of the agreement, do

13      you believe you have that right to approve Mr. Bandas'

14      attorney's fees portion from any settlement that is

15      received?

16           A.     No.

17           Q.     No what?

18           A.     I don't believe that I have the right to

19      determine the amount of attorney's fees he is going to

20      receive.

21           Q.     Okay.   So what is your understanding of your

22      right to approve the settlement in this section?

23           A.     I know that I'm contacted when the case is

24      going to be -- when the objection is going to be

25      settled, and I always say that's fine.              And then, you

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1       know, the case is settled.          Mr. Bandas tells me, you

2       know --

3                         MR. HOWARD:    Let's not talk about what

4       you've talked about with Mr. Bandas.

5            A.     Anyway, I'm -- I'm informed that I have a

6       settlement check.       I'm assuming everything is taken care

7       of on the class action side, and I receive a check.

8            Q.     And you're never informed how much Mr. Bandas

9       takes --

10           A.     No.

11           Q.     -- in connection with your settlement?

12                  So under this agreement in total, how do you

13      understand that your lawyers are paid in connection with

14      your settlement?

15           A.     The only -- my only understanding is that they

16      take a portion of whatever the settlement is and that

17      anybody that -- I guess that they've signed up as an

18      objector in the case receives, under 3.2, up to a $5,000

19      check.

20           Q.     And it's your understanding that the settlement

21      portion to the objectors never exceeds $5,000?

22           A.     That's what 3.2 says.

23           Q.     And again it's your testimony that you have no

24      right to know or approve the amount of attorneys' fees

25      that are paid out of that settlement?

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1            A.      That's correct.
2            Q.      So is your testimony that you don't know how
3       your lawyers have been paid in the past cases in which
4       you've objected?
5            A.      I don't know.
6            Q.      And you don't know the portions of the
7       settlements --
8            A.      No.
9            Q.      -- that they take as fees?
10           A.      No, I don't.
11           Q.      So in the event of a settlement, is it your
12      understanding -- strike that.
13                   In the event of a settlement, what portion do
14      you expect to receive?           You personally?
15           A.      I just -- whatever it says in this 3.2.                Up to
16      $5,000.
17           Q.      Okay.     And so it's not a percentage so to
18      speak?      It's $5,000 not to be exceeded?
19           A.      It's not a percentage.             It doesn't exceed
20      $5,000.
21           Q.      Okay.     Just so I'm clear, it's again your
22      testimony that you don't have any right to know the
23      amount of attorneys' fees that Mr. Bandas or your
24      lawyers will take in connection with your settlement?
25      I'm sorry.         In connection with settlement of your

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1       objection?

2            A.     I don't have any knowledge of what they take.

3            Q.     And do you have any right to know?

4            A.     I don't see that anywhere in this agreement.

5            Q.     So under your understanding of this agreement,

6       you don't have that right?

7            A.     Correct.

8            Q.     Now, a retainer with Mr. Howard's firm was also

9       produced.     I don't know that we need to mark that as an

10      exhibit, but have you seen that document?

11           A.     I have.

12           Q.     And you signed and dated that document?

13           A.     Yes.

14           Q.     Okay.     And are you responsible for any of the

15      portion of the payment to Mr. Howard's firm --

16           A.     No.

17           Q.     -- for his hourly fees in connection with

18      this -- with this deposition?

19           A.     No.

20           Q.     That is all being paid by Mr. Bandas?

21           A.     That's my understanding, yes.

22           Q.     Okay.     I would like to now direct you to

23      section 5.2 of your agreement with Mr. Bandas' firm.                  It

24      is entitled Association of Co-counsel.                Have you

25      finished reviewing that?

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1            A.     I have.

2            Q.     Okay.     Mr. Morgan, is it your understanding

3       that this section requires your separate agreement in

4       writing before any other counsel is associated to

5       represent you or your objection?

6            A.     It says that in the first sentence.

7            Q.     Okay.     And do any such separate written

8       agreements exist?

9            A.     Not to my knowledge.

10           Q.     Okay.     So did you ever give separate written

11      approval as described in section 5.2 to authorize the

12      association of any co-counsel?

13           A.     I haven't, no.

14           Q.     Is there any other agreement besides this

15      agreement that is in writing between you and Mr. Bandas?

16           A.     No.

17           Q.     So, Mr. Morgan, I have to ask, you don't have

18      any knowledge of how Mr. Hanigan came to appear on your

19      behalf?

20           A.     I don't have any knowledge.

21           Q.     Okay.     And you did not give any approval

22      pursuant to this section to authorize Mr. Bandas to

23      associate Mr. Hanigan to appear on your behalf?

24           A.     I haven't.

25           Q.     So you don't know the terms of -- you don't

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1       know -- you don't know Mr. Hanigan?                  You don't know

2       whether he represents you or not?

3            A.     I don't know Mr. Hanigan.

4            Q.     Do you know whether he represents you or not?

5            A.     I don't know that.

6            Q.     Okay.   You don't know how he is being paid in

7       connection with your objection?

8            A.     I have no idea.

9            Q.     So you don't have any other agreements with any

10      other lawyers other than the agreement between you and

11      Mr. Bandas and Mr. Bandas' agreement with Mr. Howard's

12      firm in connection with this case?

13           A.     That's correct.

14           Q.     Are you aware of any verbal agreements with

15      anyone that pertain to this case?

16           A.     I'm not.

17           Q.     So you don't have any verbal or unwritten

18      agreements with anyone pertaining to this case?

19           A.     No.

20           Q.     Aside from your lawyers, have you ever

21      discussed with anyone receiving money in connection with

22      filing this objection?

23           A.     I have not.

24           Q.     Under your understanding of your agreements

25      with your lawyers, who is responsible for any cost that

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1       your attorney incurs in connection with your objection?

2            A.     My understanding is Mr. Bandas is responsible.

3            Q.     Okay.   So are you aware of any arrangements

4       between your lawyers and any other lawyers in connection

5       with this case?

6            A.     I am not.

7            Q.     Are you aware of any arrangements among your

8       lawyers and any other objectors in this case other than

9       Mr. Hull?

10           A.     I am not.     I'm not even aware of him.

11           Q.     Okay.   Have you received any money or payment

12      to date from anyone in connection with your objection in

13      this case?

14           A.     I have not.

15           Q.     Okay.   I'm going to mark this next document as

16      Exhibit 4.

17                          (Exhibit No. 4 marked)

18           Q.     And have you seen this document before?

19           A.     I have not.     Well, I -- I may have seen this

20      document.

21           Q.     And when was the first time that you saw it?

22           A.     Can I have a second to look it over?

23           Q.     Sure.   Absolutely.

24           A.     I have seen it.

25           Q.     Okay.   Do you know what this document is?

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1            A.     It's the objection that's filed in this CRT

2       case.

3            Q.     Do you understand that's the objection that was

4       filed in your name with the court?

5            A.     Yes, yeah.   My signature is on the back.

6            Q.     And when was the first time you saw this

7       document?

8            A.     Probably October 5th or maybe 4th.

9            Q.     Okay.   And who wrote it?

10           A.     Who wrote the document?

11           Q.     Correct.

12           A.     I don't know.

13           Q.     You don't know.      You didn't write the document?

14           A.     No, I did not write the document.

15           Q.     Okay.   Let's see.     And just briefly, if you can

16      flip to page seven where you'll see a signature of the

17      attorney that submitted the document.

18           A.     (Witness complying.)

19           Q.     Do you see where it says, Respectfully

20      submitted Timothy R. Hanigan?

21           A.     Yes.

22           Q.     And again you don't know who Mr. Hanigan is?

23           A.     No.

24           Q.     You have never met Mr. Hanigan?

25           A.     I have never met Mr. Hanigan.

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1            Q.     You have never signed a retainer agreement with

2       Mr. Hanigan?

3            A.     Never signed a retainer agreement.

4            Q.     Do you know how Mr. Hanigan came to submit this

5       objection in your name?

6            A.     I have no idea.

7            Q.     Turn to the very last page.

8            A.     (Witness complying.)

9            Q.     Is that your signature, Mr. Morgan?

10           A.     Yes.

11           Q.     Okay.     And you dated that October 6th?

12           A.     That's correct.

13           Q.     And did you review this document before

14      executing that signature page?

15           A.     Yes.

16           Q.     So is there anything in this document that is

17      inaccurate or is there anything that you disagree with?

18           A.     I've read it several times, a couple times, and

19      I -- there's nothing that I disagree with.

20           Q.     Do you know what the settlement class is with

21      respect to the settlement agreement to which you object?

22      Do you know who was in the class?

23                         MR. HOWARD:    I'm sorry.          What was the

24      question?

25                         MR. BUETZOW:    Does he know the class?

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1            Q.     That's your wife?

2            A.     Yeah.

3            Q.     Okay.    So you guys practice law together?

4            A.     Yes.    We -- we practice law in the same office.

5       Her name is Gabbie Canales-Morgan.

6            Q.     So you practice law together under one firm?

7            A.     No, we're totally separate, but we practice

8       together.     Same -- same suite, same building, same

9       office.

10           Q.     Okay.    And when did she join your practice or

11      your office?

12           A.     She -- probably 2005, maybe 2006.

13           Q.     Okay.    And is your testimony that she had a

14      separate practice from yours?

15           A.     Yes.

16           Q.     Okay.    Did you share office space?

17           A.     Yes.

18           Q.     Okay.    But they were separate legal entities?

19           A.     That's correct.

20           Q.     Okay.    And did you work for anyone else until

21      you resigned in 2012?

22           A.     No.

23           Q.     Okay.    So what led to your resignation from the

24      practice of law in 2012?

25           A.     Failure to timely pay medical expenses in an

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1       accident case.
2            Q.     And failure to timely pay whom?
3            A.     Medical care providers.
4            Q.     Were these medical care providers for your
5       clients?
6            A.     Yes.
7            Q.     And was there one instance of this or multiple
8       instances?
9            A.     It was one case.        Two -- two clients.
10           Q.     Okay.   And was there any other basis for your
11      resignation?
12           A.     No.
13           Q.     Did you ultimately pay the medical expenses
14      that were at issue?
15           A.     They had been paid.          It's a timely thing.        I
16      don't know if you have ever practiced injury law.
17           Q.     I have not.
18           A.     Well, there's real strict -- real strict time
19      frames, and I kind of got in a situation where they
20      weren't paid timely.
21           Q.     Okay.
22           A.     Timely is like within weeks of settlement.
23           Q.     Okay.
24           A.     But they were all paid.
25           Q.     They were all paid.          Was there any allegation

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1                          MR. BUETZOW:    Correct.           In this case.

2              A.   It bothers me.

3              Q.   It bothers you?

4              A.   Yeah.

5              Q.   Okay.     And if I told you that none of your

6       objections in your prior cases have resulted in any

7       changes for any other member of the class, would that

8       bother you?

9              A.   Yes.

10             Q.   Yes.     But you don't know whether members of the

11      class have in any way benefited from your objections in

12      the past?

13             A.   I do not know.

14             Q.   You don't know.       Have you ever tried to find

15      out?

16             A.   No.

17             Q.   Okay.     Would you continue to object and accept

18      financial payment in exchange for dismissing your

19      objection if you knew that the rest of the settlement

20      class would not receive any benefit from that objection?

21                         MR. HOWARD:    Objection.           Calls for

22      speculation.

23             A.   I would continue with my objection.

24             Q.   You would?

25             A.   Yes.

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1            Q.     Knowing that no other class member would
2       benefit?
3                          MR. HOWARD:     Objection.       Calls for
4       speculation.
5            A.     I would continue forward.
6            Q.     And is that because you receive monetary
7       compensation for your purchases?                For your objection
8       rather?
9            A.     That's part of it.          And I would hope that
10      others would receive as well.              But if you're -- if what
11      you're saying is that no one else is going to receive
12      anything based on my objection, I would still move
13      forward.
14           Q.     You would?
15           A.     Yes.
16           Q.     Okay.     And you would still resolve your
17      objection in exchange for monetary payment knowing that
18      the class members would not receive any other benefit?
19                         MR. HOWARD:     Objection.       Calls for
20      speculation.
21           A.     Yes.
22                         MR. BUETZOW:      No further questions.
23                         MR. HOWARD:     I'm good.
24
25                            (Deposition Concluded)

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1       UNITED STATES DISTRICT COURT
        NORTHERN DISTRICT OF CALIFORNIA
2       SAN FRANCISCO DIVISION
3       Case No. CV-07-5944-SC
        _________________________________________________
4
        DEPOSITION OF SEAN KENNETH HULL November 2, 2015
5       _________________________________________________
6       IN RE: CATHODE RAY TUBE (CRT)
        ANTITRUST LITIGATION
 7      _________________________________________________
 8      This Document Relates to:
 9      All Indirect-Purchaser Actions.
10      _________________________________________________
11      APPEARANCES:
12           ZELLE HOFMANN VOELBEL & MASON LLP
                   By Eric W. Buetzow, Esq.
13                    44 Montgomery Street, Suite 3400
                      San Francisco, California 94104
14                    (415) 693-0700
                        Appearing on behalf of Plaintiffs.
15
               LISKOW & LEWIS
16                   By Wade T. Howard, Esq.
                        1001 Fannin Street, Suite 1800
17                      Houston, Texas 77002
                        (713) 651-2900
18                        Appearing on behalf of Deponent.
19
20
21
22
23
24
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1              A      I'm not aware of any of those documents
2       and did not find any.
3              Q      But you looked for them?
4              A      Yes.
5              Q      Okay.     So you've received settlement
6       checks from your lawyers in connection with the
7       settlement of your objections, correct?
8              A      No.
9              Q      You've never received a check in
10      connection with any of your settlements in the
11      last 10 -- I'm sorry, any of your objections in
12      the last 10 years?
13             A      Never a check.
14             Q      Never a check.           Have you ever received
15      monetary compensation in the last 10 years?
16             A      I received a gift for one, a watch for
17      one objection case.
18             Q      So you received a gift in the form of a
19      watch?
20             A      Correct.
21             Q      And what case was that for?
22             A      Smokeless tobacco.
23             Q      Okay.     And it's your testimony that
24      with respect to all of your other objections, you
25      have never received any monetary payment

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1       whatsoever?
2              A      Do the deposition -- the deposition
3       checks don't count?
4                     MR. HOWARD:        I don't think so.
5              Q      (By Mr. Buetzow)            I would not include
6       deposition.
7              A      Okay.     No.
8              Q      And that is even after the settlement
9       of your objection?
10             A      That's correct.
11             Q      Okay.     So do I understand your
12      testimony that after your objection has been
13      settlement -- I'm sorry, after your objection has
14      been settled, you have received no portion of any
15      proceeds obtained for settling that objection?
16                    MR. HOWARD:        So are you representing to
17      him that his -- there have been some of his
18      objections that have been settled?
19                    MR. BUETZOW:         I'm asking him.
20                    MR. HOWARD:        Okay.       Well, I think that
21      would be the first question to ask before you ask
22      him if he got a check after his --
23             Q      (By Mr. Buetzow)            Mr. Hull, you
24      understand that numerous of your objections have
25      been settled in the past; is that correct?

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1              A      Yes.
2              Q      Okay.     So is it your position that with
3       the exception of the gift of a watch that you
4       received in the smokeless tobacco case, you have
5       never received any form of monetary compensation
6       following the settlement of those cases?
7              A      That's correct.
8              Q      Okay.     So you have received zero
9       portion of any settlement proceeds that were
10      obtained for settling your objection?
11             A      Correct.
12             Q      Do you know where those proceeds went?
13             A      No.
14             Q      You don't know?
15             A      No.
16             Q      Okay.     So your lawyer -- your lawyers
17      settled your objections in many of these cases in
18      which you objected, and you don't know where any
19      of the money went?
20             A      No.     It's -- my reason for objecting is
21      not to increase monetary compensation or get
22      monetary compensation.
23             Q      Okay.     So does -- do -- do you know if
24      the monetary compensation received in exchange for
25      settlement of your objections was retained by your

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1       lawyers?
2               A     I don't know.
3               Q     You don't know?
4               A     I don't know.
5               Q     They've never told you?
6               A     I've never asked.
7               Q     You never asked.            Do you understand if
8       you have the right to know that information?
9               A     It's, again, not something I'm
10      concerned with.
11              Q     Okay.     So how would you describe your
12      motivation in objecting in the prior cases in
13      which a settlement of your objection was the
14      resolution of that objection?
15              A     I think every case had a different
16      motivation.      You want to talk about a specific
17      case?
18              Q     Sure.     We can talk about them
19      specifically in a bit.           I was just wondering if
20      there was a general motivation, if you had a
21      specific aversion to class objections or what your
22      motivation was, but if it's case specific, we can
23      go through those.
24                    THE DEPONENT:          Is it okay to be
25      general?

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1              Q      By a judge?
2              A      By a judge.
3              Q      Okay.     And would that be just the trial
4       court judge?
5              A      Or the appellate court judge depending
6       on how far the case goes.
7              Q      Or the appellate judge.              But do you
8       understand that when your settlement is dismissed
9       following a settlement -- I'm sorry, strike that.
10                    Do you understand that when your
11      objection is settled and thereafter dismissed,
12      that no change is made to the class action
13      settlement?
14             A      So in some cases, yes.
15             Q      Okay.
16             A      But we have also been successful,
17      too --
18             Q      Right.
19             A      -- in getting the settlement changed.
20             Q      So in the instances in which your
21      objections have been -- have been settled, why did
22      you approve a settlement that made no change to
23      the class action settlement?
24             A      Because it accomplished my goal of
25      having an initial inspection.

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1              Q      And that is the only goal of your
2       objections, normally?
3              A      Ideally if -- you know, it's not for me
4       to decide ultimately if the judge finds it
5       incorrect, but it's, you know . . .
6              Q      Okay.     Okay.      So let's set aside
7       Exhibit 1 for a second.
8                     Mr. Hull, when did you first learn of
9       the settlement in this CRT case?
10             A      I can't recall exactly.
11             Q      You don't recall.             Could you estimate
12      generally whether it was in the last two months,
13      the last four months, the last six months?
14             A      I'm not sure.
15             Q      Okay.     Do you recall how you learned
16      about it?
17             A      No, I don't.
18             Q      Okay.     So in determining that you
19      objected to the settlement, what did you review?
20             A      I don't recall.
21             Q      You don't recall a single document that
22      you reviewed in determining that you objected to
23      the settlement?
24             A      I don't recall exactly what I reviewed
25      in this case.

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1              Q      Okay.     Do you know what the terms of
2       the settlement are generally?
3              A      Yes.
4              Q      Okay.     And could you just generally
5       describe them in your own words?
6              A      I know there's a remedy for purchasers
7       -- for members of the class to receive nominal
8       monetary compensation.
9              Q      Okay.     And what terms do you object to?
10             A      I believe it's stated in my objection.
11             Q      Okay.     But I'm asking you, without --
12      without your written objection, in your own words,
13      what -- what are the terms that you object to?
14             A      I believe my goal is to have it looked
15      at more closely by a judge.
16             Q      Okay.     But you can't describe the
17      specific terms that you object to?
18             A      No.
19             Q      Okay.     And then I take it you can't
20      describe what you think the terms of the
21      settlement should be?
22             A      I had a verbal discussion with
23      Mr. Bandas regarding what I objected to, and he
24      prepared the objection for me.
25             Q      Okay.     But other than what is stated in

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1       your written objection, you cannot state what you
2       believe the terms of the settlement should be?
3              A      Well, I believe there are certain
4       aspects of the settlement that are unfair to me
5       and to other members of the class.
6              Q      And can you just -- all I'm looking for
7       is what aspects you believe are unfair.
8              A      I believe the monetary compensation is
9       not substantial.
10             Q      Okay.
11             A      I believe some of the requirements
12      around foreign nationals are not appropriate.
13             Q      Anything else?
14             A      That's all I can recall.
15             Q      Okay.
16             A      But I did have a conversation regarding
17      the objection.
18             Q      Okay.     So when you determined that you
19      wanted to object to the settlement -- I'm sorry,
20      do you recall when you determined that you wanted
21      to object to the settlement?
22             A      No.
23             Q      Do you recall what caused you to object
24      to the settlement?
25             A      No.

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1               Q     Okay.     So you can't say why you decided
2       to take the affirmative step of objecting in this
3       case?
4               A     Well, I objected because I didn't agree
5       with the terms of the settlement and thought that
6       they should -- they warranted further inspection.
7               Q     Okay.     And then what did you do?
8               A     I contacted Mr. Bandas.
9               Q     Okay.     So you initiated contact with
10      Mr. Bandas after reviewing something or getting
11      some sort of a verification?
12              A     Mr. Bandas is my attorney, and I have
13      frequent conversations with him.                   I don't recall
14      exactly when we initiated this conversation.
15              Q     Okay.     But is it your testimony that
16      you initiated the conversation with Mr. Bandas?
17              A     Regarding this?
18              Q     Yes.
19              A     Yes.
20              Q     And you don't recall what caused you to
21      initiate that conversation with Mr. Bandas?
22              A     No.
23              Q     Has anyone else contacted you with
24      respect to this litigation or the class settlement
25      besides your lawyers?

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1       strike that.
2                     Did you object in all of the cases that
3       are listed in this letter?
4               A     Some of them are familiar.
5               Q     But you don't know?
6               A     Some of these don't look familiar at
7       all, so no.
8               Q     Okay.     Let's go through them.           The
9       first case is the "Aetna UCR Litigation."                  Did you
10      file an objection in that case?
11              A     I can't recall.
12              Q     So you have no idea whether you
13      objected?
14              A     I think I did, actually.
15              Q     Okay.
16              A     Yeah.
17              Q     And was Mr. Bandas your lawyer in that
18      case?
19              A     I think so.        I -- he's my lawyer.
20              Q     Has he been your lawyer in every case
21      in which you have presented an objection?
22              A     Yes --
23              Q     Okay.
24              A     -- other than his cocounsel like
25      Mr. Howard or Hanigan.

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1              Q      But I guess my point is, Mr. Bandas is
2       the common denominator.            He has represented you in
3       every case, but there may have been others that he
4       has --
5              A      Yes.
6              Q      Okay.     And do you know what the result
7       of your objection in this case was?
8              A      I don't recall.
9              Q      Okay.     So you don't recall whether your
10      objection was settled in this case?
11             A      That one, no, I don't.
12             Q      Okay.     Do you recall whether you
13      received anything, whether it be a watch or a
14      check or cash, in connection with the settlement
15      of this case?
16             A      Like I stated before, I received
17      something once.
18             Q      Okay.     And that was only for smokeless
19      tobacco?
20             A      Correct.
21             Q      Are you hoping to receive any
22      compensation in connection with this case?
23             A      No.
24             Q      You're not hoping to receive another
25      watch from Mr. Bandas?

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1               Q     So as far as cases in which you've
2       objected, we have "Aetna," "Groupon," "DRAM," and
3       the "U-Hall" case, as far as this list goes.
4               A     Yes, and the smokeless is not on this
5       list.
6               Q     And smokeless tobacco.                 That's five
7       cases when you combine the district court
8       proceedings and the appellate court proceedings.
9               A     Uh-huh.
10              Q     Are there any others that you can
11      remember?
12              A     Not that I can remember.
13              Q     Okay.     So does five objections over the
14      last 20 years or so, does that sound accurate?
15              A     There could be more.                 Those are the
16      ones I can remember.
17              Q     Okay.     And you can't recall whether and
18      how many of these five cases your objections were
19      settled and dismissed?
20              A     I believe -- well, I know Groupon
21      resulted in a change in the settlement.                    As far as
22      I know, the other ones did not.
23              Q     Okay.     And so the other cases in which
24      no changes were made --
25              A     I don't know if no changes were made.

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1               A     I don't know.
2               Q     You don't know.           And in the cases in
3       which you do appeal, what is the purpose of the
4       appeal?
5               A     To see that the case is reviewed and
6       that hopefully the terms of the settlement change
7       for the members of the class.
8               Q     And you -- and do I take it that you're
9       going to give that answer for all of the cases in
10      which you have filed an objection?
11              A     That would be a safe assumption, yes.
12              Q     Okay.     In the cases -- you acknowledge
13      that there have been cases that have -- strike
14      that.
15                    You acknowledged earlier that you have
16      settled and dismissed some of your class action
17      objections, correct?
18              A     Yes.
19              Q     Yes.    Okay.      And did you approve those
20      settlements?
21              A     I'm sure I did, yeah.                 I don't recall
22      approving them.
23              Q     You don't recall whether you approved
24      them or not?
25              A     They were dismissed.                 Do I have to?     I

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1       don't know.      I don't recall approving them.
2              Q      Okay.     So you -- you haven't -- you
3       don't recall approving a single settlement of any
4       of your objections?
5              A      Specifically, no, I don't.
6              Q      Okay.     And so is it safe to assume that
7       you don't know what the terms of the settlement of
8       your objection was?
9              A      I leave that to the attorneys.
10             Q      Okay.     So you -- you leave that aspect
11      to the attorneys, and as a consequence, you never
12      know what the terms of the settlement of your
13      objection are?
14             A      No.
15             Q      I'm sorry, "No," you do not know?
16             A      I do not know.
17             Q      Okay.     So when a case -- strike that.
18                    So when an objection that you have
19      filed is settled and dismissed, you do not know
20      and you never have known the terms of the
21      settlement of that objection?
22             A      I have a -- typically I would have a
23      conversation with my attorney, Mr. Bandas, and
24      review the terms of the settlement, but I don't
25      recall the specifics of the terms of each

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1       objection.
2              Q      Okay.
3              A      And ideally, I'm not selfish.                 I would
4       hope that the terms of the settlement would
5       improve for all members of the class, not just
6       myself.
7              Q      Okay.     Are you aware of instances in
8       the past in which Mr. Bandas or Mr. Hanigan have
9       dismissed objections without any changes being
10      made to the settlement and only obtaining
11      financial payment for themselves?
12             A      I'm not aware.
13             Q      If there were such instances, would
14      that bother you?
15             A      No.
16             Q      Why not?
17             A      I'll use a bit of a baseball analogy.
18      You can't -- you know, you have to step up to the
19      plate to hit a home run, right?                    So to win a case
20      like Groupon, sometimes you might have to go
21      through other ones that aren't going to be
22      successful.
23             Q      And in those cases in which you say are
24      not successful, you're okay with a resolution that
25      only provides monetary compensation to the -- to

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1       your lawyers?
2              A      The compensation to Mr. Bandas and my
3       attorneys is really not my concern.
4              Q      Okay.     You're not concerned with it?
5              A      No, I'm not.
6              Q      So would you ever settle and dismiss
7       your objection in this case if you knew that the
8       only thing that would be obtained in exchange
9       would be monetary compensation to your lawyers?
10             A      That's a hypothetical situation that
11      hasn't come up, so are you asking in the future if
12      I would do that?
13             Q      I'm asking if -- if given -- given your
14      response that you're not concerned with instances
15      in the past in which your lawyers have objected to
16      class action settlements in exchange for only
17      obtaining monetary compensation for themselves,
18      you would have no problem doing that in this case,
19      correct?
20             A      It would depend on -- we would have a
21      discussion regarding the case, and if everything
22      had been exhausted and there was no other
23      alternative, again, I'm not really concerned about
24      how my attorney gets paid.
25             Q      Okay.     So you're not concerned if your

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1       attorney gets paid but no result is otherwise
2       obtained?
3              A      The attempt is made to change the
4       result.     If it's not successful, he should still
5       get compensated.
6              Q      So are you okay with that?
7              A      I am okay with that, yes.
8              Q      Okay.     If your objection is overruled
9       by the district court, the trial court in this
10      case, do you plan to appeal?
11             A      I would have a discussion with my
12      attorneys and decide whether an appeal was
13      warranted based on the facts of the specific case.
14             Q      Okay.     And as you sit here today, do
15      you have an understanding of why you might appeal?
16             A      For this case, no.
17             Q      Okay.     What about in prior cases, do
18      you have an understanding of why appeals were
19      taken?
20             A      We've had discussions as to why appeals
21      were taken.
22             Q      Okay.     And by we you mean between you
23      and your attorneys?
24             A      Correct.
25             Q      Okay.     Outside of discussions between

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1              Q      In cases -- prior cases in which you've
2       objected and that objection was settled by your
3       attorneys --
4              A      Uh-huh.
5              Q      -- did you approve the amount of
6       attorneys' fees that would be received by your
7       attorneys, Mr. Bandas and his firm?
8              A      I approved the settlement, but I'm not
9       sure if it included attorneys' fees.                I don't have
10      any recollection of it including attorneys' fees.
11             Q      In your understanding of your agreement
12      with Mr. Bandas, do you have the right to approve
13      the attorneys' fees that he can receive in
14      connection with your settlement objection?
15             A      I don't know.
16             Q      You don't know?
17             A      No.
18             Q      So if your objection in this case was
19      settled by Mr. Bandas, what percentage of the
20      settlement would you expect to receive?
21             A      I don't expect to receive any
22      percentage of the settlement.
23             Q      Okay.     So that would be zero?
24             A      Yes.
25             Q      Okay.     And your lawyers would receive

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1       100 percent of any monetary compensation?
2               A     I don't really get involved with what
3       they get paid.
4               Q     Okay.      Would it be okay with you if
5       they received 100 percent of the compensation of
6       any settlement?
7               A     I'm not sure.           I've never had that
8       happen, if they've received 100 percent in the
9       past, so . . .
10              Q     I'm sorry, can you say that again?
11              A     So would I be okay if they received
12      100 percent of the compensation?                   Again, I'm not
13      in this to get compensated.
14              Q     I understand that.               My question is
15      would you be okay if they took 100 percent of any
16      monetary compensation that was obtained in
17      connection with settling your objection?
18              A     Yes.
19              Q     In the event of a settlement of your
20      objection, what's your understanding of how your
21      lawyers get paid under this agreement?
22              A     I haven't really asked, so I don't
23      know.
24              Q     You don't know?
25              A     No.

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1              Q      And when you signed this agreement, did
2       you have any understanding of that?
3              A      I understood that I was not responsible
4       to pay attorneys' fees.
5              Q      Okay.
6              A      But no, I don't know.
7              Q      So if your objection is settled on
8       appeal, for example, you don't have an
9       understanding how your lawyers would be paid under
10      this agreement?
11             A      No.
12             Q      And, again, do you have the right to
13      know the amount of fees that your lawyers will be
14      paid in connection with a settlement of your
15      objection as you understand the terms of this
16      agreement?
17             A      I -- I -- I don't care, but I don't
18      understand -- you know, I don't understand if I
19      have a right to know or not.
20             Q      Okay.
21             A      But regardless, I wouldn't be concerned
22      about it.
23             Q      But under your understanding of the
24      agreement, you can't point to any provision that
25      confers that right, can you?

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1              A      No.
2              Q      And you don't know whether Section 2.3
3       confers that right?
4              A      Sorry, I'm not sure what the last
5       sentence refers to, but it could refer to that.
6              Q      So you understand that you do have the
7       right to approve the amount of attorneys' fees?
8              A      Yes.    Sorry, I didn't mean to nod.
9              Q      And those attorneys' fees could be in
10      connection with the settlement of your objection,
11      correct?
12             A      Yes.
13             Q      Okay.     But it's your testimony that you
14      just don't know whether you have ever approved the
15      amount of attorneys' fees in the past?
16             A      I don't -- I don't recall.
17             Q      So is it your testimony that you don't
18      know how your lawyers have been paid in past cases
19      in which you've objected?
20             A      That is correct.            I never asked,
21      though, either.
22             Q      Understood.        And you don't have an
23      understanding of what percentage of any monetary
24      compensation that was obtained in connection with
25      your objection that was retained by the lawyers as

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1       attorneys' fees?
2              A      No.     I understand -- I've read the --
3       the initial class action settlement and understood
4       what the plaintiffs were getting.                  Is that what
5       you're asking?
6              Q      No, I'm not asking that.               I'm asking --
7       you just testified that you're not aware of how
8       your lawyers were paid in past cases in which
9       you've objected, and these objections were
10      settled, correct?
11             A      Correct.
12             Q      Okay.     So is it fair to also say that
13      you don't know the portion of any monetary
14      compensation that your lawyers took that was
15      received in connection with settling that
16      objection?
17             A      Correct, I do not know the portion my
18      attorneys received.
19             Q      Okay.     Let's set that exhibit aside.                I
20      don't know that we need to mark it as an exhibit,
21      but, Mr. Hull, did you sign a retainer with
22      Mr. Howard's firm in connection with depositions
23      in this case?
24             A      Yes.
25             Q      Okay.     And how do you understand that

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1               Q     (By Mr. Buetzow)            You don't know why?
2               A     No.
3               Q     Okay.     But is it accurate that you do
4       not intend to appear at the hearing?
5               A     That is accurate.
6               Q     And you understand that no counsel will
7       be appearing on your behalf at the hearing?
8               A     I understand.
9               Q     Okay.     And are you okay with that?
10              A     Yes.
11              Q     And if you feel strongly about your
12      objection, Mr. Hull, why are you okay with that?
13              A     My goal is to have this reviewed by
14      another court, and I don't see that it requires my
15      attending the objection hearing to accomplish
16      that.
17              Q     And what about your lawyers'
18      attendance?
19              A     That's a decision for my lawyers.
20      That's up to my lawyers.             They're the legal
21      experts.
22              Q     Okay.     I'd like you to turn to the next
23      page, please.        And do you see the heading of
24      Section 1 that is entitled, quote, The Lack Of
25      Adequate Notice To Non-US Residents?

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1              A      Yes.
2              Q      Mr. Hull, does this section apply to
3       you?
4              A      I am a U.S. resident, so I would have
5       to read it.      It does not.
6              Q      So if this section does not apply to
7       you, do you personally object on this basis?
8              A      Yes.
9              Q      Okay.     And why is that?
10             A      I don't believe it's fair to
11      residents -- or to people that may have purchased
12      the product in this state and then moved.
13             Q      And when you say, "this state," what do
14      you mean?
15             A      One of the states included in the
16      class.
17             Q      Okay.     And as you stated, you are a
18      U.S. resident, correct?
19             A      Correct.
20             Q      You currently live in Colorado?
21             A      Correct.
22             Q      You presently -- or previously lived in
23      California?
24             A      Yes.
25             Q      So why is it that you're concerned with

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1       the notice that was received or not received by
2       non-U.S. class members?
3              A      I think I stated that I don't believe
4       it was -- it -- if they purchased in one of the
5       states under the class, they should still be
6       eligible for a settlement --
7              Q      Okay.
8              A      -- regardless of where they live today.
9              Q      But when you just testified before that
10      this section doesn't apply to you, do you mean
11      that you are not personally affected by the notice
12      that was given to residents of foreign countries?
13             A      That is correct.
14             Q      Okay.     And given your understanding
15      that you are not in any way affected by the notice
16      given to non-U.S. residents, do you still object
17      on this basis?
18             A      Yes.
19             Q      I'd like you to look at Section 2 on
20      the following page, please.               The section is
21      entitled, "The Release Of Claims By Outside
22      Nationwide Class Members."              Do you see that?
23             A      Yes.
24             Q      Okay.     And can you explain what is
25      meant by this portion of your objection?

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1              A      It means that people who purchased the
2       product indirectly outside of the states listed
3       are not eligible to file a claim in a post
4       settlement.
5              Q      And does this section apply to you?
6              A      No.
7              Q      Okay.      And is that because you made
8       your purchases within a state that was listed in
9       the previous section as being in the statewide
10      damages class, correct?
11             A      Correct.
12             Q      And that would be the state of
13      California?
14             A      That's correct.
15             Q      So the purchases that you're claiming
16      with respect to your membership in the class
17      originate in California?
18             A      Yes.
19             Q      Okay.      So you agree, then, that this
20      section does not apply to you?
21             A      That's correct.
22             Q      But, Mr. Hull, is it personally a
23      grounds for your objection?
24             A      I still object in that I don't think
25      it's fair to members of the class in that

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1       situation.
2              Q      Okay.     But when you said this section
3       does not apply to you, again, you understand that
4       you are not affected by claims outside of states
5       in which you purchased, correct?
6              A      Sure, but I think I mentioned my goals
7       were not really to specifically increase
8       compensation for myself but to help other members
9       of the class as well.
10             Q      I understand that.
11             A      Sure.
12             Q      I just want to make sure we're on the
13      same page --
14             A      Okay.
15             Q      -- that this -- you are not personally
16      affected by the arguments that are contained in
17      Section 2.
18             A      Correct.
19             Q      Okay.     Now, you mentioned just a second
20      ago that CRT is an outdated technology that's
21      essentially no longer used, correct?
22             A      Yes.
23             Q      Okay.     And do you understand that the
24      -- in the other states that this Section 2 applies
25      to, that those states do not permit any antitrust

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1       instruct the witness not to answer because the
2       only way he could know that would be based on
3       correspondence or communication with his attorney.
4                     MR. BUETZOW:         Okay.       Fair enough.
5              Q      (By Mr. Buetzow)            Mr. Hull, if I told
6       you that on Friday Mr. Morgan testified that he
7       hopes to receive a check from Mr. Bandas after
8       Mr. Bandas settled his objection, would that
9       bother you?
10             A      No.
11             Q      And why doesn't that bother you?
12             A      Because my goals are not to receive
13      monetary compensation for myself but to improve
14      the benefits for all the members of the class and
15      make sure they're all treated fairly.
16             Q      But you're okay if that is Mr. Morgan's
17      objective?
18             A      Yeah.
19             Q      Okay.     You're okay if it's Mr. Morgan's
20      objective to receive a check from Mr. Bandas after
21      Mr. Bandas settles the objection?
22             A      I'm fine with that.
23             Q      Okay.     And you're aware that
24      Mr. Morgan's name is on your objection?
25             A      Yes, I am.

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1               Q     And, again, that doesn't bother you?
2               A     No.     People have different motivations
3       for doing things.
4               Q     So if the resolution in this case was a
5       settlement of the objection by Mr. Bandas and a
6       payment of some form to Mr. Morgan, you would --
7       would you be okay with that?
8                     MR. HOWARD:        Objection, calls for
9       speculation.        You can go ahead and answer if you
10      can answer.
11              A     I really wouldn't be concerned.
12              Q     (By Mr. Buetzow)            You couldn't be
13      concerned?
14              A     No.
15              Q     Okay.     But if Mr. Bandas settles the
16      objection, wouldn't your objection go away as
17      well?
18                    MR. HOWARD:        Objection, calls for
19      speculation.
20              A     I -- I don't understand how, you know,
21      if one objector settles, the other one stays on.
22      I don't understand the legal mechanism behind
23      that.
24              Q     (By Mr. Buetzow)            Okay.    So we
25      previously talked about how you're unaware of any

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1       cases in which -- strike that.
2                     We previously talked about how you
3       don't know how the lawyers were paid in the cases
4       in which you've objected, but the objections were
5       settled and dismissed, correct?
6              A      Correct.
7              Q      Okay.      And if that happened in this
8       case and Mr. Morgan received a check from
9       Mr. Bandas as a result and Mr. Bandas and
10      Mr. Hanigan took the remainder of any monetary
11      compensation under the settlement, that would not
12      bother you?
13                    MR. HOWARD:          Objection, calls for
14      speculation.       You can answer if you can.
15             A      Honestly, it wouldn't bother me.
16             Q      (By Mr. Buetzow)             Okay.
17             A      My motivation is not really to receive
18      additional monetary compensation for myself.
19             Q      Okay.      But you're okay if others
20      associated with the objection receive monetary
21      compensation for themselves?
22             A      The agreements -- yeah, I don't care.
23      It wouldn't bother me.
24                    MR. BUETZOW:          Okay.          All right.
25      Mr. Hull, I have no further questions.

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                                                                   Page 1

1                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
2
3
4       IN RE:
        CATHODE RAY TUBE (CRT)
5       ANTITRUST LITIGATION
6                        Civil Action No. 07-CV-05944-SC; MDL NO. 1917
7
8                         DEPOSITION OF LAURA FORTMAN
                                October 28,2015
9
                           Jo Ann Dickson, CCR 1085
10
11      (Whereupon, the deposition commenced at 1:00 p.m.)
12
13
14
15
16
17
18
19
20
21
22
23
24
25

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1                          IT IS HEREBY STIPULATED AND AGREED, by and

2            between counsel that the deposition of LAURA FORTMAN may be

3            taken in shorthand by Jo Ann Dickson, a certified shorthand

4            reporter, and afterwards transcribed into typewriting; and

5            the signature of the witness is expressly waived.

6                                        * * * * *

7                                   LAURA FORTMAN,

8            of lawful age, being produced, sworn and examined:

9                                 DIRECT EXAMINATION

10           BY MR. SCHIRMER:

11                     Q   Would you please state your name for the

12           record.

13                     A   Laura Fortman.

14                     Q   Ms. Fortman, do you have a lawyer here

15           representing you today?

16                     A   Yes.

17                     Q   Who is it?

18                     A   My husband.

19                     Q   Your husband, okay.         I understand that you

20           have -- do you understand why you're here today?

21                     A   Yes.

22                     Q   And you understand that you're here pursuant

23           to the subpoena?

24                     A   Yes.

25                         MR. SCHIRMER:      Would you please mark this as

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                                                                        Page 7

1                     Q    -- to the settlement to the in re:          Cathode

2            Ray Antitrust Litigation, am I right?

3                     A    Yes.

4                     Q    And in connection with your objection to the

5            settlement in the cathode ray, CRT case, if you don't mind

6            if I can use that the rest of the day, are there any other

7            attorneys representing you in connection with your

8            objection and response?

9                     A    No.

10                         (Thereupon, Exhibit 2 was marked for

11           identification.)

12           BY MR. SCHIRMER:

13                    Q    Before today -- what is Number 2, do you know,

14           what has been marked as Exhibit Number 2?

15                    A    This is the objection, isn't it?

16                    Q    I'm not trying to fool you.          Have you seen

17           this before today?

18                    A    Yes.

19                    Q    Do you know when you first saw this?

20                    A    I don't remember exactly.          Maybe a week ago

21           maybe.   I don't really remember exactly.

22                    Q    Okay.    Let's set this aside.        I promise you

23           we'll come back to both of these.

24                    A    Okay.    Great.

25                    Q    Now, I take it you and your husband live here,

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1            why I do.       So we'll try and keep breaks -- give you a

2            couple of breaks.         It's not going to be very long, just a

3            couple of hours today.

4                       A      Okay.

5                       Q      So we'll be done soon I hope.

6                       A      Okay.

7                       Q      Everyone always asks this, I don't know why,

8            are you using any medication that might interfere with your

9            ability to testify truthfully or to remember things?

10                      A      No.

11                      Q      Is there any other reason you can't testify,

12           that you feel uncomfortable testifying here today?

13                      A      No.

14                      Q      Now, you said you have been a named party to a

15           lawsuit.       That's the divorce, is that right?

16                      A      Yes.

17                      Q      Okay.    Other than that have you, I've got to

18           follow-up, have you ever been involved in any other

19           lawsuits?       Have you ever been sued by anybody else?

20                      A      No.

21                      Q      Have you ever sued anybody else?

22                      A      Well, I mean --

23                      Q      Other than the --

24                      A      Other than the objection, no.

25                      Q      Now, you said you have been -- you have

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                                                                      Page 14

1            objected to the settlement of a class action lawsuit

2            before, am I right?

3                       A   Yes.

4                       Q   And you don't remember what it was about

5            anymore?

6                       A   Not really.     I mean not the details.    It's

7            been a long time.

8                       Q   Do you remember whether the court adopted the

9            objection you made last time?

10                      A   I have no idea.

11                      Q   Did you receive anything as a result of that

12           case, any money?

13                      A   Yes.

14                      Q   What did you receive?

15                      A   I think I received a -- I think I received a

16           check but I'm not really sure.

17                      Q   What was the check for?

18                      A   I really don't remember that much about it

19           because like I said it's been a really long time ago.

20                      Q   Were you married to Mr. Fortman at the time?

21                      A   Yes.

22                      Q   Do you know if he received any compensation

23           for his work in that case?

24                      A   No, I don't know.

25                      Q   Now, I take it you understand that you filed

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                                                                           Page 15

1            an objection to the settlement in the case, in the CRT

2            antitrust litigation case.          I think we already said yes.

3                    A       Yes.

4                            (Thereupon, Exhibit 3 was marked for

5            identification.)

6            BY MR. SCHIRMER:

7                    Q       Showing what has been marked as Exhibit

8            Number 3.   What is it?

9                    A       The objection.

10                   Q       Okay.    Now, if you'll turn -- before this

11           objection was filed, do you know whether you saw it before

12           it was filed?

13                   A       The objection?

14                   Q       Yeah.

15                   A       After.

16                   Q       Okay.    But you obviously authorized it being

17           filed on your behalf before it was filed?

18                   A       I'm sorry?

19                   Q       You said you saw it first after it was filed?

20                   A       Yes.

21                   Q       I just asked, you obviously authorized it to

22           be filed on your behalf before it was filed.

23                   A       Yes.

24                   Q       Now, if you look at Page 17 for just a moment,

25           it says -- it lists three attorneys.               Jonathan E. Fortman,

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                                                                        Page 16

1            I assume that's your husband right there?

2                    A      Yes.

3                    Q      Who's Mr. Miller?

4                    A      I know him.      He works with my husband.

5                    Q      Do they have a partnership?          Do you know the

6            nature of the arrangement?

7                    A      I don't know any of the nature of the

8            arrangement.     I don't know much about his business, but I

9            just know him.     We had dinner once or twice with him.

10                   Q      Okay.    How about Mr. Crest, do you know

11           Mr. Crest?

12                   A      Yes.    He works with my husband.

13                   Q      Do you understand the nature of the work they

14           do together?

15                   A      No, I really don't.

16                   Q      Okay.    Do you understand the nature of the

17           business that your husband does?

18                   A      To some degree.        We keep, like I said, we keep

19           business and personal separate, just, you know, it's just

20           better for a marriage I believe.            But I do know he does

21           franchise law basically.

22                   Q      So you obviously know he's a lawyer?

23                   A      Well, yes.

24                   Q      And does he have -- does he have any -- he

25           sometimes works was Mr. Miller and Mr. Crest is your

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                                                                    Page 17

1            understanding?

2                     A    I don't know if they -- I mean, I don't know

3            if they work together.      I just know, I think they -- I've

4            been to dinner with both of them on occasion a couple of

5            times.   I know, I think they've done some work together.

6            That's about all I know.      I don't know what type of

7            anything like that.

8                     Q    All right.     Now, so this is -- let's go back

9            to the objection for just a minute.

10                    A    Yes.

11                    Q    So this was filed on your behalf by -- did you

12           understand that Mr. Miller and Mr. Crest were also

13           representing you in making this objection, because they are

14           submitting this objection on your behalf?

15                    A    Yes.

16                    Q    So when did you come to that understanding, at

17           or around the time it was filed, before?

18                    A    I'm not really sure on that.

19                    Q    All right.     Now, if you turn to the very last

20           page, that's your signature?

21                    A    Yes, sir.

22                    Q    You say that comes now Laura Townsend Fortman

23           and declares she's a member of the class as defined in the

24           preliminary approval order.        Which preliminary -- which

25           class?   Do you have -- have you seen the preliminary

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                                                                   Page 1

1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                          SAN FRANCISCO DIVISION
4
5       IN RE: CATHODE RAY TUBE                            )
        (CRT) ANTITRUST LITIGATION                         ) Case No:
6       ________________________________) CV-07-5944 SC;
                                                           )
7                                                          ) CV-13-03234 SC
        This Document Relates To:                          )
8       All Indirect-Purchaser Class                       ) MDL No. 1917
        Actions Luscher, et al. v.                         )
9       Videoton Industries Limited,                       )
        et al.                                             )
10                                                         )
        ________________________________)
11
12
13                            DEPOSITION OF JOHN FINN
14                               ANAHEIM, CALIFORNIA
15                           THURSDAY, OCTOBER 29, 2015
16
17
18
19
20
21
22      Reported by:
        DENISE HESS
23      CSR NO. 7564
24
25

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1                    A   Yes.
2                    Q   And that caused you to be concerned
3          about the reasonableness of the settlement,
4          correct?
5                    A   I looked at it to reply to it myself.
6          And I realized that it was a very legally
7          technical thing, that I may need some -- to
8          consult some legal advice.
9                    Q   Okay.     So your first instinct was
10         that you would file an objection on your own
11         behalf without the necessity of a lawyer; is
12         that right?
13                   A   Yes.
14                   Q   And then you felt that it was a
15         little bit too complex of a situation.                And you
16         thought an attorney would be better served to
17         help you; is that right?
18                   A   Yes.
19                   Q   Okay.     And what made you choose Steve
20         Miller?
21                   A   I knew Steve Miller for over 40 years
22         from when I lived in Colorado.
23                   Q   Okay.     And were you friends back in
24         Colorado?
25                   A   We were friends in the fact that my

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1          wife was a first cousin of his wife.
2                   Q    And had you ever retained Mr. Miller
3          on any other occasion other than this occasion?
4                   A    When you say retained, are you
5          meaning did I pay him, or did I ever talk to him
6          about legal matters?
7                   Q    Did you ever hire him?
8                        Forget the payment issue.
9                        Did you ever hire him for legal
10         advice before?
11                  A    No.
12                  Q    Okay.     And I think what you're saying
13         is, over the 40 years, because he's a lawyer,
14         you may have asked him on occasion, party or
15         some function, about some general matter, but
16         actually never hired him.
17                       Is that what you're saying?
18                  A    Yes.
19                  Q    Okay.     Are you currently married?
20                  A    Yes.
21                  Q    And what is her name?
22                  A    Jeanne.
23                  Q    And do you know if Jeanne has ever
24         filed any objections to class actions?
25                  A    No.

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1          there be an equitable solution.
2                    Q   Okay.     And you just don't have an
3          opinion right now as to what that might be; is
4          that right?
5                    A   No.
6                    Q   Okay.     And you're willing to accept a
7          lower amount in payment of claims to yourself so
8          that citizens of the other states might
9          participate; is that right?
10                   A   Yes.
11                   Q   Okay.     And why is that?
12                   A   It's reasonable.
13                   Q   Okay.     You've filed objections in
14         other cases before, correct?
15                   A   Yes.
16                   Q   And how many times?
17                   A   A total of three, this plus two
18         others.
19                   Q   And what was the outcome of those
20         other two objections?
21                   A   I never received any compensation.
22                   Q   What was the -- I'm trying to ask you
23         a different question.
24                       You filed two other objections other
25         than this objection, correct?

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1                   A    Yes.
2                   Q    And do you know whether the clerk
3          found your objections to have any merit?
4                   A    No.
5                   Q    You don't know?
6                   A    I do not know.
7                   Q    Okay.     And did you file those with
8          any law firms, or were they filed just by
9          yourself?
10                  A    By myself.
11                  Q    Okay.     And did you follow -- after
12         you filed the objection, did you follow-up to
13         find out what the court's rulings were?
14                  A    Yes.
15                  Q    Do you recall what the court's
16         rulings were on those objections?
17                  A    No.
18                  Q    Did you file any appeals?
19                  A    No.
20                  Q    Do you have an understanding of
21         whether or not in California there is an
22         obligation to have a written retainer agreement
23         with your attorneys?
24                  A    No.
25                  Q    Do you have a written retention

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1          agreement with your attorneys?
2                   A    No.
3                   Q    Do you have any agreement with your
4          attorneys?
5                   A    No.
6                   Q    How do you expect that they will be
7          paid in this case?
8                   A    I don't.
9                   Q    You think they are doing it for free?
10                  A    I don't -- I don't know.
11                  Q    And you --
12                  A    I don't believe they are.
13                  Q    How do you understand them to expect
14         payment in this case?
15                  A    I never had a discussion with them on
16         that point.
17                  Q    Okay.     But you did know that
18         Mr. Miller has had instances where he has filed
19         objections on behalf of other people in other
20         cases?
21                  A    Not sure.
22                  Q    So when you called him about this
23         case, you had no understanding of his firm's
24         having filed objections on behalf of others; is
25         that right?

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1                        MR. HULETT:          You're instructing him
2          not to answer --
3                        MR. MILLER:          He's already answered
4          it.
5                        MR. HULETT:          No, he has not.
6                        MR. MILLER:          He has, Counsel.
7                        MR. HULETT:          Okay.
8                        THE WITNESS:           I have already answered
9          it one time.        Look at your notes.
10         BY MR. HULETT:
11                  Q    Answer it again, please.
12                  A    Would you rephrase it for me, please?
13                  Q    Sure.
14                       Would you be willing to accept a
15         payment of money to dismiss that appeal that did
16         not benefit the other class members?
17                  A    Don't know, because it would be
18         conditional on terms of the settlement.
19                  Q    And, to your knowledge, were any of
20         the other objections that you filed appealed?
21                  A    No.
22                  Q    Okay.     So your understanding is that
23         the only appeal that has ever been lodged on
24         your behalf of your objections is the one that
25         you filed in the matter of Demmick versus Cellco

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1                   Q    It's the one that's attached -- it's
2          this one, the Verizon one we're talking about.
3                   A    Yes.
4                   Q    You authorized him to file?
5                   A    Yes.
6                   Q    Okay.     And in authorizing him to do
7          that, did you understand that you were hiring
8          him to represent you?
9                   A    I didn't understand the term "hire."
10         I understood that he would assist.
11                  Q    Okay.     And do you understand that his
12         firm is on the appeal, or is he just --
13                  A    Yes.
14                  Q    Okay.     So his firm filed an appeal on
15         your behalf, correct?
16                  A    Yes.
17                  Q    Okay.     And you just don't understand
18         how he's going to get paid to do that?
19                  A    That's correct.
20                  Q    Do you know whether he's made a
21         monetary demand to settle that case?
22                  A    No.
23                  Q    Have you authorized him to do that?
24                       MR. MILLER:          Objection.    That calls
25         for attorney-client privilege.

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1                    A   No.
2                    Q   Okay.     And when was the last time you
3          reviewed those objections?
4                    A   Ten days ago.
5                    Q   What was the purpose of that?
6                    A   I got it in the mail.              I opened the
7          mail, and I read it.
8                    Q   Have you ever been convicted of a
9          felony?
10                   A   No.
11                       MR. HULETT:          No further questions.
12                       THE WITNESS:           Thank you.
13                       MR. MILLER:          I have one follow-up
14         question.
15
16                                *EXAMINATION*
17
18         BY MR. MILLER:
19                   Q   Mr. Finn, look at Exhibit 3, which is
20         the objection that you testified you filed in
21         the Federal Court in Florida.
22                       Do you see that one?
23                   A   Yes.
24                   Q   Is it true that after you filed this
25         objection, you asked me to represent you in the

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1          Florida matter, including taking an appeal?
2                    A    I believe I do now.
3                         MR. MILLER:           Okay.       That's all.
4                         MR. HULETT:           Okay.
5
6                            *FURTHER EXAMINATION*
7
8          BY MR. HULETT:
9                    Q    And what was the outcome of that
10         appeal?
11                   A    I have no idea.               I never heard
12         anything.
13                   Q    Okay.      So you authorized Mr. Miller
14         to file an appeal in that case in Florida,
15         right?
16                   A    Yes.
17                   Q    And did you have any sort of an
18         agreement on fees with him on that case?
19                   A    No.
20                   Q    And you don't know the outcome of
21         that appeal?
22                   A    No.
23                   Q    You don't know if it was settled?
24                   A    I have no idea.
25                   Q    And when was the last time that you

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1                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
2                           SAN FRANCISCO DIVISION
3
        IN RE CATHODE RAY TUBE (CRT)
4       ANTITRUST LITIGATION                            PLAINTIFF
5       VERSUS       CIVIL ACTION NO: 07-CV-05944-SC; MDL NO.1917
6       THIS DOCUMENT RELATES TO:
        ALL INDIRECT PURCHASER ACTIONS                  DEFENDANT
7
8       ----------------------------------------------------------
                    DEPOSITION OF DOUGLAS W. ST. JOHN
 9      ----------------------------------------------------------
10               Taken at 4302 W. Beach Boulevard,
                 Wingate Beach Hotel, Gulfport, Mississippi,
11               Monday, November 2, 2015, beginning at 10:02 a.m.
12
        APPEARANCES:
13
        REPRESENTING PLAINTIFF:
14               MARK J. SCHIRMER, ESQUIRE
                 Straus & Boies, LLP
15               1355B Lynnfield Road, Suite 245
                 Memphis, Tennessee 38119
16               mschirmer@straus-boies.com
17
        REPRESENTING DOUGLAS W. ST. JOHN:
18               JOSEPH SCOTT ST. JOHN, ESQUIRE
                 514 Mockingbird Drive
19               Long Beach, Mississippi 39560
                 jscottsjohnpublic@gmail.com
20
21      REPORTED BY:
                 JENNIFER RAY, CCR, RPR
22               CCR # 1419
23
24
25

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1       certification, you owe a fiduciary duty to the
2       class members, including the witness, conflicted
3       with him as a matter of law.                   And Mr. St. John,
4       the witness, is not here voluntarily.                       Shorter
5       terms, you're deposing your own client.
6                        MR. SCHIRMER:        I disagree.          I think
7       the law is 100 contrary to what you just said,
8       but I'm not gonna argue with you on the record at
9       all today.         I really do want to get him out of
10      here early.
11                       MR. JOSEPH ST. JOHN:                I was obligated
12      to make the objection to the qualification.
13                       MR. SCHIRMER:        You've made it in
14      writing.         I saw it.
15      BY MR. SCHIRMER:
16                  Q.   Sir, I know that -- I know this is
17      gonna sound odd.           You two have the same last
18      name.        How do you know your lawyer?                 Other than
19      being your lawyer, do you two have any
20      relationship?
21                  A.   Yes.
22                  Q.   What is it, sir?
23                  A.   He is my son.
24                  Q.   Oh.    And I was gonna ask you how long
25      you've known him, but your answer would probably

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1                   Q.   Do you have an opinion as to what
2       would be an appropriate percentage for counsel in
3       this particular matter?
4                   A.   I can tell you -- all I can tell you
5       is what -- as a layman what I have read and seen.
6       My understanding is that the larger the
7       settlement, the smaller the percentage.                       It's a
8       sliding scale.           And when the settlement gets
9       extremely large, it may be less than ten percent.
10                  Q.   Should attorneys be paid --
11      compensated for the work they do?
12                  A.   Yes.
13                  Q.   Is this an extremely large settlement,
14      as far as you know?
15                  A.   Yes.
16                  Q.   You were an engineer, sir?
17                  A.   Yes.
18                  Q.   Okay.    Did you happen to see whether
19      ten percent would be more or less than the
20      attorneys' hourly rates would have been in this
21      matter?
22                       MR. JOSEPH ST. JOHN:                Objection.
23      Calls for speculation, facts not in evidence,
24      lack of foundation.
25                       MR. SCHIRMER:        No.      It's absolutely --

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1       defenses the defendants made in this case?
2                   A.   No, sir.
3                   Q.   Do you know anything about the --
4       their arguments against treating these cases as
5       class cases?
6                   A.   No, sir.
7                   Q.   Do you know whether they contended
8       that the prices, the effects of the cartel and
9       their conspiracy could not be measured in a
10      reasonable manner at the consumer level?
11                  A.   No, sir.
12                  Q.   You said -- do you have an -- I think
13      I may have asked this, but I know I didn't follow
14      up on it right away.            Do you have an opinion as
15      to what would be a reasonable percentage of the
16      fee, of the fund in this case?
17                  A.   You asked me that.
18                  Q.   I'm sorry?
19                  A.   You did ask me that.
20                  Q.   Yeah.   I don't remember whether you
21      said you didn't -- you thought -- I think you
22      said that there was a sliding fund --
23                  A.   It's my understanding there is a
24      sliding scale.
25                  Q.   Okay.   Do you have an opinion as to

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1       where on the sliding scale this case should fall?
2                   A.   You asked for my opinion?
3                   Q.   Yes.
4                   A.   Yes, sir.
5                   Q.   What's your opinion?
6                   A.   Ten percent or less.
7                   Q.   Should attorneys be able to be
8       compensated when they do a really good job?
9                   A.   Yes, sir.
10                  Q.   Should they get more when they do a
11      good job or get a great result in general?
12                  A.   You're asking for my opinion?
13                  Q.   Your opinion, sir.
14                  A.   Repeat that question.
15                  Q.   Sure.   When attorneys have gotten a
16      great result for their clients in litigation --
17      let's use litigation only -- should they be
18      compensated more than when they don't get a great
19      result for their clients?
20                  A.   That would depend on what the initial
21      agreement was.
22                  Q.   Say they agreed to -- on a
23      contingency, should they be entitled to that
24      contingency fee?
25                  A.   If the -- if the percentage was set,

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1                   A.     Other than the size of the attorneys'
2       fees --
3                   Q.     That's correct.
4                   A.     -- no, sir.
5                   Q.     Do you have an -- do you have an
6       opinion as to whether 576,000,000 is a fair and
7       adequate settlement?
8                   A.     I don't know, sir.
9                   Q.     I'm trying to understand one other
10      thing.           Is -- are you -- so you don't have any
11      beef with the settlement other than the size of
12      the attorneys' fees and what you've listed here;
13      is that right?
14                  A.     That's correct.
15                  Q.     Okay.   And do you through this intend
16      to reduce the amount that individual consumers
17      could recover as part of the -- from the
18      settlement?
19                  A.     No, sir.
20                  Q.     Would that be contrary to your wishes?
21                  A.     I have no objection to the size of the
22      settlement.
23                  Q.     Is it your purpose to make it so that
24      individual consumers who made claims cannot
25      receive as much money as they might otherwise

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1       receive?
2                   A.   Sir?
3                   Q.   In other words, is it your purpose to
4       make it so that consumers receive less money
5       under the settlement or none?
6                   A.   No.
7                        MR. SCHIRMER:          I'm done.
8                        MR. JOSEPH ST. JOHN:                No further
9       questions.         We do not waive reading and signing.
10                                        - - -
11                  (Deposition concluded at 12:22 p.m.)
12
13
14
15
16      _______________________
           DOUGLAS W. ST. JOHN
17
18
19      Subscribed and sworn to before me
20      this             day of                        , 201_.
21
22
        ______________________
23              NOTARY PUBLIC
24
25

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1                     UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF CALIFORNIA
2                          SAN FRANCISCO DIVISION
3
        IN RE CATHODE RAY TUBE (CRT)                 )
4       ANTITRUST LITIGATION                         )No. 14-CV-2058(SC)
        ------------------------------)
5       THIS DOCUMENT RELATES TO:                    )MDL No. 1917
                                                     )
6       ALL INDIRECT PURCHASER ACTIONS)
        ------------------------------
7
8
9
10                               DEPOSITION OF
11         DAN L. WILLIAMS & COMPANY, by and through its
12            designated representative, DAN L. WILLIAMS
13
14            TAKEN ON BEHALF OF THE INDIRECT PURCHASER
15                                 PLAINTIFFS
16                             OCTOBER 30, 2015
17
18
19
20
21
22
23
24
25

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1             A.    Yes, sir.
2             Q.    And that's all I wanted.                 I'm not trying
3       to get you with something else.                    It's your
4       understanding, it's not going to be wrong, it's
5       just your understanding, okay.
6             A.    That is correct.
7             Q.    And then your third issue was that the
8       notice plan, something with the notice plan, you
9       thought it was inadequate?
10            A.    I don't understand.
11            Q.    The -- how people found out about the CRT
12      lawsuit, you had a problem with that?
13            A.    Yes, I do.
14            Q.    Okay.    What's your problem with that?
15            A.    My problem is that I found out about it
16      accidentally and just barely in time to raise
17      objections because if it wasn't well published and
18      no one else talked about it, and I actually
19      mentioned it to a couple of my clients who had
20      never heard of it before and they're way past any
21      time to object.       So I definitely have a problem
22      with the fact that many of my client base don't
23      have a clue that that exists.
24            Q.    How did you find out about it?
25            A.    It was one of my client attorneys had

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1       mentioned it to me.
2             Q.    Who mentioned it to you?
3                            MR. JUSTI:         I'm going to object at
4       that point, instruct him not to answer.                 They're
5       both -- Mr. Williams and his attorney/client have
6       privacy issues about the representation.                 And
7       also, because it was ultimately apart of seeking
8       legal representation that resulted in my
9       retention, it would also be protected by the
10      attorney/client privilege.
11            Q.    (By Mr. Diel)        Who was the attorney
12      friend of yours that mentioned it?
13                           MR. JUSTI:         Same objections.       I'll
14      instruct the witness not to answer.
15                           MR. DIEL:         You're going to
16      instruct him not to answer on the existence of the
17      individual?      There's no communication involved
18      there, there's no substance involved in that.
19                           MR. JUSTI:         That's actually one of
20      the issues.      The other issue is that the identity
21      of that person as a client of Mr. Williams is
22      confidential information.              That attorney has a
23      privacy right in his identity not being disclosed
24      in what very well could be a public proceeding and
25      Mr. Williams has a privacy interest in not

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1       disclosing the identity of his clients.
2                            MR. DIEL:         Well, I won't argue
3       with you.     I'll oppose but I'll move on.
4                            MR. JUSTI:         All right.
5             Q.    (By Mr. Diel)        As a result of a
6       conversation you had with a client who was an
7       attorney of yours, you found out about the CRT
8       settlement; is that correct?
9             A.    Yes, sir.
10            Q.    And when was that?
11            A.    I believe it was -- our response deadline
12      was October the 8th so it was probably four or
13      five days before the deadline.
14            Q.    And when you say the response deadline,
15      are you saying the deadline for objecting to the
16      settlement?
17            A.    Yes, sir.
18            Q.    Okay.    And what did you do after you had
19      that conversation with your client who was an
20      attorney?
21            A.    Sought legal counsel.
22            Q.    Okay.    How did you manage to find
23      Mr. Justi as your legal counsel?
24                           MR. JUSTI:         And I'll -- same --
25      same concerns that I previously articulated.                   I'll

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1       allow him just to describe it in general terms but
2       I don't want to get into identities of individuals
3       and things like that.
4              Q.      (By Mr. Diel)        All I'm trying to figure
5       out, he's a Kansas City, Kansas guy in a Kansas
6       City, Kansas business, and Mr. Justi is from San
7       Francisco or the Walnut Creek area of California.
8              A.      Uh-huh.
9              Q.      There's not a logical tie as to why you
10      would go necessarily to Mr. Justi right off the
11      bat.        So that's my question.
12             A.      Through, again, legal counsel here
13      locally and referral.
14                               MR. DIEL:        Okay.       And, Mr. Justi,
15      you're going to instruct him not to answer who the
16      attorney here in town is that referred him to you?
17                               MR. JUSTI:        That's correct.
18             Q.      (By Mr. Diel)        Were you involved in
19      preparing the objection?
20             A.      No, sir.
21             Q.      Who prepared the objection?
22                               MR. JUSTI:        Well, I'm going to
23      object, vague and ambiguous.                   As he testified, he
24      did review it so that could be considered
25      involvement, but you may answer the question.

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1             A.    I didn't physically type it out but I did
2       defer to counsel to handle those matters for me.
3             Q.    (By Mr. Diel)        Let me hand you what we'll
4       mark as Deposition Exhibit No. 2.
5                            (Williams Exhibit 2 was marked for
6                   identification by the reporter.)
7             Q.    (By Mr. Diel)        You're being handed what's
8       been called -- these are the objections to the
9       proposed class action settlement and to the
10      attorney's fee award that you authorized filing on
11      behalf of Dan L. Williams and Company; is that
12      correct?
13            A.    Yes, sir.
14            Q.    And go to the very back page.              Is that
15      your signature?
16            A.    Yes, sir.
17            Q.    I just wanted to make sure.
18                           MR. JUSTI:         You know, I believe
19      that -- I'm noticing -- this is the copy that was
20      obviously generated off the Court's files and it
21      should have the claim form attached.                I don't know
22      if it was --
23                           MR. DIEL:         I've got it.
24                           MR. JUSTI:         Perfect.
25                           MR. DIEL:         I just separated them

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1       purchased a CRT in Missouri.                Where would you have
2       purchased a CRT in Missouri?
3             A.    That would have been at Sam's Club
4       probably purchased it or it's possible Best Buy.
5       Which of course has outlets on both side of the
6       state line.
7             Q.    Right.     You filed a claim in this case,
8       right?
9             A.    Correct.
10            Q.    And that claim lists one CRT --
11            A.    Correct.
12            Q.    -- is that right?
13                  Where did you buy that one CRT?
14            A.    I don't specifically recall.
15                            MR. JUSTI:        Just best
16      recollection.        If you know.
17            A.    Probably on the Kansas side.
18            Q.    (By Mr. Diel)        Okay.       Prior to this
19      objection had you ever had any contact with
20      Mr. Justi?
21            A.    No.
22            Q.    Did you know of Mr. Justi prior to this
23      objection?
24            A.    No.
25            Q.    Have you ever served as a class

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                                                                   Page 1

1                     UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF CALIFORNIA
2                          SAN FRANCISCO DIVISION
3
        IN RE CATHODE RAY TUBE (CRT)                 )
4       ANTITRUST LITIGATION                         )No. 14-CV-2058(SC)
        ------------------------------)
5       THIS DOCUMENT RELATES TO:                    )MDL No. 1917
                                                     )
6       ALL INDIRECT PURCHASER ACTIONS)
        ------------------------------
7
8
9
10                               DEPOSITION OF
11             ROCKHURST UNIVERSITY, by and through its
12         designated representative, MATTHEW W. HEINRICH
13            TAKEN ON BEHALF OF THE INDIRECT PURCHASER
14                                 PLAINTIFFS
15                             OCTOBER 29, 2015
16
17
18
19
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21
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23
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25

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1             A.    Yes.
2             Q.    And again, during the 2005 to the present
3       time period, who were those people that had to
4       approve it as well?
5             A.    2005 to current time period would have
6       been Guy Swanson, who was the CFO at the time
7       until Gerald Moench took over about a year ago.
8             Q.    And again, Guy Swanson at that time as
9       CFO would report to the president --
10            A.    Yes.
11            Q.    -- of the university?              Okay.
12                  Okay.    Do you understand why you're here
13      today being deposed?
14            A.    Yes.
15            Q.    Tell me what your understanding of that
16      is.
17            A.    Missouri was excluded from the CRT
18      settlement case.        They were involved in the
19      nationwide class but not in the individual state
20      class.
21            Q.    When you say they were -- they were
22      involved in the nationwide class, what -- do you
23      have an understanding of what that nationwide
24      class -- the claims involved with that?
25            A.    Not 100 percent, no.

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1              Q.   Okay.    So you don't know whether that
2       claim involves injunctive relief or a damage
3       claim, the nationwide class?
4              A.   I don't believe there were any damage
5       claims in the nationwide.
6              Q.   Okay.    And it's your understanding that
7       Missouri was excluded from any of the state class
8       damage --
9              A.   Yes.
10             Q.   -- claims?      Okay.
11                  And how did you get that understanding?
12             A.   I heard about this from a sister school
13      and the CFO asked me if I should check into it,
14      and I went out and did a Google search on CRT
15      claims, looked at the claim form and saw that
16      Missouri was not one of the states listed.                  Then I
17      contacted the attorney.
18             Q.   Great.    Who -- do you recall the sister
19      school?
20             A.   Santa Clara.
21             Q.   Do you recall who at Santa Clara?
22             A.   No, I don't remember the name.              It came
23      via e-mail.
24             Q.   And did the e-mail come to you or the
25      CFO?

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1              A.   CFO.
2              Q.   And at that point in time was that Guy
3       Swanson?
4              A.   No, that would have been Gerald Moench.
5              Q.   Gerald Moench, okay.
6                   And do you recall what time period that
7       was?
8              A.   Within the last two or three weeks.
9              Q.   Oh, really?
10             A.   Yeah, fairly recently.
11             Q.   And then Dr. Moench asked you to look
12      into it?
13             A.   Yes.
14             Q.   And what did you do to look into it?
15             A.   I did the Google search, was not sure
16      exactly if I was reading the exact action that
17      Santa Clara had mentioned so I got in touch with
18      the attorney.
19             Q.   And by "attorney," do you mean Ms. Moore?
20             A.   Yes.
21             Q.   And how did you know Ms. Moore?
22             A.   I did not know Ms. Moore.
23                           MS. MOORE:         I think you have to be
24      careful not to go into attorney/client privilege.
25                           MR. DIEL:         Yeah.

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1                            MS. MOORE:         I think --
2             Q.    (By Mr. Diel)        I don't want you to go
3       into any substance of your communications with
4       Ms. Moore.     I'm just asking -- you know, you had a
5       question and you went to an attorney.                   So why
6       would that have been Ms. Moore necessarily?
7             A.    The law firm was mentioned in the
8       original e-mail from Santa Clara.
9             Q.    Her law firm or her name or -- I mean
10      Ms. Moore.
11            A.    Her name was mentioned in the e-mail from
12      Santa Clara.
13            Q.    And do you -- do you recall what the
14      e-mail said?
15                           MS. MOORE:         I don't think you can
16      go any further without going into attorney/client
17      privilege so I'm going to instruct you not to
18      answer any further questions.
19                           MR. DIEL:         And, Theresa, the only
20      thing I'm trying to get at is the Santa Clara
21      representative, what the e-mail said to Guy
22      Swanson.     That's --
23                           MS. MOORE:         I understand but I'm
24      going to instruct him not to answer.
25                           MR. DIEL:         Okay.       All right.    By

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1       settlement agreement briefly in the past couple of
2       days, correct?
3             A.    Uh-huh.
4             Q.    But you didn't read the settlement
5       agreement prior to the objection being filed?
6             A.    I reviewed it.         I didn't read it in
7       depth.
8             Q.    Okay.     What issues did you have with the
9       settlement -- the CRT settlement prior to filing
10      the objection?
11            A.    That Missouri was excluded from the state
12      group.
13            Q.    Okay.     Any other issues with the CRT
14      settlement?
15            A.    No.
16            Q.    Did you read the objection before it was
17      filed?
18            A.    Yes.
19            Q.    And do you recall when that was?
20            A.    No.     I'm sure the document's dated.
21            Q.    And you're being represented by Ms. Moore
22      here today?
23            A.    Yes.
24            Q.    And by "you" I mean you in your capacity
25      as a representative of Rockhurst University?

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1             Q.    -- and get money?
2                   That's what you -- you want -- that's
3       what Rockhurst wants --
4             A.    Yes.
5             Q.    -- out of this objection?              Okay.
6                   Let me hand you what's been marked as
7       Deposition Exhibit No. 2.              That appears to be a
8       Declaration of Matthew Heinrich in Support of
9       Objection to the Proposed Class Action Settlement
10      Agreement by Objector Rockhurst University and
11      Objector Gary Talewski (ph).
12                  Did I read that correctly?
13            A.    Yes.
14            Q.    Do you know Gary Talewski?
15            A.    I do not.
16            Q.    Is that your signature on the affidavit?
17            A.    Yes.
18            Q.    And is the information provided in this
19      document true and accurate?
20            A.    Yes.
21            Q.    Who prepared the first draft of this
22      document?
23            A.    I believe Ms. Moore did.
24            Q.    And then she sent that to you via e-mail?
25            A.    Yes.

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1             Q.    Did you meet with her at Rockhurst?
2             A.    Yes.
3             Q.    And was that the first time you'd
4       actually met had Ms. Moore in person?
5             A.    Yes.
6             Q.    And you've only known of Ms. Moore since
7       four weeks or a month ago?
8             A.    Yes.
9                             MS. MOORE:          Asked and answered.
10                            MR. DIEL:         Let me take a break
11      real quick and go over the documents and then we
12      may be done.
13                                 (Recess.)
14                            (Heinrich Exhibits 3 & 4 were
15                  marked for identification.)
16            Q.    (By Mr. Diel)          Mr. Heinrich, earlier
17      today you mentioned an e-mail was sent -- or was
18      received by Mr. Moench at Rockhurst University
19      from an individual at Santa Clara University
20      regarding the CRT case; is that correct?
21            A.    Yes.
22            Q.    And do you have a copy or have you been
23      able to put your hands on a copy of that e-mail?
24            A.    Yes.
25            Q.    Have you brought that e-mail with you

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1       here today?
2                            MS. MOORE:         Have you brought it?
3             A.    I have not brought it, no.
4             Q.    (By Mr. Diel)        I don't see it in the
5       documents so that is my question.
6                            MS. MOORE:         There's an
7       attorney/client privilege issue and common
8       interest attorney/client privilege.
9                            MR. DIEL:         Okay.       Let me just make
10      sure I understand it.           This is an e-mail sent from
11      a representative of Santa Clara to the CFO of
12      Rockhurst University regarding the CRT settlement
13      and you are objecting on attorney/client
14      privilege?
15                           MS. MOORE:         Correct.
16                           MR. DIEL:         We'll oppose that.          And
17      so, you are withholding that document today --
18                           MS. MOORE:         Correct.
19                           MR. DIEL:         -- based upon
20      attorney/client privilege?
21            Q.    (By Mr. Diel)        You have provided two
22      e-mails to us today and one is marked Exhibit 3
23      and that's an e-mail from you to Gerald Moench --
24      well, there are two e-mails actually.                   One from
25      Gerald Moench to you dated October 1, 2015, at

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1       11:54 a.m. that notes:            See below.        Have you heard
2       of this, should we inquire?
3                    And your response on the same day at
4       12:19 to Mr. Moench is:             I've not heard about it.
5       I'll follow-up.
6                    Did I read that correctly?
7             A.     Yes.
8             Q.     And is this in relation to -- is this --
9       these two e-mails -- are these two e-mails in
10      relation to the e-mail that was sent to Mr. Moench
11      by the Santa Clara representative?
12                             MS. MOORE:        You can't --
13      attorney/client privilege, don't answer that
14      question.
15            Q.     (By Mr. Diel)        The next e-mail that you
16      provided us is labeled Exhibit 4 and this is again
17      two more e-mails between you and Mr. Moench.                   The
18      first e-mail again appears to be at 11:54 and it
19      notes:      See below.     Have you heard of this, should
20      we inquire?
21                   And then you respond to Mr. Moench, at
22      12:31 with:         I sent off an e-mail but it may be
23      this one.      Missouri isn't listed as one of the
24      states but still worth checking into.                  And then
25      you list a website.

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1                   Is that correct?
2             A.    Yes.
3             Q.    Okay.    From looking at this document and
4       from your recollection, did Mr. Moench forward to
5       you the e-mail from the Santa Clara University
6       representative and is it redacted from this
7       document?
8             A.    Yes.
9                            MR. DIEL:         Theresa, we would
10      request -- formally request that that document be
11      produced.     Again, I'm not going to argue with you
12      here today but we'll make that formal request and
13      I'll let the --
14                           MS. MOORE:         Yes.
15                           MR. DIEL:         -- higher-ups deal with
16      you on that.
17                           MS. MOORE:         I'll provide a log.
18      And, again, it's withheld on the basis of
19      attorney/client privilege and common interest.
20                           MR. DIEL:         Okay.
21            Q.    (By Mr. Diel)        Let me hand you what we'll
22      mark as Exhibit 5.
23                           (Heinrich Exhibit 5 was marked for
24                  identification.)
25            Q.    (By Mr. Diel)        And you indicated that you

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                                                                   Page 1

1                       UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                           SAN FRANCISCO DIVISION
4
5       ________________________________
6       IN RE:      CATHODE RAY TUBE (CRT)                      Case No.
7       ANTITRUST LITIGATION                                3:07-cv-5944
8       This Document Relates To:                           MDL No. 1917
9       All Indirect Purchaser Actions
10      ________________________________
11
12
13
14
15                      DEPOSITION OF GARY TALEWSKY
16                  Tuesday, November 3, 2015, 9:50 a.m.
17                   ZELLE HOFMANN VOELBEL & MASON LLP
18                     600 Worcester Road, Suite 101
19                    Framingham, Massachusetts            01702
20
21
22             -----REPORTER:       Sonya Lopes, RPR, CSR-----
23
24
25

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1                                  GARY TALEWSKY,
2                   having been satisfactorily identified,
3                   was examined and testified as follows:
4                                   EXAMINATION
5       BY MS. WEDGWORTH:
6             Q.     Could you state your name for the record.
7             A.     Yeah.     Gary Talewsky.
8             Q.     And could you also state your home address?
9             A.     Home address is 12 Cortland Drive
10      Extension, Sharon, Mass.
11            Q.     And, Mr. Talewsky, as I told you earlier,
12      I'm Peggy Wedgworth.           I'm one of the attorneys who
13      represent the plaintiffs in the CRT antitrust
14      litigation.          We are here today concerning an
15      objection you have filed in that litigation.                 Have
16      you testified in a deposition before?
17            A.     I do not believe so.
18            Q.     So let me just give you a couple of rules
19      about the deposition.           As you and I are talking
20      today, I'll be asking questions; you answer.                 If you
21      can --
22            A.     I take that back.         I did one other time.
23            Q.     Okay.     So one of the things I was going to
24      say is we don't want to talk over each other so the
25      court reporter can get it.

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1                    In the one time that you now recall, do you
2       recall what the matter involved?
3             A.    I think it's confidential.
4             Q.    Actually, your attorney will tell you if
5       you can't answer it.            Since she hasn't objected or
6       said anything, you can answer the question, which
7       is:    Do you recall what the matter was about?
8                          MS. MOORE:     Can I instruct him?       I think
9       the subject matter is what she's asking.                Is that
10      right?
11                         MS. WEDGWORTH:       Correct.
12            A.    Okay.     I believe that was an issue with a
13      merger for Delta and Northwest Airlines at the time.
14            Q.    And in that matter, who were you
15      represented by?
16            A.    I was represented by the Alioto Law Firm.
17            Q.    Was Ms. Moore involved --
18            A.    Yes.
19            Q.    -- in that?
20            A.    Uh-huh.
21            Q.    How was Ms. Moore involved in that?
22            A.    She's part of the legal team of the firm.
23                         MS. MOORE:     Peggy, can I interrupt for
24      one second?         We have an agreement that we will not
25      go into legal matters within -- I've represented the

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1             Q.    "Carlson" with a C?
2             A.    "Carlson" with a C.           Next word "Wagonlit"
3       with l-i-t at the end.           Actually pronounced Vagonlit
4       (phonetic), but everyone pronounces it Wagonlit.
5             Q.    How long did you have the travel agency
6       called Carlson Wagonlit Travel?
7             A.    Let's see.    We started -- trying to think.
8       We started as Travel Agents International.                I think
9       the Carlson name was probably around -- I don't know
10      -- 10 years, 12 years, that neighborhood.
11            Q.    Were you the sole owner of the travel
12      agency?
13            A.    I was the president of the company, but I
14      did have partners.
15            Q.    Were you a partner of Carlson Wagonlit
16      Travel?
17            A.    It was a franchise.
18            Q.    And were you owner of the franchise with
19      other partners?
20            A.    I was president, yes.
21            Q.    And how many other partners did you have?
22            A.    One point, there were three.
23            Q.    And those partners were who?
24            A.    Alan Talewsky, Winston Watson, Maura
25      Watson.

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1       allowed to file a claim.           To me, that's not right.
2             Q.    When is the first time you went online to
3       look at the settlement concerning CRT?
4             A.    I believe sometime in September.
5             Q.    So you mentioned September 11th.            If we use
6       that kind of as --
7             A.    I don't know the exact.
8             Q.    -- point of reference --
9             A.    I really don't know if it was before or
10      after.
11            Q.    So it could have been before.           It could
12      have been after.
13            A.    I really don't know.          Uh-huh.
14            Q.    Okay.   What caused you to look at that CRT
15      settlement online?
16                      MS. MOORE:      Without revealing any
17      attorney-client privileged information.               Question's
18      vague.      If it requires attorney-client privilege
19      information to answer it the way you understand the
20      question, I would say I would instruct you not to
21      answer.
22            A.    Then I'm not going to answer.
23      *      Q.    Is it fair to say without speaking to
24      attorneys, you would have no reason to go to the CRT
25      settlement information online?

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1       Mr. Garavanian filing an objection in the CRT
2       litigation?
3             A.    I'm not sure.     I was traveling away.            I was
4       out of the country for a while.                So I'm not sure
5       what day he did.
6             Q.    You were in Bangkok?
7             A.    I was in China and Thailand, yes.
8             Q.    In September when you first heard about
9       this litigation, do you know if Mr. Garavanian was
10      aware of the litigation at the time in September
11      that you first became aware of it?
12            A.    At some point in September, he would have
13      been aware.      I can't say exactly when.            But I'm
14      assuming he was aware then, yes.
15                      MS. MOORE:      I'm going to object as lack
16      of foundation for personal knowledge.                Move to
17      strike.
18            Q.    Do you know if Mr. Garavanian found out
19      about this litigation before you did?
20            A.    No idea.
21            Q.    Do you have an opinion as to whether or not
22      the legal fees requested in this case by the
23      attorneys is appropriate?
24            A.    I don't know.     I'm not a lawyer.         I have no
25      idea.

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1       *      Q.    Okay.      Are you aware if your objection
2       includes an objection to the attorney's fees in this
3       litigation that have been requested?
4             A.    Am I aware of what?            I'm sorry?
5                          THE WITNESS:      Could you read it back?
6                          *   (Question read back)
7             A.    I do not believe I am aware.             Yeah.    I
8       mean, I'm not an attorney.               When I read through all
9       this, I, you know --
10            Q.    Have you been promised anything for
11      objecting to the CRT settlement?
12            A.    No.
13            Q.    Do you expect to receive anything as a
14      result of your objection?
15            A.    I would hope.
16            Q.    What do you expect?
17            A.    Whatever the, you know, the claim is.
18            Q.    The claim is actually different than an
19      objection.         Do you understand that?
20            A.    Yes.
21            Q.    What do you expect to get out of the
22      objection?
23            A.    Out of the objection?             Well, if I
24      understand it correctly, the right to file a claim
25      if they include Massachusetts.

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1                       UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                           SAN FRANCISCO DIVISION
4
5       ________________________________
6       IN RE:      CATHODE RAY TUBE (CRT)                      Case No.
7       ANTITRUST LITIGATION                                3:07-cv-5944
8       This Document Relates To:                           MDL No. 1917
9       All Indirect Purchaser Actions
10      ________________________________
11
12
13
14
15                    DEPOSITION OF HARRY GARAVANIAN
16                  Tuesday, November 3, 2015, 1:10 p.m.
17                   ZELLE HOFMANN VOELBEL & MASON LLP
18                     600 Worcester Road, Suite 101
19                    Framingham, Massachusetts            01702
20
21
22             -----REPORTER:       Sonya Lopes, RPR, CSR-----
23
24
25

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1             Q.    Are you represented by counsel with regard
2       to your objection?
3             A.    Yes.
4             Q.    Who is your attorney?
5             A.    That would be Theresa.
6             Q.    How long have you known Theresa?
7             A.    For about 15 years.           We had -- it was about
8       15 years.
9             Q.    How do you know Theresa?
10            A.    On a separate case with -- regarding
11      travel.
12            Q.    And what was the travel?                Was it the Delta,
13      Northwest merger or something else?
14            A.    No.     That's pretty much it.
15            Q.    What was your involvement there?
16            A.    Just as one of the plaintiffs.
17            Q.    Okay.     Did Ms. Moore represent you there?
18            A.    No.
19            Q.    Who represented you?
20                         THE WITNESS:     Would it be the firm, the
21      whole firm?
22                         MS. MOORE:     Yes.
23            A.    Okay.     Yeah.     Alioto.
24                         MS. MOORE:     To clarify, tell the name of
25      the firm.

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1             A.    Joe Alioto Firm.
2             Q.    Okay.     In that case, you didn't give a
3       deposition?
4             A.    No.
5             Q.    And you didn't testify?
6             A.    No.
7             Q.    Do you know the outcome of that case?
8             A.    Yes.
9             Q.    What was the outcome?
10            A.    There was a small agreement for them to
11      cease what was.
12            Q.    Okay.     Now, I think you said you hadn't
13      spoken to anyone else about this CRT litigation
14      other than attorneys; is that correct?
15            A.    Yes.
16            Q.    But you have spoken to Mr. Talewsky; is
17      that correct?
18            A.    I knew that he was coming, but that's about
19      it.    I didn't talk to him.            I haven't talked to him
20      about it.         He actually -- he was in Vietnam.          He
21      just came back.
22            Q.    So you haven't talked to Mr. Talewsky about
23      the CRT litigation?
24            A.    No.
25            Q.    Did you have dinner with Mr. Talewsky and

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1       not to answer as attorney-client privileged
2       information.
3             Q.    How many times did you speak with
4       Mr. Talewsky about the CRT litigation?
5             A.    Not prior to last night.
6             Q.    Are you sure?
7             A.    Yup.    Because he's been in Vietnam.           I
8       haven't seen him.        We talk weekly business wise
9       because he -- he's traveled extensively.                He's been
10      an empty nester.        He's traveled extensively.              He's
11      had groups.        I've had groups.
12                   My guys are younger so -- it's interesting.
13      Like I said, he just came back from Vietnam.                    He did
14      China before that.        When he talks, it's basically on
15      travel, business.
16            Q.    So the first time you ever spoke to
17      Mr. Talewsky about the CRT litigation was last
18      night?      Is that your testimony?
19            A.    Yeah, pretty much.
20            Q.    And you understand you're under oath here,
21      that you're sworn to tell the truth.               Do you
22      understand that?
23            A.    Yes.
24            Q.    I'll represent to you Mr. Talewsky said you
25      all spoke at a minimum in September about CRT

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1       litigation, and he was under oath.                 Was he wrong?
2                       MS. MOORE:      I think that may misstate
3       the testimony from this morning, but you can answer
4       the question.
5             Q.    I think you can answer the question.
6             A.    We weren't even involved with it in
7       September.      That's the thing.           We didn't -- we're in
8       November now.       We didn't even --
9                       MS. MOORE:      Just answer the question.
10            A.    I don't believe so.          I really don't believe
11      I talked to him in September about it.
12            Q.    When did you decide to file an objection?
13            A.    It was about a month ago.
14            Q.    Okay.   So if today's November 3rd,
15      somewhere around October 3rd --
16            A.    Yeah.
17            Q.    -- 2005 was when you first decided to file
18      an objection; is that correct?
19            A.    Yeah.   Yeah.    Because I know September's
20      not --
21                      MS. MOORE:      No question pending.
22            Q.    So is it your testimony, then, other than
23      last night, you have never spoken to Mr. Talewsky
24      about the CRT litigation in any fashion?
25                      MS. MOORE:      Asked and answered.         He

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1             Q.     Do you know when your objection -- if there
2       was one even filed, do you know when that objection
3       was filed?
4             A.     I can't be accurate, no.
5             Q.     Well, to the best of your memory, do you
6       know?       I'm not asking for complete accuracy.
7             A.     A month ago.      I don't know.            Sorry.    I'll
8       speak up.
9             Q.     What do you hope to achieve from your
10      objection?
11            A.     Awareness.     Like I said, I wasn't too happy
12      with reliability of the product.                     Personally, I
13      mean, I bought the stuff.              I mean, the Gateway ones
14      I got were brutal.          They were absolutely useless.                   I
15      then got the Dell.          And, you know, it goes on.
16                    So just that's the way I look at it.                   Felt
17      I was violated with the stuff, you know.                     I know all
18      the other stuff going on, but the product wasn't
19      that great.          They didn't stand up behind it.
20            Q.     So when you say "violated," you mean the
21      computers -- the monitors didn't work well?
22            A.     Yeah.     We had some that lasted, like, three
23      months.       I mean, it's like when you buy a vehicle, I
24      mean, these guys -- so, you know, that's part of the
25      things.       That's why I'm standing here.                Say I'm not

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1       -- that's one of my concerns.
2             Q.    Meaning your concern is the product didn't
3       do what it was supposed to do?
4             A.    Yeah.
5             Q.    Do you have any understanding of what the
6       plaintiffs claimed in the CRT litigation itself?
7             A.    Yeah.
8             Q.    What is your understanding?
9             A.    Not -- I can't think.           Can I go back to
10      that question?
11            Q.    Sure.
12            A.    I just mentally have to just --
13                      MS. MOORE:      It's okay.           You can relax.
14      Take a minute.      Breathe.       Relax.          You seem nervous.
15      Don't be nervous.       It's okay.
16            Q.    I'm not pushing you.          But I have to ask
17      these question, and you have to answer them.                   So
18      let's try another question.
19            A.    Okay.
20            Q.    When you were on the Website -- you said
21      you went to the Website on a computer concerning CRT
22      litigation; is that right?
23            A.    Yeah.
24            Q.    And you read the material on the Website?
25            A.    Yeah.

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1             Q.    In reading that material on the Website
2       concerning the CRT litigation, what was your
3       understanding as to what the plaintiffs allege that
4       defendants did wrong in this litigation?                "In this
5       litigation" meaning CRT litigation.
6             A.    One thing I did notice is they control the
7       market.      They -- I mean, Gateway got booted out.
8       Then Dell came in so that, you know -- this is what
9       I was looking at is the way these guys are gobbling
10      each other up.        They are all, on my standpoint --
11      again, I was frustrated with the reliability of the
12      product.      And I look at these guys who are making
13      money.      No one's standing behind the product, and
14      they look like guys that are just cornering the
15      market.
16            Q.    Was it your understanding that the CRT
17      litigation where you've made an objection in this
18      case had anything to do with the products not
19      working correctly?
20            A.    That was part of it, working.           Right.
21            Q.    When you say "part of it," is there any
22      other part of the litigation you're aware of?
23            A.    I'd say I just need a second to --
24            Q.    I'm not pushing.
25            A.    I know.    Just a phrase -- I'm trying to

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1       figure out how to phrase this.                I mean, I look -- in
2       the time period of that ten years, I watched Digital
3       become Compaq.      I see Dell, all these different
4       companies.      And they -- the way I look at it is that
5       two or three guys are controlling the entire market.
6                    That's -- it bothered -- that bothered me.
7       And the reliability of the product, those are the
8       two things that really set me off.
9             Q.    And when you say "the two or three guys
10      controlling the market," your understanding of those
11      two three or guys were who?
12            A.    Like a Dell.     Compaq came in.         Then it
13      dropped.      So it's just, I guess, started -- that's
14      just the way I look at these -- the power guys that
15      are coming in.
16            Q.    So if I get back to the question I asked a
17      while ago when I asked "What do you hope to achieve
18      in this" -- "through your objection to this class
19      action settlement," you said "awareness."                What does
20      "awareness" mean?
21            A.    Obviously, this -- I'm not -- for the
22      consumers to see what's -- how these businesses have
23      behaved.      Compensation, I'm not looking -- I'm not
24      looking for, you know, as far as -- I'm just
25      looking, like, if anything, just recouping costs to

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1       travel to do this.         But I'm -- that's the way I'm
2       viewing it.
3                     Way I define "awareness" is being a
4       spokesman.       Like Massachusetts has totally blocked
5       us out.       I mean, that was one of the things that
6       didn't make me happy.           So that's one of the reasons
7       I stepped up so -- for the state, which I don't --
8       well, I don't go through it.
9             Q.     In general terms, do you know what your
10      objections says or what arguments are made against
11      the class action settlement in CRT?
12            A.     Yeah.
13            Q.     What are they?
14            A.     As far as recouping the cost of these
15      products.       We have -- I probably bought -- I bought
16      probably at least a dozen, I mean, for the office.
17      And then I got, you know, at home got -- had a
18      couple and TVs.       They were pretty expensive when
19      they first came out too.             They weren't cheap.
20                    I wasn't too happy with -- I'm going to
21      bring Gateway up again.             I wasn't too happy with
22      that.       Dell was a little bit better, but Gateway was
23      brutal.       That was absolutely --
24            Q.     All right.    So you hope to recoup the cost
25      of the monitors, CRT monitors, that you purchased.

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1       Is that a fair statement?
2             A.    Yes, that's it.
3             Q.    And why do you think you're entitled to
4       recoup that cost?
5             A.    Because ethically, I didn't think the
6       product was a fair -- I don't feel when you purchase
7       something -- I don't feel it was a fair sale because
8       the reliability and the life of a product should
9       last more than -- I mean, some of this stuff lasted
10      less than a year.
11            Q.    So it wasn't a fair sale because the
12      product quit working --
13            A.    Yeah.
14            Q.    -- within a year --
15            A.    Yeah.
16            Q.    -- or shorter or longer?
17            A.    I define it -- I'll define it like buying a
18      vehicle, a car.       I mean, your car lasts for three
19      months, falls apart.         You've invested a substantial
20      amount of money.       Plus, it was detriment on my
21      business.      If I'm paying an employee to use a
22      computer that's not working, they're looking at the
23      ceiling.      I mean, all of a sudden, the monitors
24      would go out.
25            Q.    Did you contact Ms. Moore, or did she

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1       contact you about participating in this CRT
2       litigation?
3                          MS. MOORE:    It's attorney-client
4       privileged information.            He's an ongoing client.
5       I'm going to instruct him not to answer.
6             Q.    Are you going to follow your counsel's
7       instruction?
8             A.    Yes.
9             Q.    Ms. Moore just said you're an ongoing
10      client.      Do you have any idea what that means?
11            A.    Yes.     We've had a relationship for the last
12      14, 15 years.
13            Q.    With regard to what?
14            A.    Travel related.
15            Q.    What does that mean?
16            A.    With -- we had the issue, like I said, with
17      the Delta.
18            Q.    Which was 14 or 15 years ago?
19            A.    I think ten years ago.
20            Q.    Ten years?
21            A.    Yeah.
22            Q.    Anything since then?
23            A.    We've just had -- there was -- we have
24      another issue pending as far as with a merger.
25            Q.    And what is that issue?

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1             A.    It's -- there's an issue with the latest
2       merger with American and US Air.
3             Q.    And that is still pending?
4             A.    Yes.
5             Q.    And is Ms. Moore your counsel in that?
6             A.    She's part of it, yeah.
7             Q.    Well, you testified earlier that Mr. Alioto
8       was your counsel in the Delta, Northwest issue; is
9       that --
10            A.    Yes.
11            Q.    -- right?   Is he your counsel in the
12      pending --
13            A.    Yes.
14            Q.    Okay.   And Ms. Moore is as well?
15            A.    She's not the lead.          But she's part, you
16      know, part of it.
17            Q.    It's a simple question.            Is she your
18      attorney in the -- in that merger litigation that is
19      currently ongoing?
20            A.    Joe Alioto's the lead.            I don't know how to
21      explain any better.        But that's how we've -- we've
22      been with Theresa.        But they're a team.          But Joe's
23      -- that's -- Joe tends to be the person I
24      communicate with.       I don't know how to answer any
25      straighter than that.

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1                         UNITED STATES DISTRICT COURT
2                       NORTHERN DISTRICT OF CALIFORNIA
3                            SAN FRANCISCO DIVISION
4
5
        IN RE:      CATHODE RAY TUBE (CRT)
6       ANTITRUST LITIGATION,
                                                      No. 3:07-cv-5944
7                                                           MDL NO. 1917
        This Document Relates to:
8       All Indirect Purchaser Actions
9
10
11      _________________________________________________________
12
13                        DEPOSITION of DONNIE CLIFTON
14                           San Diego, California
15                        Wednesday, November 4, 2015
16
17
18
19
20
21
22      Reported by:
        Kae F. Gernandt
23      RPR, CSR No. 5342
24
25

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1                   Q.   Mr. Clifton, previously you testified you

2       approached Miss Westfall concerning your dissatisfaction

3       with the CRT settlement.           What, in particular in regards

4       to the CRT settlement, led you to be dissatisfied?

5                   A.   Well, the first thing was the -- what I

6       consider to be the egregious amount of attorneys' fees

7       that --

8                   MS. WESTFALL:    Take your hand away.

9                   THE WITNESS:    -- that were being asked for.        And

10      as I read it, I saw that there were certain -- there's a

11      certain group of states that -- and again, I can't put

12      this in legal terms, but it looked to me like there were

13      a group of states that weren't going to be able to get

14      the monetary compensation, and another group of states

15      were.       And I thought that was odd because it looked like

16      a nationwide settlement.           And there was another group of

17      states that were grouped up somehow that were going to

18      benefit from the settlement.             California was one of

19      them.

20                       And then I got to thinking about the

21      consumer protection laws, and I couldn't understand why

22      California would get consumer protection laws, be

23      grouped up with other states that weren't.             So, I

24      scratched my head on those.

25                       But my main objection was I thought a third

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1       of -- I think it -- I can't remember, I think it was

2       $500 million, and a third of that for attorneys' fees,

3       to me, seemed outrageous.

4       BY MR. MUECKE:

5                   Q.   Mr. Clifton, these concerns with the

6       settlement -- scratch that.

7                        You had these concerns with the CRT

8       settlement prior to approaching Miss Westfall concerning

9       the CRT settlement; is that correct?

10                  A.   Yes.     I read them.

11                  Q.   Did you file anything documenting your

12      objection to the CRT indirect purchaser settlement?

13                  A.   Yeah.     We -- I filed a -- what's it

14      called? -- an objection to the settlement.

15                  Q.   Mr. Clifton, in your own words, why do you

16      believe you're an appropriate person to object to the

17      CRT indirect purchaser settlement?

18                  A.   'Cause I'm a member of the class.        I bought

19      a TV.

20                  MR. MUECKE:     Mark this as Exhibit 2, please.

21                       (Deposition Exhibit 2 marked for

22      identification.)

23      BY MR. MUECKE:

24                  Q.   Mr. Clifton, we have just handed you a

25      document entitled "Objection to Proposed Class Action

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1       those payments to the class members, yep.
2                   Q.   Are you aware that Miss Westfall has
3       previously represented an objector in a different class
4       action case?
5                   A.   I don't -- I am not aware of that, no.
6                   Q.   Prior to Miss Westfall representing you in
7       your objection to the CRT litigation, you had no idea
8       that she had previously represented an objector in a
9       different class action case?
10                  A.   That is exactly what I just stated.
11                  Q.   Mr. Clifton, were you aware that
12      Miss Westfall withdrew an objection from a class action
13      case only a few weeks after it was initially filed?
14                  A.   If I didn't know she was objecting, how
15      could I know she withdrew?             The answer to your question
16      is no.
17                  MR. MUECKE:     I'm going to go off the record for
18      about ten minutes and review my notes and see if I can
19      wrap up here in the next session here.               Thank you.
20                       (A brief recess was taken.)
21                  MR. MUECKE:     We can go back on the record.
22                       At this point, Mr. Clifton, I have no
23      further questions.          And at this time, I'll defer to
24      Miss Westfall if you had any.
25                  MS. WESTFALL:     No, that's fine.       I think we'll

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1                       UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                           SAN FRANCISCO DIVISION
4
5       IN RE: CATHODE RAY TUBE (CRT)             ) Case No. 3:07-cv-5944
        ANTITRUST LITIGATION,                     ) MDL No. 1917
6                                                 )
                                                  )
7                                                 )
                                                  )
8       _______________________________)
9
10
11                   DEPOSITION OF MINA ASHKANNEJHAD
12       TAKEN ON BEHALF OF THE INDIRECT-PURCHASER PLAINTIFFS
13                              AT MOSCOW, IDAHO
14                   OCTOBER 29, 2015, AT 10:15 a.m.
15
16
17
18
19
        REPORTED BY:
20
        PATRICIA L. PULLO, CSR
21      Notary Public
22
23
24
25

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1              Q.   Okay.     Did you reach out to Mr. Bonsignore or
2       did he reach out to you?
3              A.   He reached out to me.
4              Q.   And, again, that wasn't really a clear
5       question.     But Mr. Bonsignore reached out to you to
6       discuss objecting to the settlement?
7              A.   Yes.
8              Q.   In Exhibit 2 -- sorry -- Exhibit 1 on page 2,
9       the very bottom.
10             A.   Mm-hmm.
11             Q.   It says, "Both Ashkannejhad and Edwards have
12      indirectly purchased CRT products in Missouri."                 Do you
13      see that at the very bottom.             It's the very last line.
14             A.   Okay.     Gotcha.
15             Q.   Did you purchase a CRT product in Missouri?
16             A.   Well, my husband did.             So we were married.
17             Q.   Yeah.     So your husband purchased a CRT
18      product in Missouri?
19             A.   Yes.
20             Q.   Do you recall in what year?
21             A.   I don't have any idea.
22             Q.   Do you recall what product it was?
23             A.   You know, I know he had, like, the TV and he
24      had the computer, the big screens.                 Like, he had all
25      that stuff.     I don't have any idea.              He liked -- Deryl

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1       was a shopper.       He liked to buy things.         And so he was
2       constantly buying all of the -- anything that would
3       come out he would buy.
4              Q.   Okay.     Do you know who manufactured the CRT
5       products that he purchased?
6              A.   I don't have any idea.
7              Q.   To the best of your recollection, it's a
8       television set?
9              A.   Well, I know he had one of the big old TVs.
10      And I know, like, in the office he had those big
11      monitors too.       So I would say both computer and TV.
12             Q.   Okay.     But you don't remember the
13      manufacturer of the television set?
14             A.   Right.
15             Q.   And you don't remember the manufacturer of
16      the monitor?
17             A.   I don't have any idea.
18             Q.   Okay.     And neither of those products exist
19      today -- strike that.
20                  You don't possess either of those products
21      today, do you?
22             A.   No.     I've moved since --
23             Q.   Yeah.     Have you looked to see whether you
24      have any receipts for any of those products?
25             A.   I have looked.        And I've talked to the estate

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1       to look as well.      So it's in the works.          I haven't
2       found anything yet, but I know they're working on it
3       too.
4              Q.   You haven't found any receipts in your
5       personal -- your personal papers?
6              A.   Not -- yeah.
7              Q.   And, again, to the best of your recollection,
8       you did not personally purchase any CRT product in
9       Missouri?
10                  MR. BONSIGNORE:         Objection.
11      Mischaracterization of her testimony.
12                  THE WITNESS:       Do I answer?
13      BY MR. BIRKHAEUSER:
14             Q.   Yes.
15             A.   Okay.    Like I say, I don't think I went to
16      the store and bought that.           But we were married.        So if
17      Deryl bought something, you know, it's mine and vice
18      versa.
19             Q.   Right.    I just wanted to make sure there
20      weren't other CRT products that you purchased
21      individually.
22             A.   (Nodding.)
23             Q.   So we're just talking about the two, the
24      television set and the monitor?
25             A.   Yes.

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1               Q.      And it's your belief that those states should
2       get damages?
3               A.      Correct.
4               Q.      Okay.     Do you remember looking -- strike
5       that.
6                       Do you believe that you first looked at
7       Exhibit 1 after it had already been filed with the
8       court?
9               A.      I don't know.       I don't know if it had been
10      filed or it was a draft.              I'm not sure.
11              Q.      Do you recall anybody telling you, I want you
12      to look at this; it was filed on the 8th of October,
13      2015?
14              A.      I don't know.       Sorry.
15              Q.      Do you recall ever being asked to look at
16      Exhibit 1 to see if it was correct before it was filed?
17              A.      I don't know.       I'm sorry.         I get -- I have --
18      there's all sorts of legal documents in my life right
19      now.     And I just assume that my lawyers are going to do
20      my -- what's in my best interest.
21              Q.      Sure.     And sometimes lawyers will send you
22      something and say, Hey, look, we're going to file --
23              A.      Take a look at this and -- yeah.              I don't
24      know.        I'm sorry.
25              Q.      That's okay.       I do have to ask the

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1       everyone in Missouri and, you know, states that were
2       excluded.     But I think she -- I want to make sure it's
3       clear.
4       BY MR. BIRKHAEUSER:
5              Q.   So my question really was more directed
6       towards your belief that your husband performed legal
7       work on the case, was an attorney representing somebody
8       in the CRT case.      Do you have -- and let me just back
9       up a minute.
10                  Are you the executor of your husband's
11      estate?
12             A.   I am not.
13             Q.   Okay.    But obviously you're involved in -- in
14      the estate?
15             A.   I'm a beneficiary, yes.
16             Q.   You're a beneficiary of the estate.             And you
17      talk to lawyers about the estate?
18             A.   Yeah.    There's a bunch of lawyers involved.
19             Q.   And that's what you were referring to before
20      when you said you get stuff from lawyers a lot?
21             A.   Yes.
22             Q.   Do you expect that your husband will be --
23      your husband's estate will receive money in the form of
24      attorney's fees from the CRT litigation?
25             A.   I don't have -- I'm not sure what his

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                                                                   Page 1

1
2
3                       UNITED STATES DISTRICT COURT
4                      NORTHERN DISTRICT OF CALIFORNIA
5                            SAN FRANCISCO DIVISION
6                                  NO. C-07-5944-SC
7                                      MDL NO. 1917
8
9       **************************************
10      IN RE CATHODE RAY TUBE (CRT)
11      ANTITRUST LITIGATION
12
13      THIS DOCUMENT RELATES TO:
14      ALL INDIRECT PURCHASER ACTIONS
15      ***************************************
16
17                     Deposition of Anthony Giannasca
18                        Tuesday, November 3, 2015
19                   Zelle Hofmann Voelbel & Mason LLP
20                      600 Worcester Road, Suite 101
21                     Framingham, Massachusetts 01702
22                     ------Kristen C. Krakofsky------
23                                   Court Reporter
24                                         VERITEXT
25                                   (800) 227-8440

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1       filing a claim in the Honeywell case?
2            A.     No.
3            Q.     Have you ever filed an objection to any
4       class-action settlement in any case before this one?
5            A.     I don't believe so.
6            Q.     Do you know what this case is about?
7            A.     Yes.     Consumers' rights and price --
8            Q.     Generally describe it for me.
9            A.     Price fixings, basically ripping off a
10      consumer with price fixing.
11           Q.     When did you first learn about the case?
12           A.     I've been friends with Mr. Robert
13      Bonsignore for many years, and he had mentioned it to
14      me and I insisted to be included in this case.
15           Q.     How do you Mr. Bonsignore?
16           A.     I've known Mr. Bonsignore since 1990, many
17      years.
18           Q.     And how did you first meet Mr. Bonsignore?
19           A.     Through a mutual friend.
20           Q.     Who was that friend?
21           A.     An ex-girlfriend.
22           Q.     Do you remember her name?
23           A.     Trisha Morrissey.
24                         MR. BONSIGNORE:        We'll never forget it.
25           A.     I still talk to her.           She's a good kid.

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1             Q.    Do you and Mr. Bonsignore reside in the
2       same town in Massachusetts?
3             A.    We used to, yes.         He now is a big man, and
4       he travels the world.         I'm stuck in Medford.
5             Q.    And did Ms. Morrissey also reside in
6       Medford at the time?
7             A.    She did, yes.       Originally, yes.
8             Q.    Has Mr. Bonsignore ever represented you in
9       any legal action before?
10            A.    Yes.     I had a tenant issue a few years
11      back, and his office helped me out with that.
12            Q.    Any other matters?
13            A.    I don't recall, actually.
14            Q.    Did Mr. Bonsignore represent you in the
15      Honeywell case?
16            A.    Yes.
17            Q.    Do you know if -- is Mr. Bonsignore
18      representing you in this case, in the CRT case?
19            A.    Yes.
20            Q.    And is he representing you today in this
21      deposition?
22            A.    Yes.
23                         MR. BONSIGNORE:        We've stipulated in
24      the last case to provide a copy of the retention --
25      the signed, executed retention agreement.                And

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